Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 1 of 90 PagelD 85767

coor

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[squesserzdeptauy 780] POOCAWNGS
Zepiostp zejTodta Bw 00°SLE HCTAYOTHOONCAH ANIXVAVINGA ON ON ON -LOOCAaYWOT
[seutdezertyL
puy seutdezexo ‘seutdezetq] POOTHAVET
Zepiostp azetodt@ bw 00*o000T HLVaWWNA ANIGVILENS ON ON ON -POO0cdHAge
[SAT IOSTES
aseestp ‘squeby Butyootg e 6g]
FTeOY SOTUWSEYOST Bu 90°05 HLVaLavL IOTONdOLEW ON ON SaA
[wn ty4T'T]
Zepzostp azertodtg Bw 00°0SL GLVNO@davO WOIHLIT ON ON SaA
STITT TeAwos so [seuoToutnbozont vl AONTLNOO
OTUOTYO 5 oo°T NIOWXOI4ONdIO ON ON SHA -¥INA DNISSIN ToO60z0m
Aqojertdser [S®ATIeATAGG PTOY oTuoTdorg] 900ZONWOZ
- uted qyseyD Sw 00°009T NHAOuNdNaI San ON ON -900ZcINP LE
[squesseizdeptquy 7°70] 9007THdY9I
Zepiostp rzetodtg Bu oo°SL HNIXVAVINGA ON SaxA ON -900CAWNIES
aAepszos tp [seat eatieq proy Aqqed] 9007dHSPZ
eatqzoegzze aetodtg Sw 00°000T WNIdGOS HLYONdTIVA SHA Sada ON -SO00COHAFT
[SeATIeATASd ptoy Aaqeg] SOO cCONCET
Zepzostp J azetodtg Bw 00°0SL WONIdGOS ALYONdTYA ON Sada ON -900cOHa60
[squesseizdeptquy 721740] 9007HdT9Z
Zepiostp J azetodtg Bw 00°0ST ANIXVAVINHA ON Sada ON -G007OHATO
[seatqeatszeq prow Aqje,] s00cOud80
Zeprostp J aejtodtg 6w o00°00S WOIGOS HLYONdTYA ON Sada ON -GO00COXATO
[uot AoONperzg pTow _oTazn
HuTATATYUI suot yerzederd] HONILNOD 900Z5NWSZz 900cINICT
qnopD Bw 00°00€ TIONTUNdOTTY SHA SAA SaA -MNQ -900ZTINreT -S007ZDHATO TWA / VW1d 60080708
ATeprz0stTp [seatqeatszsq ptow Aq3e4g] 9007TdHSeC 900TONYET 9007T INE TT
eat oegye aAeTOdT@ Sw 0o0*o00sTt WOIdOS HLVOUdTIVA SHA SaA ON -900ZGHAPZ -900Z7IN©ZT -SOOZAONOE TWA / dLO 800807208
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO T9€ Bbed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771733
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s97xdoy «GPF ET? LOOZHYNZO

[seuowz0H pTozAyL]

cO9T

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

ustptotAyjodAH = HN. 00 OST ANIXOMAHLOAMI SHA SHA SHA
[SZOITQIUUT
aseqonpey eop Sup] SOANILNOD SOOcNOPET SOOcHdV8T
eTweer4seToyorsdAy Bw 00°07 NILVLISVAMOLY SHA SHA SHA -MNN -SOOZHd¥Y6T -¥OOZTLOOLZ TWA / Wid TO00TZ7OR
[squesseizdeptquy 798730]
Iepiostp azetodtg Bu 00°00€ HCIYOTHOONCAH YNIXVAVINHA ON ON ON
[seutdezetyL
puy seutdezexo ‘sautdazetq] HONTLNOS
Jeprostp azetodtg Bu 00°00€ HLVavVWnd ANIGVILYNS ON ON ON -VOOCAWNITE
(wn tyatT] SONTLNOO
Jaepzostp azeqodtg 5 00°T ELYNO@davO WNIHLIT ON ON ON -VOOcasa6T
ge qeqetp [septuenbtg] AONIINOS
z edéq ATIeH 5 oo'e NIWHO4 LEN ON ON SHA -YINA ONISSIWN 20060204
[squesserzdeptauy 7820] 4HONILNOS
Teprostp azetodtg Bu 00°SLE HCIYOTHOOUCAH ANIXVAVINHA ON ON ON -voocNnreo
[squesseideptquy 7281740] POOCAYNEZ
Tepzostp zejTodtq Bw 00°Sh ECIAOTHOOUCAH ANIXVAVINHA ON ON ON - VOOTAYWNOT
[squesseizdeptquy 721740] DOOCAYNST
Jepiostp zeyTodtg Bu 00° OST HCTHOTHOOUCAH ANIXVAVINHA ON ON ON -POOTAYNEO
[squesseizdeptquy 7°70] VOOTAYNS8O
Jepiostp rzeTodta Bu 00°Szz HCIYOTHOOUCAH FNIXVAVINHYA ON ON ON -DOOTAYWNZO
[squesserzdeptquy 7930] VOOCAWNLO
Tapiostp zetodtq Bu 00°00€ HCIYOTHOOUCAH YNIXVAVINHA ON ON ON -VOOcadTSZ
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] POOCUAYTS
Jepiostp zeyTodtg Bu 00°008 HLVaVWNA ANIGVILYNS ON ON ON -VOOcedAT PT
[S@aTIeATAegq eUTdEezeTpozuEg] AONILINOO
eTuWwoOsUrl Bu 00°0& WYdaZ¥xXO ON ON ON -POOCHdTFT ONISSIW T0060204
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO z9e Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771734
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s97xdoy «GPF ET? LOOZHYNZO

vOoT

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

sourrquew [suotqeredeig TeseN Te I0] SOOZ INLET
Teseu Aad N'ON HQTHOTHD WOIGOS sSaA ON ON -SOOCNNO CT
[s6nad
peqetey sutdezetpozueg]
eTUWOSUT Bu 00°0OT WHdId1IOZ SHA ON ON
[SSaTIeATAaeq euTdezetpozusg] soocinret
BTUWOSUL bu oo°s WYdHZVId SHA ON ON -SOOCNOOTT
[SepTtTtuy] SOOCAYWEO
PTOo peeH 6u 0070002 TIOWWLHOVaYd SHA ON ON -SOOCAYWEO
[suotTjaerzederg
ptoy otTAottes] SOOCEHHALTS
joojy UO FTEM n° nA dIOV OTTIAOITYS ON SHA ON -SOO0CcEHHACTS
[seutdezetyL
puy seutdezexo ‘seutdezeta] DOOTONCET
uotyeatbe pTtW 6w oo0°o00T ELVYWWOA ANIGVILANS ON SaA ON -voocoudec
qoeyye [squesseideptquy 151730] SOOZNYLTZ
otzoysAp pTtw Su 00°00€ ANIXVAVINTA ON SHA ON  -¥OOTONAEO
[seutdezertyL
puy seutdezexg ‘seutdezetq] POO? LOOOZ
TepsosTp Poon Bu 00°008 BLVYWWOA ANIGVILING ON ON Sada -POOCNNO YY?
[97] 4Na
n° n° na Do ON ON ON ANA
[seatqeatieq prow Aqqeg]
Zepszostp poom Sw oo°00gEz WOIdOS HLVOedTVA SHA SHA SaA
[sastTuoby
azoqdeoer70uerpy- z- e309
BATIOSTES]
BuyIASY Bn 00°00z2 TONWLINEATZS SHA SHA SHA
[szo0qtqtyur dumg uoj07g] HONTLNOS SOOcCNOCET SOOcadV8T
xNT Fo Bu 00°0z HIOZVAdHNO SHA SHA SHA -MINQ -SOOZHUdV6T -FOOZLDOLZ TWA / W1d TOOOTZOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO €9€ Obed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771735
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 4 of 90 PagelD 85770

s97xdoy «GPF ET? LOOZHYNZO

S09T

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[SPTOTeEXTY wntdo TeznjeN] SOOZAYNET
SUSePeSH Bu 00°0z HLYNTOONS ANINVIAXOG SHA ON ON -9007CHdT82
[SPTOTeXTY wntdo TeznjeN] 900ZNV¥Ls80
SUSePeoH Bu 00°02 HLYNIOONS ANINVIAXOG SHA ON ON -900CNYC VO
[s6nad
pe .etey eutdezetpozueg] 900zTarso
eB TUWOSUT Bu 00°0T WHOIdIOZ SdaA ON ON -S007TONd8Z
[seutwe,T Ay Ty peqnatasqns] S00 cOed6T
AaAe ACH Su 00°9 ALVATVW SNIWVHINSHdMOTHOXHA SHA ON ON -GOO0ZOXAZT
[SPTOTexTY wntdo TeznjeN] SOOZAONEZ
FOoTTSt UTed Su 00°09 TOWLHOVAd = SHA ON ON -GOOCAON8T
[SeATIeATASq ptoy Aqqeg] 900cNNCTO
Iepiostp azetodtgq 6w 00°000z WNIdGOS ALYONdTVA SHA ON ON -SOOZAONYT
[SSATICATIAaq sUuTdezetpozueg] 9007EHAPZ
eTUMOSUT n° WYWdaZVxXO SHA SaA ON -G00¢dHS90
[seutdezertyL
puy seutdezexo ‘seutdezetq] sSoocNnrLz
Jepizostp azertodta Bu 00°008 ANIGWILHNO ON ON SHA -GOOCAYNSZ
[seat eatieq proy Aqqed) SOOZAONST 900cNhArso SOOZAONST
Iepiostp rejTodtg Bost WONIGOS ALYOUdTYA ON Sada Sada -SOOZAVNST -SOOZAONST -SOOZNOrSZ TWA / WId €000TZ0R
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO0cdHASO
TaeptosTtp Poow Bw 00°00T ELVaWWNA ANIdVILANS ON Sada Sada -POOCAONTO
[SeaTIeaAtseqd ptow Aqqeg]
Tepszostp poow 5 00°% WOIGOS HLIVOUdT¥YA ON SHA SHA
[sas Tuohy
Io ydeserousrpy- Z-e78g
BATIOSTES] HANTLINOD SOOCcNYC90
ewesAyduy Bow 00°005 qLIVAINS ANTIVINGYHL ON Sax SHA --INN -POOZOHAOE diS 10 Z000TZ0¥
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO ¥79E Obed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771736
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909T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeq prow Aqje4] SOOCcIOCTT
zejtodtq Sw a0°o0sT qdIOV O1OedTVA ON ON SHA -SOOCNNPET
[SqUeTT[OwY ‘sreueqQyos] so00zcd4eSs0
uot jedtasuop Bu 00° 00T WNIGOS ALYSND0dad ON SHA SHA -SOOCNOP CT
[seutdezeryy
puy seutdezexo ‘seutdezetq] soozinrzt
aetodtg Su 00°008 ELVYWNOA ANIGVILANS ON ON SoA -SOOCNNCOT
[eso
Teotdo, 204 sTebungtquy] 900TAWNITE
esutL O° no esq Teotdo, t0g sTebungtauy SHA SHA Sada -SOOCAYNCT
[SquUeT[TTowy ‘szsueqyos] 900cdadH480
uot aedtqsuop Su 00°00T WNIdOS ALVYSNOOd SaA ON ON -900cCdHH480
[SqUaTT[oOwy ‘sreueqjos] 9007GHe4d ZT
uot aedtasuop Su 00°00T WNIdOS ALVSNOOd SaA ON ON -900CEHHACT
[sastuoby
toqdaese70uerpy- z-e798g
BATIOSTES]
BUY ASY non TOWWLNATTS SHA SHA SaA
[S®aATIwATAGG PToOW OFUOTdOrg]
uted Su 00°009 NadOudndI SHA SHA SaA
[SSATICATA9G PUY PTOW OTTO]
quewuetddns Arjetq Bw 00°S GIov OI110d SHA SHA SHA
STsor0dose so (wntoTeD]
FO UWOTIUSASTG Bu 00°009 HLVNOddvS WAISTYS SHA SHA SHA
[SPTOoTAz0D00ONT)] HONTLINOS 900cNNCT? 900cCNYCCO
Suu Sy 6n 00°008 HCINOSHdnNd SHA SHA SHA -MNN =-9O00ZNYCEO -SOO7TINTET TWA / dS poootzoa
[seaTqeatied ptow Aqjeg]) 900cINrso
Zepzostp aetodt@ 6wu 00°o00rT WOIdGOS HLVOUdTIVA SHA ON ON -900cNNL ZO
[suotjeredarg
wuoTsuey UTWEITA UTETd 79430] 900CNNCTO 900cNOCSO SOOCAONST
Teszisusu etd Bw 00° 00T HQTHOTHSOWGAH ANIXOCIAHAd SHA ON ON -900ZHd¥8Z -SOOZAONST -SOOZNNrSZ TWA / W1d €000TZ0R
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO G9e Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771737
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LOOT

s97xdoy «GPF ET? LOOZHYNZO

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[seutdezertyL
puy seutdezexo ‘seutdezetq] 9007AYN90
azeptodtgd Bu 00°00F BENIdVILHNS ON ON SHA -SOOCAONTO
[sueboqseborg] HONTLNOO 900CHYNIT
wot qdeoerqu)D N’ ON THULSHOONOLE ON SHA SHA -xIND - 900Z8UWFT dL5 IO SO000TZO
[s6n2q
pe qeley eutdezetpozueg] 900cC TNE TC
eTUWOSUT Bu 00°ST WHdId1IOZ SHA ON ON -900cCAdY8C
[seseostq AemaAtW 2ISqoO 10g
sbniq teu 0/soTbrzsueazpy] 900cINrte
Cu ASY n° nA HCINOSHdnd SHA ON ON -900CNYCEO
[sqonpozg
OTanedezsyuL TSyI0 TTY] 9007 TNITZ
uot oOnpez 3IYBTOM n° na SON SNINVLIIA SHA SaA ON -S00¢L00950
(untseubep] 9007INITZ
quewetddns Aaqetq 6w 00-005 WAISHNOVA SHA SHA ON -S007dHSLz
[seatqeatszeq prow Aqje,] 900c TINCT?
zeqtodtg Sw o0°00SsT QIOV OIOUdTVA SHA SHA ON -GO0O0cCdHSLO
[s6n2aq
peqeley esutdezetpozueg] 900CHdYLE
eTUWOSUT Su 00°0OT WHCId1IOZ SHA SHA ON -soocinrid
[SeaTqeATIeq suTdezetpozuag] soozinrez
eTUWOSUT Bu 00°t WYdHZVaoOl ON SaA ON -SoocINreT
[seat eatszeq ptow Aqjeg] so00¢cdHS590
zejtodtg Sw 00°000z QIOVW OIOUdTYA ON SaA SHA -GOOC INC CT
[Seat zeatszeq sutTdezetpozuseg] soociIonrcet 900CNOCTC S00CNYCCO
eTUWOSUTL Bu 00°ST WYdHdZVXO ON ON SHA -SoozToarso -900ZNWPfO0 -SO0O0zINrET TWA / dLO POOOTZOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 99€ Obed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771738
8091

CONFIDENTIAL
AZSER12771739

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeaTIeATAeq suTdezetpozueg] SOOZNNE TT
AQetxXuy O W¥ddZVId ON SHA ON -SOOcNNP'LO
[seatjeatszeq ptoy Aj jeg] S00TAYNYT
Jepiostp zetodtg Su 00°008 WOIdGOS HLVONdTVA SHA SHA SHA -SOOCNYWI6S
[seutdezeryy
puy seutdezexo ‘seutdezetq] SOOZHdY8T
Zeprzostp J azeqtodta Bu 00°007 ELVYWNOA ANIGVILANS ON ON SoA -SOOCNYI'67
[sas tuoby
toqdase70uerpy- z-e798g
SATIOETSS]
BUY ASy N TOWWLINETTS SHA oaA SoA
[seseostq AemaAtW 2TISqoO 10g
sBniq 19N90/soTbrzsuerpy] HONTINOS 900cdHAcS SO0cLSOVO
Cu ASY N HLIVNOTdOdd ANOSVOILOTA SHA SHA SHA -MNQ -SOOZLOOSO -SOO0ZHdV8T TWA / WId TOOTTZO0F
[SeATIeATASd ptoy Aaqeg] HANTINOD
azejodta Sw o0°o00rT WOIdOS HLVOUdTVA ON ON ON -900CAYW60
[sqonporzg
oTqnedezsuz 2890 TTW] 900THAVET
uotqonpelr IYBTOM n° na SON SNINVLIA ON ON ON -900cadv60
[s6naq
pe .eltey eutdezetpozuag] 9007HAVET
eTUWOSUT Su 00°0OT WHdId1I0OZ ON SaA ON -900CTAYWYT
[seat eatszeq ptow Aqjeg] 900CAYWS8O
azeqtodta Sw oo°00st WOIdGOS HLVOudIvVA ON SaA SHA -900CHHATT
[sueboz4sq
aToAd TerAqsusw puy sueborzpuetquy] 9007HdVSZ
ae Tnborrzl Bn o00°SE GLVLAOV ANOWALOYUdAD ON SaA SaA -900¢dEdH ATT
[stoqTqtTyUl eyeqdney
UTUOIOASS SATIOSTSS] 900CAVNYT SO00CAVNYT
azeptodtg Bu oo°s WVadO1TVLISSa ON SHA SHA -SOOCAONSZ -900CAYNFT dLO 10 SO00TZ0E
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO L9E Bbed
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 8 of 90 PageID 85774

609T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeq prow Aqje4] SOOCNNC6C
I teprostp zejTodtq Sw 00°00sT WONIdGOS HLVONdTYA ON Sax ON -GOOCHdY6T
[seatqeatszeq prow Aq3e,] SOOCcadV8T
I teprostp zejTodtq@ Sw 00°000z WONIGOS ALYOUdTVA ON ON SHA -GOOCAYN8T
[seutdezeryy
puy seutdezexo ‘seutdezetaq] GOOZHaYST GOOZAYWOE
I teprostp azetodtg Bw 00°00T HLVYWWNA ANIdVILHYNS ON ON SaA -SOOCTAYNYT -SOO07THdV8T dLO IO e00TTZ0OR
[SeATIeATASq ptoy Aqqeg] 900¢CdHS67
Ieprostp J azetodtgq 6w oo*o00SsT WNIdGOS HLYONdTIVA SHA Sada ON -SOOcNN’so
[SeATIeATASd ptoy Aaqeg] SOOCNNCET
Zeprostp J azetodtgq 6w oo*o000T WNIdGOS ALVYOUdTVA ON Sada ON -GOOCAYWIEO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO7THdV8T
Zeprostp I azetodtad Bu 00°009 HLVaWWNA ANIGVILENS ON ON SHA -GOO0cHdYeT
[seat eatieq proy Aqqed] 9007dHS672 900ZONWOE SO0Z@LOOF0
Teprostp J azertodtg Bw 00°008 WNIdGOS HLYONdTIVA SHA Sada Sada -YOOZONGEZ -SO0ZLOOSO -SO07THdVET TWA / dL5 Z001TZ0g
[seutdezertyL
puy seutdezexg ‘seutdezetq] 900CAWNYZ
Jepiostp azejodtg fu o00°00z SLVavANd ANIdVILaNO SHA ON ON -900ZNWLbZ
eRwazoe [sTeoTboToqewzeq 7970]
yo Butueszom N SOWITOWOEWId SaA ON ON
[(tTI dnozy)
ewazsea queqog ‘Sptors4sodTtq4105] 900CAVNEDZ
yo Suyuesz0m N HLvVOUNA ANOSVLIAWNOW SaA ON ON -G007LO090
[S@aATIeATAMG pPToy otucotdozg]
FeTTOt ured D NH4OudngI ON SaA ON
[Sao qTqTYyUl Sayeqdney
TeEMeApyaTM SUTWEOUOW SAT IOSTSS-uUoN] SOOCNNC VT 900cTHAACT S007LOOVO
STQeuued 0 HOTHOTHOOUCAH NIdexXOd ON Sax ON -SOOZNOfLO0 -SO0O0ZLDOSO -SOOZHdW8T TWA / W1d TOOTTZ0a
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO a9€ Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771740
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s97xdoy «GPF ET? LOOZHYNZO

O19T

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[SeptTtuy] 9007LOOET
UOTIoSJUT SNUTS n° A GIVNIQONS ANINWIAXOG SHA ON ON -9007DNYL0
[SeATIeATASq ptoy Aqqeg] 900Z2.LOOET
Jepiostp azetodtg Bu 00°009 WOIGOS HLVONdIVA SHA SHA ON -SOOZAWNSZ
[S@ATIPATASq ptoy Aqqeg] SOOCAWNPZ
Jeprostp azetodtg Bu 00° 007 WOIGOS ALVONdTI¥A ON SaA ON -SOOCAWNBT
[seatqeatszeq prow Aqje,] SOOCAVWLT
Jaepzostp azeqodtg 6u 00°009 WNIGOS ALVONdIVA ON SaA ON -SOOTAYNEO
[seatqeatszeq prow Aqje4] SOOCAVINCO
Iepiostp szeTodtg Bu 00°002 WONIGOS HLVONdTVA ON SaA SEA -SOOTAAWET
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOO7THAVLT
Teprostp azetodtg Bu 00°00% SLVEVWAA ANIGVILANO ON ON SHA -SOOCHAWET
[seatqeatszeq prow Aqje,] SOOCHdY2T
Jeprostp azetodtg Su o0°00€ WNIGOS ALVONdIVA ON ON SHA -So00cTadv90
[szoatqtyur dung uojorg]
snbeydose0 sqeizeg Bw 00°02 WOISHNOVW HTIOZVYdHWOSH SHA SHA SHA
(stotsnaqoird [SqTxXOD] HONTLNOOD 9002dHSET sooconvso
ostp) uted xorg Su 00°002 @IXOOSTHO SHA SHA SHA -ANNQ -SOOTDNY60 -SOOTHdV8T T¥A / GLO yOOTTZ0N
[SSATJeATAeq ploy oOtuctdoszg]
aeaaz Avy Bu 00°002 NH4O0udnegI ON SaA ON
[SSATICATIOG
puy SPTOTeyTy wntdo] SOOZAYWET
aenay ACH Bu 08° 2T ANIGGOD ON SaA ON ~ SOOZAWNIST
[eso otweqsds
tog seutweqstytquy 76430] SOOTAYWST SOOCAWWOE
Taney ACH Bu 00° O8T SNICYNS4AOXdd ON SGA ON -SOOZAWNPT -SOOZHdY8T dL5 IO £00TTZ0a
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL gqdoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans
NOILYOIGSN CHZINOGNYHa Taavl Nado

GTTT JO 69€ Obed

SUOTIEO TPA

6-OT' 2°27 Sutasty

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AZSER12771741
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IT9T

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[SUOTIeUTqUOD
pextyg ‘suseborz4sy

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

puy sueBoqseborg] HONILNOS
wo Fadeoe1quoD QD THALSHSYONOATT ON SHA SHA -MINA
[seatqeatseq ptoy Aqjed] SO00zd4HS90 900cNVPSO
Teprostp azejTodtg 6u 00°00S WAIdOS FLVONdTVA ON ON SHA -S00¢dHS90 -900¢N¥ISO dL5 IO 800TTZ0H
[seatqeatszeq prow Aqje4] 900cAdV80
Jepiostp azejtodtgq Sw 00°00zZT WAIdOS ALVONdTVA SHA SHA SHA - SOOZAWNIZO
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOcCNNL FT
Jeprostp azetodtg Bu 00°002 HLVavVWnd ANIGVILANS ON ON SHA -SOOCAVNZO
[S@ptT Tuy] SOOZLOOSO 900 CHYNG6 0 SOOZAONOE
SyoepesH a IOWWLAOVAYd ON SHA ON -S00ZLOOSO -S007DHGTO -SOOZNNST TWA / WId LOOTTZOR
[SeATIeATAeq ptToy AqIe4,]
Jepiostp azetodtg 6w 00°000T WAIdOS FLYONdTVA ON SHA SHA
[seutdezetyL
puy seutdezexo ‘seutdezetaq] SOOCNOACTT SOOCAYNCT
Zepzostp zejTodtg Bu 00° 00% HLVavWnd ANIGVILYNS ON SHA SHA ~SOOcHATre ~ SOO ZAWWET dL5 IO 900TTZON
[S@aATIeATAeGq SeUTdEezeTpozuEg] soozonvoz
Aqetxuy Bu o00°s WYidaZVId ON SHA ON -SOOCAWNGZ
[SeATIeATASq ptoy Aqqeg] SOOcONWO
Iepiostp rzetodtg Bu 00°008 WAIdOS FLVONdTVA ON SHA ON - SOOZAWNZT
[SeATIeATASd ptoy Aaqeg] SOOCAYNTT
Teprostp azetodtg Bu 00°00% WAIdOS ALYONdTVA ON SHA SHA ~soocdawso
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOTAYN90 Soot INT?
Jepiostp rzeTodta Bu 00°00% ELVaWWNA ANIdVILYNO ON ON SHA - SOOZAWNST -SOOZAYVW90 dLO IO SOOTTZOR
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO OLE Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771742
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cL9L
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[Sept Ttuy] SOO0cd4HSS50 SOO0ZLOOTZ
e2uen [Fut Bw 00°00S TOWZLHOVad ON Sada ON -S00¢dHS7O -GO00ZcONWPZ dLO IO OTOTTZ0OR
[seutdezertyL
puy seutdezexg ‘seutdezetaq] HONTLNOOD
Iepiostp J azetodtg Bu 00°00% ELVYWWNA ANIdVILaNS ON ON ON -SOOCNNPOE
[S@ATIPATASq ptoy Aqqeg] HONTLNOOS
Teprostp J azejtodtg Bw 00°008 QIOVW OIOddTVA ON ON SaA ->INN ONISSIWN 600TT CO
[seatqeatszeq prow Aq3e,] 900CdHA vO
Zepiostp aetodt@ bw o0*o000T WONIGOS ALYOUdTVA ON Sada SHA -GOO0¢dHSLO
[seutTdezeryL
puy seutdezexg ‘seutdezetq] SOOzZINIET
Zepiostp azetodtg Bw 00°007 HLVYWWNA ANIGVILHYNS ON ON SaA -SOOcTNNr9z
[seutdezertyL
puy seutdezexg ‘seutdezetq] Soocnnrsz
Iepiostp azetodtg Bw 00°00€ ELVYWWNA ANIdVILHNS ON ON Sada -SOOCNNL 7?
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SoOoZNnrtz
Jepiostp zeyTodtg Bu 00°002 HLVaVWNA ANIGVILYNS ON ON SHA -SOOZNOArsT
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZNNLLT
Zepiostp azetodtg Bw 00°00T HLVYWWNA ANIdVILHNS ON ON SaA -SOOCNNC FT
[Sz04TQTYyUL ayeqdney
UTUOIOTSS SATIOSTAaS] SOOTNOLPT
uoyT sseideq Bu 00°07 HAIWONsOUNCAH WYEdOTYLIO ON ON SHA -SOOCNNC YT
[sastuoby
to jdaser0uerpy- zZ-e7 eg
BATIOSTES] HANTLINOD 900cCNY¥CSO
euyASy 6n 00° 00T TIOWZLNATZS ON Sax SHA --INN -900ZNWLSO dL5S IO 800TTZ0¥
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO TLE abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771743
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s97xdoy «GPF ET? LOOZHYNZO

[seutTdezeryL

e19l

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

puy seutdezexg ‘seutdsezetq] soozonvzz
Zepiostp azetodtg Bu 00° 002 HLVavVWnd ANIGVILYNS ON ON SaA -soo0zwonwoc
[seutdezertyL
puy seutdezexg ‘seutdezetaq] SOOZONV6T
Iepiostp azetodtg Bu 00° 00T HLVavWnd ANIGVILYNS ON ON Sada -SOO0ZcOnWLT
[seutdazeryL
puy seutdezexg ‘seutdezetq] soocInrget
Jeprzostp azertodtg Bu 00°0T HNTAVZNVIO ON ON SaA -soocInrzo
[seatqeatszeq prow Aq3e,] SOOcONWET
Jeprzostp azertodtgd Bu 00°008 WiIdOS HLVONdTVA ON ON SaA -SOOcINCTO
[suotTqyerzederg
TeotboTo yewzsq TertyI0]
suoT 9O0OTNYEST
ysert UTYS N eredeta TeoTboTojewzed AeyIO SHA ON ON -900CNVL90
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] SOOZONY EZ
Zepiostp azetodtg Bu 00°00€ HLVavVWnd ANIGVILENS ON ON Sada -sooconvec
[SuUOTIeUTquoOD
pextg ‘sueborz1sy
puy sueboqseborg] HONTLNOS 900ZAVNZO SO0ZOUdZT
uot qdeserzquop N° WN THALSHDYONOARTI SHA SHA Sada -MNN -SOOZONGET -So07ToNWYe TWA / Wid TTOTT7OR
[SeATIeATASq ptoy Aqqeg] SOOZAONOZ
Iepiostp rzetodtg Bu 00°008 dIOW O1OddTVA ON SaA ON -SOO7CdHS 7
[seaTIeatieq prow Aqqea] GOOZEHSTZ
Zepiostp azetodtg Bu 00°00% qaIOW OLOUdTV¥A ON SaA Sada - S00 cOnvTO
[seutdezertyL
puy seutdezexo ‘seutdezetq] sooconwye SO0cLOOTT
Jepiostp rzeTodta Bu 00°00F ELVaWWNA ANIdVILYNO ON ON SaA -SOOcoNYTO -SO0coNWVe dLO IO OTOTTZOR
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO Zhe abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

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AZSER12771744
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vIOT

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZdHSTT
I teprostp zeTtodtgd Bu 00°008 HIVaVWnd ANIGVILYNS ON ON ON -SOOCdHSTO
[SeaTIeatseq ptoy Aqqeg]
Iepiostp rzejTodtg Sw 00°000T WOIGOS BLYONdTYA ON ON ON
[seutdezetyL
puy seutdezexo ‘sautdazetq] HONTILNOS
Zepiostp azetodtg Bu 00°008 HLVavVWnd ANIGVILYNS ON ON ON -SOO0CONVTC
[seatqeatszeq prow Aqje,] HONTLNOS
I tepzostp azetodtg 5 00°T WiIdOS HLVOedTVA ON ON ON -SO0O07TGHSTO ONISSIN etTOTTcod
[szoqtqtyuT dung uo 4014] SO0ZLOOLO
Zeo[n oTqdeg Bw 00°0F aIOZVWadHWOSHa ON Sada Sada -SOOZcONYEO
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq]
Jaepiostp rzejTodtg 6u 00°009 HLVUVWAA ANIdVILHYNO ON SaA SaA
[wnt 4t'T] SO00ZLDOLO S00¢dHSL0
Zepzostp zeTodtg Bu 007005 HIVNO@ddvO WOIHLIT ON Sada Sada -SOOTAWWET -so0conwyve dL5 IO ZTOTTZOe
[SSATIPATIOG
puy spToTextw wntdo]
a 900CHAVLT
PTSD Bw 00°00S GIMOTHOONGAH BNINGHHdHOaNASd SHA ON ON -9007HdY9T
[s6nag
peqeTay esutdazetpozuag] 900ZHAYPZ
eTuMosul Bw 00°OT WHOIdTOZ SaA ON ON -900cad VOT
[seatqeatszeq prow Aqje,] 900CAYNCO
Jepiostp zeTodtg 6w 00°000T WOIGOS HLVONdIVA SHA SHA ON -SO0O07dES8z
[seatqeatszeq ptoy Aqjeg] SOOcdHSLE 900CAVNTO SOO0cOHdCT
Jepiostp rzeTodta 6w o00°00S WiIdOS HLVONdTVA ON SHA ON -SOOZDNYPZ -SOOZDHGET -SOOZDNYPZ TWA / W1d TTOTTZ0Ou
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO €L€ Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771745
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ST9T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeATIeATASd ptoy Aaqeg] SOO0ZLOO9T
Zeprzostp azertodtg Bw 00°00S WNIdGOS ALVYOUdTVA ON Sada SaA -GOO0CdHS8¢
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOO07dHSLZ
Jepiostp rzetodtg Su 00°05zZ HLVaWWNA ANIGVILENS ON ON SHA -¢MNN
[SzoqTqtTyUT dung uojo7g] 900CAYW60
motqoezut Bunt Bu 00°0r HIOZVYdOLNYd ON Sada ON -900cCEHA8Z
[seutdazeryL
puy seutdezexg ‘seutdezetq] SOO0ZLOOOT
Jepiostp rzeTodtg Su 00°00% ELVYWWOA ANIGVILANO ON ON SaA -GOO0CdHS8z
[SSaTIeATAaeq euTdezetpozuag]
Jaepzostp rzeTodtg N WYdaZWNEL ON ON SHA
Jepsrostp [SeaTIeATAeq suTdezetpozueg]
rejodtq/Ajetxuy N WYdaZ¥XO ON ON SHA
[st0qTqTYyUl eyeqdney
UTUOCJVOASS SATIOSTES
Jaepzostp rzeTodtg Bw 00°OT WYdOIWLID ON ON SHA
[SeaTIeATAeq suTdezetTpozueg] SOO0ZLOOFO
Iepiostp szejTodtg N WWIOZVadTy ON ON SHA -aNN
[seats Tndozdt uy] SOOTONA9T
eousretad Bu 00°F HCINVaedOT ON SaxA ON -GOO0cOeag9z
[sas Tuohy
rojdaserzouerpy-z-eqeg
SATIOSETOS]
Buy ASY N TIOWWLINATYS ON SaxA SHA
[seseostq AemaATyY 2ISqO 104g
sBhurqd teu 0 /soThzeuezpy] HONTLNOD 900CHYABO
euyyAsy N HLYNOTdOdd ANOSWOILNIA ON Sada Sada -¢NN -GO0CLSOTT dLO IO VLOTTZ0a
[SeaTqeaAtszeq ptow Aqqeg]
Jepiostp azejTodtg bu 00°0002 WOHIdOS HLYOUNdIVA ON ON ON
[seutdezertyL
puy seutdezexo ‘seutdezetq] ANNILNOO
I teprostp zejTodtq@ Sw 00°002zT ELVYWWAA ANIGVILHNO ON ON ON -GOO0CdHS2T ONISSIW €TOTTZOd
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO #LE Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771746
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 15 of 90 PagelD 85781

OT9T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[S@aATQeATIEG
puy prov OTTAOTTeS] soociInrso Soocinrst soocinreo
syoe STOSMW DW 00° OD00T CIOW OITAOLIIVSTALHOY SHA ON ON -soozmars0 -SsoozInr?O -SOO0ZaGHAST TWA / W1d TOOTOEOR
[SeptTtuy]
uotTqoesut Suny 5 oot TOWWLHOVaYd ON SHA ON
[soTbasut Toot auy]
BUY IASY N HQINOdd WOIdOULvVadI ON DaA ON
[seoueqsqns peqeTey puy
SOATIPATI9G PTOY OTQe0V] 900cadYL0
uot zoegjut Suny Bu o0°0s OVNHAOTISTA ON SHA ON -900CEHH4A8C
/ [SPTOTeXTY wntdo TeznjeN] 9007EHABTZ
uot qoesut Suny Bu o0°OT HNOCOSAKXO ON SHA ON -900CEHHA9T
[SSATISEXeT
butqoy ATTeotjowso]
uotqoezut Bunt Bu 00°07 HSOINLOVI ON SaA ON
[TOTTQTUUI eseweqoey-ejeg
TOU] SUTTTToTUS FO squop) 900THEABE
wot oesyutT Bunty 5 oo°t NITIIOIXOWY ON SHA ON -900CaEHA ce
[seatstTndozg] SOOZOHATE
eousretad Bw 00°02 SQIMOTHOOUCAH BCIWWUYdOIDOLEN ON SHA ON -SO00coed0c
myoeq [SPIOTENTY wntdo TerznjeN] SOOZONCES
aya ut uted sqnoy Su N HAaTYOTHIOUGAH HNOCOSAXO ON Sada ON -S00coOxed0c
[seaTqeatieq ptow Aqjeg]) 900cadYLO
Zeprzostp azertodtg 5 og't WOIdOS HALVYOUdTVA ON SaA ON ~-S00¢L00S¢
[SeaTqeATAeq suTdazetpozuag] GOOTLOOSZ
AqeTxuy Su 00°38 WYIOZVdadT¥Y ON SaA ON -SO00T LOOT
[SeaATIeATANGq euTdEzZzeTpozueg] go0zLoosz
Aye txuy Bu 00°0T WYdEZVWEL ON SHA ON - S007 LOO0Z
[seat jeatszeq ptow Aqqed] SOOTLOOVE 9007H¥W80
Jaepiostp rzeTodta 5 o0°T WONIdGOS ALVYOUdTYA ON Sax ON -SOO0CLOOLT -SO00CLS0TT dLO 10 PLOTTZ0g
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO GLE abed

CONFIDENTIAL
AZSER12771747
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 16 of 90 PagelD 85782

LI9OT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[S®ATIVATA9G sUTdEzeTpozuEg] GSOOZONVAT
eTUeW OW OS's WYdHZvVaoOl ON ON ON -SOO0cINO GT
[seat eatszeq ptow Aqqeg] GOOZDAWLT
eqtueW stxeTAjzotd OW 00°008T WOIdOS HLVOUdTIVA SHA SHA ON -SOOCAWNCT
[S®eaTQeAT IEG
puy ploy oTTAotTes] SOOCAYWEO
SYoepesH OW 00°O00T (IOV OLTIAOITIVSIALHOY ON SaA ON -GSOOCAWNZO
[S®ATIVATA9G sUTdEzeTpozuEg] GOO7EHA9IZ
suoqdwdAs otTuep DW SZ°T Wwdazvaol ON SaA ON -SO0O0cEHHA YS
[S®aATIwATASG sUTdEzeTpozuEg] GOOTEHHACT
suoqdwdAs otTuey DW 05°C WwdazVaol ON SaA ON -SO00cdHACcC
[SeaTqeATIeq suTdezetpozusg] GOOTEHATZ
suoqdwdAs otuey DOW GSL°E Wd4ZVaol ON SaA ON -SO0O0CEHHABT
[SeaTIeATAeq suTdezetpozueg] SOOCEHSALT
suojdudAs oTueyW DW 00°S WYd4ZVHO1 ON SHA SHA -SOOcdaHAST
[SeaTqexeT] JoequoD] SOOCAWNTT
uotaedtqasuep DW 00°F TACOSYSIG ON SHA SHA -POOCOEAES
[S®aTIexeT
Butqoy ATT eotjowso] SOOZUYNEO
uot jedtysucp noon TIODOYOTN ON Sada SaA -poocoudec
[seat eatszeq ptow Aqjeg] SOOCAYWCT
evuew stxeTAydorgd DW 0070002 WOIdGOS HLVOudIvVA ON Sada SHA -poocodde LT
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOO7TaHAST
suoqdwdAs oTuey! OW 00°002T ELWIWNOdA ANIGVILHNS ON ON SaA -voocosdert
[SSATIPATIOG
puy ptoy otTAot Tes] SOOCNOP'9C soocin’st soocinreo
Ssyoe sTOSsnW DW 00° 00S (IOV OLDIAOITVSIALHOY ON SHA ON -SOOZNOPSZ -SOOZINE PO -SOOZEHH9T TWA / Wild TOOTOfOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL ddoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 9L€ Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771748
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 17 of 90 PagelD 85783

8I91
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[Seat eATszsq sutTdezetpozueg] HONILNOOS SOOCAVNCO
Iepzostp deets DA OS°0 WWdHZVNOTO ON SHA SHA -NA - OOZONWBT aLO IO TOOZ0E0e
(wn TUITT)
TeZTTTGejis pooh DA 00° 007 HLYNOdavO WOIHLIT ON Sada ON
(wntyatT] SOOZAONLT
TezTTTqeis poo DW 00° 052 HLVNOddvO WAIHLIT ON Sada ON -SOOcCNNITZ
[SeaT IexeyT
Butqoy ATT eotjowso] SOOZAONLT
uotaedtq4suoep Nn oo’? TODOYDTN ON Sada ON -SOOCAWNTE
[un ty3ty]) SOOcTNNOrOZ
eTUeW DW 00°00S HLIVNOddYS WOIHLITI ON Saaz SHA -SOOcHdYL~
(wntyatT] SOO7ZHAY9Z
eTUeW DW 00° OGL HLYNOddvO WOIHLITI ON ON SHA -GOO0cHdYSZ
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] SOOCAVWN6Z
eTUeHW DA 00°00S ELVYWWOA ANIGVILHNO ON ON SHA -GOOCHdVET
[Sa0qTQqTYUL exHeqdney
UTUOICASS SATIDETSsS] SOOCdHSCT
uotssezdeq DW 00° 00T QNINWZXOANTA ON SaA SHA -SOOcuUWNOT
[SUOTIeSUT QUOD
pexta ‘sueborz4syq
puy suebo jsebord] HONILINOS SOOZLOOBST
uotydesrszquoD n° an HNONSUIdSOUd ON SaA SHA ANA -SOO0CAWWOE dlS IO €00TOCOe
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZONVLT
eTUueNW DW 00° 00€ ELWIWNOdA ANIGVILHNS ON ON ON -soocimnarod
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOcONYLT soocin’st soocinreo
eTUeW DW 00° 002 BLVAWNNA ANIGVILHNO ON ON ON -SOOzZTIONr6T -SOOZINE PO -SOO0ZEHA9T TWA / Wild TOOTOfOR
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] da TO dorldd aLVd dOLs HLvd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO LLE Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771749
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 18 of 90 PagelD 85784

ol9T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[sbnad
peqetey sutdezetpozueg] soozcnnrto
AQetxXuy OW 00°OT WHdTdIOZ ON SHA ON -SO00cadvSO
[SPTOTeXTY wntdo TeznjeN] SOOZHYNg90
uted OW 00°S HNTIHGYOW ON SHA ON -SO00caYWSO
[S20qTQTYUT exeqdney
SUTWEOUOW SATIOSTESS-uoN] SOOCHWNITZ
uot sseideq OW 00°S@ WALAOTHOOUCAH HNITIALGIALINY ON DaA ON -SOOCNYI'67
[S®aATIeATAEGq SsUTdezeTpozuEg] SOOcaaAST
AQtTTtqeqtz41 OW 00°T WYdHZvVaOT ON SHA ON -SOOcCNYP?80
[sotjerAdtauy
puy sotsebleuy 280] S007d4480
uted otboTossudAD SW 00°008T NILNAdVav> ON SaA ON -Voocosdte
[S®aTIeATASq eUuTdEzeTpozusg] soozdsdoz
Tepzostp deeTs OW 00°C WVYdHZVLHNUOT ON SaA ON -VOO0TOHATO
[s6nad
pe .eley esutdezetpozueg] FOO0ZOEC90
Jepzostp deetTs DW 00°OT HLVaLavL WHACIdIOZ ON SaA ON -FO0cOeAaTO
[squesserzdeptauy 7820] POOCLOOST
uotssezdeq DOW 00°ST HNIdVZVLYIW ON SaA ON -v00cLO080
[Sr0qTQqTYyUL ayeqdney
UTUOIOISS SATIOSTAaS] poozcLoosz
uot sseideq DW 00°02 HQTASOTHSOUGAH HNILEYXOdvd ON SHA ON -bOO0cdHSYT
[SSATIPATASC suTdezetpozueg] POOZTAONOT
Aqetxuy OW SL°T WYdHZVLHWAHOT ON Sada ON -pooconyec
[seat eatszeqd ptow Aqzeg) SOOZNOTO
aseestp zAeTCdt@ OW 00°O000T WOIdOS HALVYOUdTVA ON SaA SaA -pooconyeo
[seutdezertyL
puy seutdezexg ‘seutdezeta] VOOCONYLT SOOCAVNCO
aseestp rzeTodtg DA 00° 007 ELVaVWOdA ANIGVILENO ON ON SHA -poocinroe -Podconwet dLO 10 TOOzZOfoe
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO @Le abed

CONFIDENTIAL
AZSER12771750
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 19 of 90 PagelD 85785

O79OT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[S®aATIeATASG eUTdezeTpozueg] sooznnrso
AWS TXuy OW 00°T WYd4ZVdol ON SaA ON -POOTLOO9Z
[Sa0qTqTYyUL eHeqdnoey
UTUOIOASS SATIDSETSIsS] SOOCcAWNIOT
uot sseidaq DA 00°OF WWadOTYLID ON Sada ON -FO07LO00Z
[STOATQTYUL eyeqdnsey
UTUOJIOISS SATIOSTAES] VOOCLOO6T
uotssezdeq DA OO OE WWHdOTYLIO ON Sada ON -POOCLOOST
[Sz04TQqTYyUL sYHeqQdnsey
UTUOICASS SATIDETSS] POOCLOOFT
uot ssezdeq DA 00°02 WWadOTVLIO ON Sada ON -YOOcLOO80
[S®aTIeATASq eUuTdEzeTpozusg] POOTLOOSZ
AQeTxXuy OW SZ°T Wd4ZVaol ON Sada ON -pyoocdas40
[SeaATIeATASG eUuTdEzeTpozueg] POOcdHS9O
Aye txuy DW 05°2 WYdHZVaOT ON SHA SHA -ZOOTINCOE
[seoueqsqns peqeTeay puy
SOATIPATI9G PTOW OTI80¥] POOCdHSEO
uted eTosny DA OO°TSL OVNHAOTOIG ON SaA SHA -poocimnroe
[seutdezertyL
puy seutdezexo ‘seutdezetq] POOTONWOE
poow azezTTTqers DW 00° 007 ELYVYWWOA ANIGVILYAS ON ON SHA -poocIn’rico
[SeATIeATASq ptoy Aqqeg]
poow zezTTTqers D 0S°T WNIdOS HLYOUdIVA ON Sada SHA
[sotTqeantq
puy SAOQTQTUUI eoy]
uot sueqzedAy OW 1 TIHdIWZa ON SaA SHA
[sot yoyoAsdtquy 7e7I0]
Jepzostp deeqts OW 00°08 TIAGNHdIHLOWd ON Sada SHA
uot ounzsAp [seucwz0H ptorAyL] ANNILNOO GOOTAYNGO
PTorAUL DN 00°0S WOIGOS HNIXOWAHLOAYI ON SHA SHA -YNOA -POOCANYWOE dL5 10 Z00Z0€0H
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 6L€ Obed

CONFIDENTIAL
AZSER12771751
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1291

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[S®ATARATAaq SsucUSYydorAqng] SOOZNWI'TE
aTepszosTp dad OW 00°08 AQTAOTHOOUCAH ANOAHAGNVdId ON SaA ON - YOO 7TOHATO
[SeaTIeATAeq suTdezetTpozuag] SOOZEEALO
AqeTxuy DW 00°T WWIOZVNdTY ON SHA ON  - VOOZAONTO
[seutdezetyL
suoqdwds puy seutdezexo ‘sautdazetq] POOZTAONOZ
oTUEW pEesestout OW 00° OT ANIGVZNVIO ON SaA ON - VOOZAONTO
[S®aTAeATAaq SsucueYydorzAqng] POOZOMATE
aTepszosTp dad OW 00°07 AQTAOTHOOUCAH ANOAHAGNVdId ON SaA ON -vOO7TLOOLE
swoadwAds
uotssezdep [squesseideptquy teyI10)] SOOZMYNSO
pesestoul DW 00°SL ONIXVAVINHA ON Sada ON -ZOOZLOOTT
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] POOCdHSPT
aepsostp da OW 00° 007 ANIGVILYNO ON ON SaA -P007dHS90
[S®EaATIeATAeq SsuCUeYdozAqng] POOTLOOLTZ
aTep4zostp dad DW 00°08 HQTXOTHIONGAH HNOMHdUNVdId ON SHA SaA -yooconvTO
[SSeATIPATASq ptoy Aqqeg] POOZONCES
atepszosTtp dd OW 00° O00T WiIdOS HLVONdTVA ON SaA Sada -yoo7cinr7e
[sbnad
pereTey eutdezetpozuag] POOTdHSLO
Tepiostp deets OW 00°OT NOTH 1TvZ ON ON SadA -VOOCNICTO
[suotqeredezq JeoryL]) SOOcadYCT SOOCdHSETS sOOcNNrOe
statbudAzeya n° suoTqerederzgd WeoryL ON SaxA ON -SOO7THdY90 -SOOZINCTO -7OO0THHSDT TWA / WId €0070C0H
[sa0qTqtTyUul aye qdney
UTUOIOISS SATIOSTESS] soocNnrso SOOCAVWG6O
wot sseideq DW 00° OT WVadOTVLIOSH ON SHA ON - SOO CHWW9T -PvoocoOnwoe dLO IO 2002008
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GITT FO og abe

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771752
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cCOl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seatqeatszeq prow Aqje4] SOOCLOOET

JEepPtostTp dd OW 00° 00ST WhIdOS HLVONdTVA SHA ON ON -SOO0CdHSTO
[SSaTIeaTseq suTdezetpozusg] SOOTDNVETZ

Jepiostp deets SW 00°T WWdHZVaOT SHA SHA ON -SOOCNNLEO
[SSATIeATIEq SsUTdezeTpozusg] sooznnreo

Aqetxuy n° WVIOZVadTY ON Sada ON -SOOZAWWEO
[S@ATIPATIaq auTdazetpozuag] GOOZAYWEO

Aqetxuy DA 00°? WYdHzZVaoT ON SaA ON -SO0O0cedYeO
AQUSTOTFINSUT [SPTOUOCASTFOTY] SOO7ZUYNG6GO
snous/ OW 00° 006 NIDNaaxOouL ON SaA ON -SO0O07CdHAOT
[SSATIeATAEq SsuTdezetTpozusg] SOOTHAaYTO

Aqetxuy n° WVIOZVddTY ON SaHA ON -SOO0ceHALO

[S@ptT Tuy] SOOTNYL6Z

Soe pesH n° oO TONWLHOVavd ON SHA ON -SOOCNWI8C
[SepTtT Tuy] SOOCNYET?

SuoepeeH n° oO TOWZLHOVavd ON Sada ON -SOOCNYP6T

[sot aoyoAsdtquy 7e7I0] SOOCNYWL FT

tepiostp butdeeTs OW 00°07 TJAGNSAGCTHLOWd ON SaA ON -SOOcNWCLOT
[S®aTAeATIaq SsuouaTdorzAqng] SOOZDNYTE

aTep4zosTp dad OW 00°07 AQTAYOTHOOUCAH ANOWHAWVdId SHA SHA ON -SOOCNVCTO
[seatqeatszeq prow Aqje,] sOOcONWOe

peseoroutT eETUPW OW OO OOET WildOS WLVOddTVA SHA SHA ON -POOCOHECES
[S®ATIeATAeq SuCUeYdozAqng] POOTONAST

uoTIeqTbHy n° TOCIYH#d0ud ON SHA ON -YOOCOHAST

[dnezy outwy ATeT
qiel/sieqsy ‘soThreutToyotTquy

yquds] SOOZLOOES SOOTdHSET SOOCNNLOE
uted Tenz4suew n° HNTMSASHHN SHA SHA ON -POOZDEGLO -SO0OZIN©TO -POOZdHSPT TWA / WId £00Z20f08
NOT LYWO TANI gS0q [NOILVOIMISSVIO NOILYOICHWN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO Tee abed

CONFIDENTIAL
AZSER12771753
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s97xdoy «GPF ET? LOOZHYNZO

€c9l

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] SOOZAYWOE
Jaepzostp azeqodtg OW 00°008 HLVavVWnd ANIGVILYNS ON ON SaA - S00 7TAWWOT
[Seat zeatseq sutdezetpozueg] SOOCAONLT 900 CaAVW0c S00cOud8C
Jepiostp deets DW OS° 2 WYdHZVaHOT ON SaHA ON -SOOZLOOTZ -SOOZOHG6Z -SOOZAVWIE TWA / dLO 9007008
[seutdazeryL
puy seutdezexg ‘seutdezetq] SOOcHAV6T
eseestp reTodtd DW 00° 007 ELVYWWAA ANIdVILEYNO ON ON SaA -SOOcHdVET
[Seatieatszeq prow Aqqeg]
eseestp AeTOdtd OW 00°0S2ZT WiIdGOS HLVONdTVA ON Saaz SaA
[Ss20aTqTyUur Seyeadney
UTUOIOISS SATIOSTIS] SOOZAON60 SO0Z@LOOOT
uoTsssideq DW 00°ST WVadOTVLIOSH ON Sada Sada -SOO0CEHASTS -so0cddwo7? dLO IO S00Z0¢08
[s2oaTqtyur eyeadney
Jepizostp UTUOJOTSS SATIOSTSS] SOOZNArTzZ
aatsseidep 10CeW DW OO°OE AQTHOTHOONGAH ANILHXOdvd ON Sada ON -GOOCHdY6 2
[soTqQAToonn]
sStTaTyouerg n° aSVaLOud ON ON Sada
[SSPT Torey]
sTaTyouerg DW 00°00S NIDAWOSHLIAYYTO ON ON Sada
[SSPATIPATIOG
puy plow oTTAoTTes]
sStTaTyouerg 2 OO°T CIOV ODIAOTTIVSTIALSOVY ON ON Sada
[SOTQA TOON] SOO7CHaV6T
sTaTyouerg D2 O2°T HUNTELSAOTALYOY ON ON Sada -GOO7cadY60
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOcudY8T
oT joe TAydorg OW 00° 007 SLVUVNNA ANIGVILANO ON ON SaA -SOOCEHA8BT
[seatqeatszeq ptoy Aqjeg] SOOZTAONEO SO0O0ZCLOOVO SOO0cdHSET
of q0e TAydora 2 OS°T WOIdOS HLVOUdTIVA SHA SaA SaA -YOOCHAYLT -SOO0ZdHS¥Z -SOO7THdVE6T TWA / W1d 7OOZOEOH
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL qdadod
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO zee abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771754
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voor
Gozxdoy SPIET:LOOZHYWZO SeS*OOTPaM AST“ 600TZOZTT/3T3/4ndano/ds/9z100°L PyTP/Tenbotes /pord/aiso/
[seutdezetyL
puy seutdezexg ‘seutdezetaq] 900ZNVLEO
Tepiostp rzeyTodtg DA 00° 008 HLVYWWNA ANIdVILaNS ON ON Sada -SO00cOHd6T
[sotqoyoAsdtquy 7e7I0)] 900TAYNITO
Zeprzostp azertodtg OW 00°OP TJAQNSAGCTIHLOUd ON Sada SaA -G00¢DHaL0
[S®aTIeATASq eUuTdEzeTpozusg] soozosaoe
Zeprzostp azertodtg DA 00°C WYdHZYNOID ON ON SaA -SOOTAONEZ
[seatqeatszeq prow Aqje4] 900CAVNITO
Jaepiostp zeTodtg 2 00°T WONIdGOS HLVONdTYA ON Sax SaA -SOO0CAONYVO
[Seat zeatszeq sutTdezetpozusg] HONTLINOOS 9OOCNYLOE
Jeprzostp azertodtgd DA 00° 2 WYd4ZVLEWHOT ON Sada SHA -¢MNN -900CNYIPO dLO I0 L00Z0¢08
[S®aTIeATASq eUuTdEzeTpozusg] 900ZNYLOZ
Zeprzostp azeptodtg OA SZ°T WYddZVaOT SaA ON ON -900CNYCET
[SeaATIeATASG eUuTdEzeTpozueg] SO00CNYCCT
Jaepiostp rzejTodtg DA 00°S WYdeZVaHO1 SHA ON ON -900CNYCCT
[S@aATIeATAeGq SeUTdEezeTpozuEg] SO00CTNYETT
Jepzostp dsets DW S27 T WYdHZVYOT SHA SHA ON -S00cdeacO
[SSATIPATASqQ suTdezetpozueg] so00zoNazo
Iepzostp deets DA 00°S WYddZvVaoOl ON Sada ON -GOOCAONLT
[SSATIPATASqC suTdezetpozuedg] SoozLD00z
Zepiostp dsetTs OW 05° 2 WYddZvaOl ON Sada ON -sooconydec
[SeaTqeATAeq suTdazetpozuag] SOOzZNnroZ
AqeTxuy OW 05°C WYdaZVaO!l ON Sada SaA -GOOCTAWNC
[seataeatszeq ptow Aq eg] 900cNdV6T
Jepizostp azeTodtad PW 00°0002 WOIdOS ALVONdTVA SHA SHA SHA -SOOcadTTO
[Seat zeatszeq sutTdezetpozuseg] SOOCAYWEC 900 TAYNOT SO07cONd8C
AqQetTxXuy DW 00°S WYdEZVaOT ON ON SHA -SOOZHdYTO -SO0OZDHd6Z -SOOZAYVWIE TWA / dLO 90070608
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT FO €ge abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771755
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s97xdoy «GPF ET? LOOZHYNZO
[stoatqtyUul eyeqdney

Sc9l

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

UTUOJOASS SATIOSTES] VOOCAONEZ
uotssezdeq Bu o0°0s HNTTVALYHS ON SHA ON -VOOCAON60
[seutdezetyL
puy seutdezexo ‘seutdezeta] DOOTdHSOT
aetodtg Su 00°005 ELVYWNOA ANIGVILHNG ON ON SaA -vo0cdHS9T
[sotade,tdetquy 781740] FOOCdHSTL
aetodtg Su 0070s HANIOIALOWZI ON ON SoA -vOOcdHSET
[seutdezetyL
puy seutdezexg ‘seutdezetaq] DOOTdHS9T
aetodtg Bu 00°008 ELVYWWOA ANIGVILING ON ON Sada -bOO0cdHSOT
[S®aATIwATASG sUTdEzeTpozuEg] POOTLOOTT
puewep up “azetodta Bu og'z WYGHZVYOT ON SHA SHA -VTOOTEHSTO
(wn tY3tT] SOO CAYWIOT S00cdHAs80
zejodta Sw o0°oszt HLYNOddvo WAIHLITI ON SaA SaA -poocinrad -poozdasoz IT / Wid TOOE0EoR
[S®ATIVATA9G sUTdEzeTpozuSEg] 9007THYNTO
tepiostp zetodtg DW 00°F WYdazZvadol ON SaA ON -900CNYISZ
[S®aATIwATA9G sUTdEzeTpozuseg] SOOCNWL TZ
aseestp azejodtg OW 00°? WYdHZvaol ON SaA ON -S900CNYCLT
[SeaTqeATIeq suTdezetpozuag] S0O0ZNYL9T
tepiostp zejtodtg OW 00°S WYdHZVaoOl ON SaA SaA -900CNYCEO
[eso
Teotdo, 204 sTebungtquy] 9007CNYC PT
abrzea stsoodW Nn’ Oo esq Teotdoy z0g sTebungztauy oN SaA SaR -GOOZOHSQO0E
[SOATIPATASQ STOZeTAL] 9007TNWLSO
ebrea stTsoodW OW 00°0S HIOZYNOONIA ON SaA SaA ~S00coxed0e
[SSATIeXET
Butqoy ATTeotjowso] 900ZNYLVT 900ZN¥LOE
e Tue TuowmersdAH n° na TOLILIVI ON SHA SHA -SO0O0COHd6T -900CNYCTO dLlO 10 LOOZOf0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO ¥eEe abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771756
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s97xdoy «GPF ET? LOOZHYNZO

9Z9T

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[SSATICATASC suTdezetpozuedg] POOZLOOZT
aetodtg Bu og°z WYdHZvVaoOl ON SaA SaA -PO0cdHS 22
OUST TAUOOUT [soTpowsedstquy Azeutin]
Azeutan Bu 90°s NINALNGAXO ON SaA SaA
[SeaTJeatieq seutdezetpozusag]) HONTLNOO PVOOCLOO8T
suetqord deets Bu 00°T WYdHZVaLINNIS ON SaA Sada -AINA -FO0cLS080 dlS IO €00€0e0e
[S®aATIeATAEGq SsUTdezeTpozuEg] SOOcTUWNIST
Jepsostp deets Bu 00°Z WYdHZVLHWAHOT SHA ON ON -SOO0caHAST
[Seat eaTAeq euTdezetTpozuag] SOOZEHAPT
Jepsostp dee ts bu oo°T WYdHZVLHWHYOT SHA SHA ON -SOOCNYITE
[SSATICATASC suTdezetpozuedg] SOOZNWPTE
tepzostp deets Bu 00°2 WYdHZVLHWHOT ON SaA ON -SOOCNYILE
[SeATIeATASd ptoy Aaqeg] SOOCAYNSZ
aetodtg Su 00°005 WOIdOS HLVOUdTIVA SHA SHA ON -VOOCAONBT
[seaTjeatizsq ptoy Aq jeg] VOOCAONLT
aetodtg Su 00°008 WOIdOS HLVOUdTVA ON SaA ON -vO07TLOOLO
[seutdezertyL
puy seutdezexg ‘seutdezetq] VOOCdHS6T
qodtga Bu 00°008 BLVYWWOA ANIGVILING ON ON Sada -DOO0cdHS YT
[seaTqeatieq ptow Aqjeg]) VOOCLOO90 SOO cdHA ET SO0cdHA90
jodta Su 00°005 dIOY SOIOUdTVA ON SaA SaA -POO7TdHS60 -S00ZGHALO -POOTdHSOZ TWA / W1d ZOOf0C0R
[Sa0qTQTYyUI exHeqdney
UTUOICASS SATIDETSsS] POOCDEACOT
uotssezdeq Bu 0070S ANITVULYHS ON SaA ON -voocoedLo0
[Sa0qTqtTYyUl ayeqdney
UTUOIOASS SATIOSTSS] vOOcOHaLO SO0cdHA80
uotssezdeq Bw 00° 00T HNTITVALYHS ON SHA ON -TOOCAONET -poozdasoz II / Wid TOOfoEor
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO Gee abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771757
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 26 of 90 PagelID 85792

s97xdoy «GPF ET? LOOZHYNZO

LOT

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SSATIPATASC suTdezetpozuedg] POOTLOOZT
aetodtg Bu 90°s WYdazZvVadol ON ON SaA -VOO0cLOOTO
[SPATIPATIEq PToy Aqqeg] MNO SOOCNYLET
zejodta Sw o0°000T QIDV DIOUdTVA ON ON SoA -vOO7TLOOTO -vo0cLoOoctT dlS 10 yvOoeoeod
[SSATICATASC suTdezetpozuedg] POOZAONLT
aetodtg Bu 90°s WYdazZvadol ON SaA ON -POO0CLOOST
[S®ATIPAT AGG sUTdazeTpozuag] POOTLOOST
aetodtg Bu 9e°7 WYdazZvVadol ON SaA ON -VOOcLOOVT
[S®aTIeATASq eUuTdEzeTpozusg] FOOTLOOFT
aeqTodta Bu Zee WYdHZVaOl ON DaA ON -vOOTLOOCT
[S®aATIeATAEGq SsUTdezeTpozuEg] VOO?LOOCT
zejpodtg Bu 98°T WYdHZvVaOT ON SHA ON -POOCLOOTT
[SSATIPATASQ UBANTOIITINY] VOOTLOOST
uotqoesutT Arzeutan Bu o0°O0€ NIOLNVANAOULIN ON SHA ON -7O0CLS080
[PAT IOSTSS
‘squeby Butyoortg e 6g] POOZAONLT
uoTsueqredAy Bu o0°s HLVGvWNA IOIOUdOsIad ON SaA SaA -vOOcdHS6z
[squeby butzeds-umtsseqjog
puy soOtqeantq BUTTTeD-Mo7T] POOZAONLT
uotTsueqrsedaéy n° na HaTYOTHDOAGAH HCIYOTINY ON Sada Sada -DO0cdHS 8c
[seaTIeatieq ptow Aqqeg] POOTLOOBT
zejodta Sw o0°000T dIOY SOIOUdTVA ON SaA SaA -bod0cdHs8e
[seutdezertyL
puy seutdezexo ‘seutdezetq] POOTLOOLO
azeptodtg Bu 00°009 BLVYWWOA ANIGVILENG ON ON SHA -DOO0CdHS BC
[SSeATIPATASq ptoy Aqqeg]
aejtodta Bu 00°00S QIOV SOIOddTVA ON ON SHA
[UTeTq ‘septTweuojy ns] VOOTEHS6Z VOOTLOOST
uot sueqzsedAH Bu o0°0r HCIWHSOUNA ON ON SHA -POOCdHS Be -7O0CL5O080 dLO 10 co0fofog
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 98€ Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771758
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s97xdoy «GPF ET? LOOZHYNZO

8791

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SeATIeATASd ptoy Aaqeg] POOCOsaPT
Zeprzostp azertodtg Su 00°009 dIOV OIOUdTVA ON SHA SHA - YOOZAONEO
(Wnt yat Ty) SOOZAYNO
aeqTodta Bu 00°0S4 HLYNOdaYO WNIHLIT ON SHA SHA -YOOTLOOTZ
[seatqeatszeq prow Aq eg] POOZONCST SO0cudVrO
Jepiostp rzeTodtg Su 00°008 GIOW OIOUdTVA ON SHA ON -vOOZONAST -VOOZOHCET dLO IO 9O0f0f0R
[seutdazeryL
puy seutdezexg ‘seutdezetq] VOOZLOO6Z
zejpodtg Su 00°009 BLVAVNNA ANTIGVILANO ON SHA ON -vOOZLOOLZ
[seataeatszed ptow Aj eg] DOOZTAONIT
zejtodtg 6w 00°000T WiIdOS HLVONdIVA ON Saaz SHA -yoozonvst
[SeaTJeatieq seutdezetpozueg] HONTLNOOD POOZLOOLZ
Jepzostp deetTs Bu 00°2 WYd4aZVLEWHOT ON SHA SHA -YINO -yOOZLOOLZ dlS IO SOOE0EOe
[Sa0qTQTYyUL eHeqQdnoey
UTUOIOASS SATIOSTSS] YNO
aeqtodta Bu 00°0S ACIYOTHOOUCAH SNILEXOUVd ON SHA ON -VOOZAONTZ
[SSATIPATASqC suTdezetpozuedg] POOZAONG6O
zejTodta Bw ss8°t WYdHZVaOT ON SHA ON - YOOZAONSO
[SeaTqeATAeq suTdazetpozuag] POOZAONSO
aejTodta Bu ete WYd4HZVaOT ON SHA ON -YOOTLOOETZ
[SeaATIeATANGq euTdEzZzeTpozueg] POOZLOO6Z
aepodtg Bu os"z WYdHZVaOT ON Sada ON -YOO7TLOO6T
[Sa0qTQTYyUI exHeqdney
UTUOICASS SATIDETSsS] VOOCAONTZ
uo7sseidep azejtodtgq Bu 00°09 ACIYOTHOOUGAH ANILHXOUVd ON SHA SHA -YOOZLOOTO
[seutdezertyL
puy seutdezexg ‘seutdezeta] DOOTLOOCT SOOZNVIET
aejtodtg Bu o00°009 ELVaVWOdA ANIGVILENO ON ON SHA -vOOZLS0TO -yOOZL50Z2T dLO 10 poOoLorog
NOIIWVOIGNI gS0q [NOILVOIMISSVIO NOILYOICHWN] da TO YWoldd aLvd dOLs aLlvd doLs aLVd dOLs LNEWLVSYL aadoo
WHHL OTHENHS NOILYOICEWN NHMVL NOILVOICHN -SIVd LHVLS -HLVd LavLs -a1lvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO Lee abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771759
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6791

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[S20ITQTYUL exyeadney

UTUOIOISS SATIOSTSS] SOOCNYIVZ
jodta Bu 00°ST HQTAOTHOONGAH ANILEXONVd ON SHA ON -SOOCNYE8T
[suotjerzedaerzg
euTeAbTwWTAUY TEI] SOOcNNrst
eutes5 TW n° A HQIYOTHOOUCGAH ANIWHAVHLA ON SHA ON -vOOcoOed eS
[seatqeatszeq prow Aqje,] SOOCNNC ST
todtq 6w 00° 000T GIOW OIOedTVA ON SHA ON -voocoudst
[seatqeatszeq prow Aqje4] LVOOcOaCST
jodta Bw 00°009 dIOvW OIONdTVA ON SHA SHA -7O0zoed90
[seutdezetyL
puy seutdezexo ‘seutdezeta] DOOTONCET
*“Todta Bu 00°00S HLVavVWnd ANIGVILANS ON ON SHA -Voocoad90
SOUSUTAUOSUT [STeoTboTorn reyI0]
Azeut in Bw 00°09 LOWaLXA SNAdWa VONEAHS ON SHA SHA
SoUsUTQUOSUT [sotpowsedstquy Azeutin] SOOCNYILZ
Areut azn Bu os'2 NINALNAAKO ON SHA SHA -poocoadco
[S®aTIeATASq eUuTdEzeTpozusg] GOOCNWI FZ
“Todta Bu 007% WYdaZVLEWaAOT ON SHA SHA -voocoudzo
[Sa0qTqTYyUL exHeqdnsey
UTUOIOASS SATIOSTASS] SOOCNY?LT
*“qodta Bu 00°0€ HQIAOTHOONCGAH ANILEXOUVd ON SHA SHA -voozoeazO
[seutTdezertyuL
puy soutdezexg ‘soutdezetq] FOOCOEd90 SOOCAYNG6T
Todta Bu 00° 00€ HLVaVWOA ANIGVILHYNO ON ON SHA -vOOcoOea co -vOOcOedET dLlS IO LO0C0CON
[SeATIeATASd ptoy Aaqeg] SOOCAYNDO
Zepiostp azetodtq S6w 00°000T qIoOw OIONdTVA ON SHA ON - POOZOECST
[seutdezertyL
puy seutdezexg ‘seutdezetq] DOOTONATT SOOTHAYIO
Jepiostp rzeTodta Bw 00°00L ELVaWWNA ANIdVILYNO ON ON SHA - VOOZAONOE -VOO?tOHACET dLS IO 900f0f0R
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL aqoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO age abed

CONFIDENTIAL
AZSER12771760
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OcOT

g9ozxdoy «6ShIET'LOOTHWNZO «=SeS*OOTPeW IST 600TZOZTT/3TI9/3ndano/ds/9ZT000LtFIp/ Tenbores /pord/easo/
[SSaTIeXeT
pepesu Butqoy ATTeotjowso] soozinrso
se uotqedtqjsuop n° TJOOONOVN SAHA SAHA ON - S00 7TAWWOT
[uteTd ‘septweuoz[ns] soocInrso
woTsueqzedAH Bu og°z HOINVdVONTI SHA SHA ON -SOOCNYP80
[seutdezetyL
puy seutdezexo ‘sautdazetq] POOZTONAOZ
zejodtg Bu 00° 007 HLVYWWAA ANIGVILANG ON ON SaA -LYOOCOeaYT
[SSATICATIBq SpTwexoqzeD] FOOZAONOE
ae podtg Bw 00°002 HNIGHZVAVadyO ON ON SaA ->aINN
[UTeTd ‘sqstucbequy
TI UTsusjoTbuy])
uot sue qredéy Bu 00°05 WNISSVLOd NYVLAVSOT SHA SdA Sada
[wn Fy3t'T] HONTLNOD SOOcNNL80 SOOZAYWOT
aepodta Bu 00°OSL HIVNOGYYO WOIHLITI SHA SHA SHA -MNN -SOOZAYNTT -yoozDedoz ITI / W1id s00f0f08
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOcNNL8T
eseestp areTodtd Bu 00°009 HLVaWWOA ANIGVILENS ON SaxA ON -GOOCAYNG6T
qodta [SSATICATISq SsuTdezetpozueg] SOOZNOrsT
/ t9psostp deeTs Bu 0072 WYdaZVLEWaOT ON Sada ON -GO00caH4A80
[Sz0ITqTyUI ayeqdney
UTUOJOASS SATIOSTAEsg] SOOZAYWOT
eseestp azejtodtg Bu 00°02 HQTYOTHOOUCAH ANILHYXOUvVd ON Sada ON -GOO0CdaHALO
Todt [S@eaTIeaTAeq SsuTdezetpozueg] SoocaaALO
/ Tepiostp deets Bu ost WYd4ZVLEWaYOT ON SaxA ON -GOOCNWLSZ
[Seweug]
AdoasoTop n° oO OISVAONOW HIVHdSOHd WNIGOS ON Sada ON
SpTorrowsey [Aderzeuy, ssooTrzeaTquy] SOOCNYCOC SOOCAVW6T
queuqyesty TeooT n° AdezeaulL esootrzeatquy oN Sax ON -GOOCNWLOZ - POOZONCET dLO IO LOOEOEOE
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] ca IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT FO 68f abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771761
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Te9oT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATQeXET
butqoy ATTeotjowso] So0zdads4ATo
uot aedtasuop TH OO°O0E HSOTNLOVI ON SaA ON -SOOCNYIET
[seuseug] SOOCNYI'SC
uot aedtysuop Q OISVEONOW HIVHGSOHd WOIGOS ON SHA SEA -SOOZNWIsO
[SeaTQexey
Butqoy ATT eotjowso] SOOZNWLET
uot jedtqsuop 5B o9°LZ TOOOXDTN =ON SHA SHA -SOOCNYI'80
[sotqoyoAsdtquy 72840] SOOCNWE TT
uot qeqATby Bu 00°0r HNIdVILOIO ON SaA Sada -SOOCNYI?'LO
[SOATIPATIEC
eTOZeTAL puy eTozeptwy]
ewszoF n HIOZYVNOOOLEYA ON Sax SaA
[(r dnozp)
YeSM 'SpTorSAsooTAIOD] SOOTEHATT
eweZoy a HNOSTLHOSOMTAH ON SHA SHA -SOOZN¥I7O
[sotqoyoAsdtquy 72740] SOOCNYCLO
uot qeqATby Bu 00°0S HNIdVILOIO ON ON Sada -POO0coedE
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZNYLZT
jodta Bw 00°008 ALVYWWNA ANIdVILHYNOS ON ON SHA -POOTONCET
[seatqeatszeq prow Aqjeg] sooc Ince
Todta bw 00*o000T dIOV SIOedTVA ON SHA SHA -POOCOHAT?
[PATAOSETES
‘squeby Butyootg eq7eq] soozinr6z
uot sueqredAy Bu 00°0OT HLVEvWNA IOIOddOsIad ON SaA SaA -vOOcONABT
[squesseadeptquy 29430] soocddvy90
Jepiostp buydeets Bu 00°002 HCIYOTHOOUCAH HNOCGOZVHL ON Sada SHA -POOZOECLT
[Seat zeatszeq sutTdezetpozuseg] SOOCNYC'LO SOOCNNLEC
Jepzostp dsets 0 WYd4ZVLEWHOT ON ON SHA -POOCOHALT -SOOCNYC CT dLlO 10 600f0f08
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 06€ Obed

CONFIDENTIAL
AZSER12771762
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 31 of 90 PagelD 85797

cool

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutdezetyL
puy seutdezexg ‘seutdezetaq] SOOZNWPOT
qodta Bw 00°009 HLVYWWNA ANIdVILaNS ON ON Sada -SOOcNYL90
[Sz01TqTYyUI Seyeqdney
UTUOJIOISS SATIOSTAS] SOOCNYCTT
jodta Su 00°07 HATHOTHOOUGAH ANILAXONVd ON ON SaA -POOCOHCLT
[seatqeatszeq prow Aq3e,] SOOCNVC YT
todtgq bu 00*000T QIOW OIOddTYA ON Sada SHA -POOCOHCET
[SeATIeATASq ptoy Aqqeg] SOOCAVNTO
rejTodtg Bw 00°009 QIOW OIOddTYVA ON Sada ON -SO0cHdY90
[SSATICATASC SuUSYAUeXOoTYyL]) soocinrod SoOcTINC OZ SOOCNNL8Z
stsoyodsd Bw 00°00T GLVLAOV IOXTHINAdOIONZ Sada ON ON -soocinroz -soocNnréz -SOOCNVCCT TWA / WId OTOE0E0R
[squesseizdeptquy 7°70] SOOCTAVNLZ
Jepiostp butdee ts Bu 0070s HOTYOTHOOAGAH HNOdOZVHL ON SaxA ON -GOOCAYNGO
[squesserzdeptquy 7820] SOOCAVWVO
Iepiostp Buydeets Bw 00°00T HATYOTHOONGAH HNOdOZVNL ON Sada ON -S00cadY90
[S@eaTqexeyT
Butqoy ATT eotjowso] soozinr6ez
wot qedtqasuop 6 ozas TODOYOTN ON SaA ON -S00cdeAzO
[SeaTqexeyT
butaoy ATTeotjowso] S00z7adse4z0
uot aedtasuop 5 09°Lz TOODONOVN ON Sada ON -S00caHATO
[seusug] SoocasATT
wot qedtqysuop O OISVYAONOW ALVHdSOHd WNIGOS ON Sada ON -SOOCNWPLE
[sotqoyodAsdtquy 7920] SOOCNWETZ
uot IeqTbHy Bw 00°02 GNIGVILOIO ON SaA ON -SOOCNYC8T
[sotqoyoAsdtjuy 728430] SOOZNWE8T SOOTNNL6T
uoTIe IT BY Bu oo°o0€ HNIGVILOIO ON Sax ON -SOOCNYD PT -GOOZNYIZT dLS IO 600008
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO T6€ abed

CONFIDENTIAL
AZSER12771763
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 32 of 90 PagelD 85798

s97xdoy «GPF ET? LOOZHYNZO

[seutTdezeryL
puy seutdezexg ‘seutdsezetq]

ecol

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

aetodtg Bu 00° 002 HLVavWnd ANIGVILYNG ON ON ON
[seucWZOH PTorAyL] SOOcNYW’S80
proz4uL 6n 00° 00T WOIdOS ANIXOWAHLOANT ON ON ON -SOOcNWCLO
[seatqeatszeq prow Aqje,] SOOCNVCLO
aetodtg Bu 00°00€ GIOW OIOedTVA ON ON ON -SOOcNYL90
[seutdezetyL
puy seutdezexg ‘seutdezetaq] SOOZNVP90
aetodtg Bu 00°00% HLVavWnd ANIGVILYNS ON ON ON -SOOcNWL90
[SSATIPATIOg
eern ‘SseptweuosyTns] SONTLNOOS
se qeqetd Bu 00°0£ HOIZVIOIID ON ON SHA -YINA ONISSIWN TIO&0eOd
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] GSOOZONVET
st soyods¢ 6w 00°OT HNIdVZNVIO SHA ON ON -soo7e Taro
[seatqeatszeq prow Aqjeg] SOOcONW6T
azeptodtg Bu 00°00€ GIOW OIONdTVA SHA SHA ON - SOOZAWNISO
[seat eatieq proy Aqqed) SOO cadY90
qodtga Bu 00°008 dIOw OIOedTVA ON SHA ON -SOOCNYC PT
[SZ01TqQTYyUL SeYyeqdney
UTUORIOTSS SATIOSTES] SOOCNYITZ
Todta Bu 00°02 HQTAOTHOONCGAH ANILEXOdvd ON SHA ON -SOOCNYE PT
[Sa0qTQTYyUI exHeqdney
UTUOICASS SATIDETSsS] SOOCNY? PVT
jodta Bu 00°0€ HQIYOTHOOUGAH ANILEAXOUVd ON SHA SHA ~SOO¢NYCTT
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOCNYE'TT soocinroc SOOCNN’8
Todt 6w o00°00S ELVaWWNA ANIdVILYNO ON ON SHA -SOOZNYFOT -SOOZNNré6éZ -SOOZNYIZT TWA / W1d OTOfOCOH
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans
NOILYOICHW CeZIWOGNYA ‘Idav1I Nado

GTTT JO z6e abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771 764
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veor

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeATIeATAeQ suSeAUeXOTYL]) SOOZAYWEO
aepodtg Su 00°00T HLVLEOV TIOXTIHINYdOIONZ ON ON SaA -SOOCAYWEO
[SSPT[oz0ep] SOOTAYWLO
SqtatTosaty Sw o0°000T NIDAWWAHIGS ON Sada ON -SOO0CAYW90
[SSATIEXET
butqoy ATTeotjowso]
uot aedtasuop hoon TOOOUOVN ON ON SaA
[squaby oTbrsutwedog
puy oTbzeuerzpy] SOOcHdW6c SOOCcNNLEC
uo TsueqodAH Bu o0°s HQATHYOTHOONGAH ANIMAS TILA ON ON SaA -GOOCHdY62 -GOOZCAVWPO dLO IO ZTOf0eoe
[sbnad
peqeley eutdezetpozueg]
zejpodtg Su 00°OT WHdTd10OZ ON ON ON
[Seqe22 TN otTuebsz0]
wot sue qzedéy 6w 007s ZLVULINIG HQIgHOSOsI ON On ON
[PAT IOSTSS
‘squeby Butyootd eq] HONILNOOD
wot sus qzedAH Bu oo's ALVaWWNA IOIONdOSIad ON ON ON -SOOZNYWLET
[sotade{tdetquy 28740] ANNTLNOO
aepodta Bu 0070s HNISIYLOWZI ON ON ON -SOOCNYITT
[S®eATIeATAEq PToy Aqqed]
azeptodtg Bw 00°0ST QdIOVW OIOddTVA ON ON ON
[sotade{tdetquy 28740] SOOCNYETT
aepodta Bu 00°Sz HNISIYLOWZI ON ON ON -SOOCNYLOT
[seutdezetyL
puy seutdezexo ‘sautdezetq] SOOZNYLOT
zejTodta Bw 00°00T HLVYWWAA ANIGVILHYNS ON ON ON -SOOCNYI60
[SSATIeXET
Bupqoy ATTeoT Jowso]
uot edtyAsuoeD n TODOYOVN ON ON ON
[seucwz0H ptozrAyL] HANTINOD
pTorzAyL Bn 00°0S WONIGOS SYNIXOWAHLOAYT ON ON ON -SOOCNYL8O ONISSIWN TTO&Ocod
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO €6€ Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771765
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 34 of 90 PagelD 85800

gcol

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

STITTOSATe [SSATICATASC Ptoy oTUOETdorg] SOOZAYWET
worty UTed Su 00°008 NadOudndI ON SaA ON -SOOCAYWOT
[SEPT TOLeW] SOOZAWNET
STITTOSsATY Sw o0°O0ST NIOAWNVZWaIdS ON SaA ON -SO0O0CAYWLO
[S®aTIeATASq eUuTdEzeTpozusg] SOOZAWNZZ
eseesTp azeTodtad Bu 00°42 WYdHZVanld ON DaA ON -SOO0TAYW90
[SWEOTXO] SOOCAYWET
SUTeISTW Bu 90°0z WYOTXOdId ON SHA SHA -SOOCAYWEO
[Seat eaTAeq euTdezetTpozuag] SOOTAYNSO
aseestp rzelTodta Bu o0°Lz WvddZVanTd ON SHA SHA -SOOCAYWEO
[squeby oTBzsutwedog
puy oTbreuerpy] soozcnnrez
uo TsueqodAH Su 00°ST HQTAYOTHOOUGAH HNIASKXTILH ON SaA SaA -Ssoocddvoe
[squesseizdeptquy 721740] SOOCAYNEO
aseestp rzeTodtg Bw 00°00T HCIYOTHOOUCAH HNOCGOZVHL ON ON SHA -SOOcHdTEZ
[seataeatszseq prow Aq eg] SoocINr és?
Todt@ bw oo°o00T dIOV SIOedTVA ON SHA SHA -SO0O0cadYLE
[SseutTdezeryL
puy seutdezexo ‘sautdezetq] SOOZAYNPO
jodta Sw oo0°osrt ELVYWNOA ANIGVILANS ON ON SaA -SO0O0TAdCVET
peposu [S8ptTtuy] SOOCAYWEO
se uted yseyp oo on TOWWLAOVavd ON ON SHA -SO0O0cedAY VT
[SeaTqexeyT
butaoy ATTeotqowso] SOOZAYWET
uot jedtysucp Tw 00°S? HSOINLOVI ON SaA SaA -SO00cedYTT
[seoueqsqns peqeTey puy
SSATIEATARQ PTOV OTIS0¥Y] SOoOocIONC EC SOOCNNLEC
pepesu se suTerz51W Bu o0°0s NIOVLHWOGNI ON SHA SHA -S00cadvSO -SOO0CAYNTO dLlO 10 ZTOeorog
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ¥6E abed

CONFIDENTIAL
AZSER12771766
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 35 of 90 PagelD 85801

9C9OT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[squessezdeptjuy 2830] SoozcInréz
Jepzostp deets Sw 00°o00T HAIMOTHOOUNGAH ANOGOZVHL ON ON ON -So0zINroOz
[squeby otbzsutwedog
puy oTbrsuezpy] SOOcINCES
uo TsueqodAH Bu 90°s ACIWOTHOOUGAH ANINASTILE ON SHA ON -SO0OZNNP6z
[(tFI dnozp)
sTqTaqze quej0€ ‘SptTorS 4s0DTII0D) SOOZNNE'ST
apToqeunsy IB 00°T BLYNOdHOV ENOIOSINGHYGIAHLEN ON SHA ON  -SOOZNNETO
[S®pTT Tuy] GOOZNNLEO
uted 6w 00°000T TOWWLHOVEWd ON SHA ON  -SOOZNNFTO
[SSATIPATASC suTdezetpozuedg] sooznnreo
eseestp azelTodtg Bu 00°Le WWd8ZVaNTI ON SHA ON -SOOZAWWEZ
[S@ptT Tuy] SOOZAYWTE
uteg 6w 00°000z TOWWLHOVAVd ON SHA ON -SOOTAYWOZ
[dnozp utzedey] SOOZNNL6T
statgetud Tw 09°0 WOISTWO NIWWdONdYN ON SHA ON -SOOZAYW6T
[sque6y Butztttqeas
stTsoquozyy AzeTT Tdep 7.0] SOOozNnrst
WoT qUSeAeTg Bu 00°09 NIOSH ON SHA ON  -SOOZAWWLT
[TOATQCTYUL SSeueqoeT-eyI9g
TOUL SUTTTTOTuSed FO sqwop]) SOOTAWNLZ
SqtItTosaTw bu 00°sz9z NITIIOIXOWY ON SHA ON  -SOOZAYWLT
[dnorzp utredey] SOOZAWNG6T
statqetud Tw oro WOIdOS NIWWa¥XONH ON SHA ON  -SOOZAYWLT
STAT [TOSATe [SSATIPATASC PToOy oTUOTdorg] SOOZAWNOZ
wozz uted 6w o0°00zT NHAIOWGNGI ON SHA ON  -SOOZAYWPT
[SSeaTIexeyT
uot edt y4suco butqoy ATTeotjowuso] sooziInr6z soozNnr6éz
pepesu sy oa TODONOVA «ON SHA ON  -SOOZAYWET - SOOZAYNTO dLS 10 ZTO£OLoe
NOILWOIGNI Hsod [NOIL¥VOISISSVIO NOILWOIGEW)] ca TO WOINd LWd dOLS HLvd dOLS LVd dOLS INSWLVAUL aaoo
WHHL OINENHD NOLLVOIGHW NSNVL NOILWOIGHN -HLVd LYWLS -HLVd LUVLS -HLVd LYWLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO G6e abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771767
LEOT

CONFIDENTIAL
AZSER12771768

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[st0qTqTYyUl exeqdney
UTUOJOASS SATIOSTES

epostde satsseidaq Bw 0070S ANITWULYaS ON ON SHA
[sotqoyoAsdtquy 28740] poocinreo
soueqinistp deets Su 00°OT HNIGVILOID ON ON SHA -POOcCNNLso
[SeATIeATIAeq pToy Aqqed]
Iepiostp zetodtq 6w 00°000z WONIdGOS ALYONdTYA ON Sada Sada
uotTsueqredAy [(UTPTd ‘SAOVTqQTYUL soy]
Tetewy Bu 00°F TITHdOUNIAHd ON Sada SHA
uoTqueAerd II [septuenbtg]
snqtTTew seqeqetq Sw 00°0Ssz NIWHOS LAW ON Sax SaA
uotsueqredAy [(UTBTd ‘SIOATGTYUL soy]
TeTsewy Bu 90°02 TIITHdONISITI ON SaA SaA
euntas
Te[Npoutyatnw [seuowz0H ptorzAyL]
prozAying 6n 00°00T HNTXOMNAHLOAST ON Sax SaA
uotsusqreddéy [UTeTd ‘septweucs{ns]
TeTewy Bu 00°07 HQIWaASOwnNA ON Sada SaA
[PAT IOSETSS
uoTsueqzaedAy, ‘squeby Butyootd eq]
TeTzsyiy Bu 00° 00T TOIONHYLY ON SaA SEA
AboToyqed [uTredsyH *- [Oxy sroq Iq TYyUl
Ze[NOseactpzeo uotqeberbby 4eTS3eTa] HONILNOD yOOTdESIO
uo TAWSAST Bu 00°00T CIOW DITAOITVSTIALYOY ON SaxA SHA -¢NN -PoocInréeod dLO IO TOOPOEOR
[sdwop wntseube_ ‘wntoTep
‘untutunTy sexe Tdwop/quop] SOOZORAOE
sTatbeydoseo TW 00°ST HaIXOYdAH WOISHNOVW ON SaxA SHA - GOOZCAONST
[sastucbequy 1204de0ey4- ZH] SOOCDHd0e
st a Tbeydosao DA OO O0E HNIGILINGY ON Sada Sada -GOOCAONTT
[SeATIeATASd ptoy Aaqeg] SOOcOHdOE
Zepiostp azeTodtq PW 00°000T QIOv OIOUdTYA ON Sada SaA -GO0O0ZAON8O
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZAONZZ SOOZAONOE
Jepiostp azertodta DW 00°00S ELVYWWAA ANIGVILHNO ON ON SHA -GOOZAONBO -GOOZAONEZ dL5S IO €TOLOLOe
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 96€ Obed
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8eOl

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[S203 TQTYUT
eT aseqjonpey eoD Buy]
weTote4se ToyoazsdAy Bu 00°0z WOIGOS NILWLSVAVHd SHA SHA SHA
[SAT W9eTesS
uotTsueqreddéy ‘squeby SutyooTa eqeg] SONILNOO vOOZOEaSO VOOZAONEZ
Tetzeqzy  =6u 00°00T TOIONELY SHA SHR Sak -MNQ -VOOZAONYZ -VPOOZDNVVO TWA / Wid £00P0E0R
[SSATIEATI8q autTdazetpozuag] SOOcNYW’90
Zeprzostp azertodtg Bu 00°c WWdSZVLEWHO1 ON ON ON  -TOOZOEAOT
[Ssuowz0y ptoxrAyL] SOOCNYL90
AptorAyjo0déy Bu 60°0 WOIdOS HNIXOMAHLOAST ON ON ON -VYOOZOEA8O
[sesuowz0H ptoxrAyL] VOOcoOeadL0
AptozAyq0dAyH Bu go°0 WOIdOS HNIXOMAHLOAST SHA SHA ON -VOOZaHS9T
[seucowz0H ptoxrAyL] vOOTdHSST
AptozAyq0dAH Bu go°o WNIdOS HNIXOMAHLOAST ON SHA ON -POOZDAYZT
[seuowz0H pTozAyL] POOCONVTIT
AptorzAyqo0déy Bu so°o WNIdOS HNIXOMAHLOAST ON SHA ON -vpooziInrez
[seutTdezertyuL
puy seutdezexg ‘soutdezetq]
Jepiostp azetodtq 6m 00°007 HLVUVWOA ANIGVILENO ON ON SHA
[SSaATIeAT Taq suTdaezetpozuag] POO?CIN’ST
Zeprzostp azeptodtg Bu 00°T WYWdaZvVaO1 ON ON SHA -poozinr9s0
epostda etueu [untyaty]) SOOZNYL90 FOO ZOEdL0 FOOZONATO
Jeprostp azetodta Sw oo o000T HLVNOGUYO WOIHLII SHA SHA SHA -poOcNNrL2 -vOOZDEdtO -POOtTINGYT IT / Wild Zo0vOEON

[sqoatqtyUul eyeqdney

uotsseizdep UTUOIOASS SATIOSTASS] vOoOCcINCé6T
TEpsosTtp Poop Bu 90°Sz HNITVaLadsS ON SHA ON -ZyoocInrort
[squessezdeptquy 781730] poociInr6o voocdds90
soueqinistp deets Su 00°00T HNOdOZVaL ON ON SHA -POOCNNLsO -yoozInréeo dLS 10 TOOrOeOe
NOITIVOICGNI gS0q [NOILVOIMISSVIO NOILYOICHWN] da IO wold aLvVa dOLs aL¥d dOLs aLVd dOLs LNEWLVaaL aqoo
WHaL OTHENHD NOILYOICESW NHMNVL NOILWOICHN -aLVd LAWLS -HLVd LavVLS -alvd Laws Loadrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO L6E Bbed

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AZSER12771769
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g9zxdoy

SP FET? LOOcCHYNZO

6f9OT

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

STsoquorzq snousa [dnozy utrzeday] POOZONALZ
FO WOT AUSACTG OW 00°07 WNIdGOS NIQVdVXONH ON DaA ON -VOOTAON6Z
[SPpTOTexTY wntdo TeznjeN] VOOZAON6Z
butonper uted DW OO°OE TOWWLHOVaYd ON SHA ON -VOOCAON6Z
[Sa04TqTYyUL sYHeQdnsey
UTUOIOASS SATIOSaTAasS] POOcCONTST
Zepiostp zejtodtg OW 00°OT WVadO1TVLIOSa ON ON SaA -Vooconvert
[seutdezertyL
puy seutdezexo ‘seutdezetq] VOO7TdHSTO
Iepiostp szejTodtg OW 00° 002 BLVYWWOA ANIGWILHNG ON SHA SHA -poocinrec
[sesucwZ0H pPtTorAyL] 900CdEH4ATO
AptosAyj0dAy ON 00° 00T WNIGOS HNIXOWAHLOAWIT SHA SHA Sada -pooc Ine st
[wntYyaAtT] 9007EHSSZ
Zepzostp aeltodt@ OW 00°000T HLVNOddvO WAIHLITI SaA SHA SaA -voocInNeat
(apostde [St0qTqTYyUL eyeqdney
eATSseidep) UTUOIOISS SATIOSTSS] vooconycet 9007TONY9T SoocadveT
Iepiostp szejTodtg DW 00°02 WVadOTVLISSa ON ON SHA -POOZNOPST -SOOZHUdVPT -POOZDNWsT IT / dLlO poorocog
(UOT IeOTpau [seutdezertyL
Apnis ou) puy seutdezexo ‘seutdezetq] POOTONCLO
Jepiostp rzetodtg Bu 00°00z2 BLVYWWOA ANIGVILENG ON ON ON -PO0coeaLO
[SSATIPATASC suTdezetpozueg] POOTONAEO
Iapiostp zeqodtg Bu 00°2 WYdHZVLHWHOT SHA ON ON -voocoudeo
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] POOZONYZO
Jaepiostp rzejTodtg 6w 00°00S ALVYWWNA ANIdVILHYNOS ON ON SHA -pyoocinrez
[seatjeatszeq ptoy Aqjeg] SOOCNYC YO yoocoadso VOOCAONET
Zepiostp zeTodtq Sw oo0°o00T (IOV OIOddTVA SHA SHA SHA -poozIonrzo -POOZAON?Z -POOZDNWPO TWA / W1d E00POE0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GITT FO g6e abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771770
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s97xdoy «GPF ET? LOOZHYNZO

Orol

ses’ ooTpew

AST 600TZOZTI/FT3/andano /ds/97T00°L FFT P/Tenborzes /pord/aiso/

[S®aATIeATASG eUTdezeTpozueg] Soozda4co
uote AT by Bu og°z WYdHZVaOl ON ON ON -SOO0cHHACO
[uNtyatT] SOOTHYNTO
Zepiostp zeTodtq Sw on°oSZt HLVNOdavVO WOTHLIT SHA SHA SHA -Pooconvgac
[seutdezetyL
puy seutdezexo ‘sautdazetq] POOZTONYVOE
Zepiostp zejtodtg Bu 00°00€ ELVYWWOA ANIGVILHNG ON ON SaA -Voocddvto
[Seat eaATAzaq seutdezetpozuag] HONTINOS S00cdd4 20 SOOCNYLOZ
soueqinistp deets Bu 90°2 WYdHZVLHWHOT SHA SAA SoA -MNN -SOOZNWPTZ -poozpNYTEe IT / dLO soovoeog
[sesucwZ0H pPtTorAyL] 900cdHSS7
AptosAyj0dAy ON 00° OST WONIGOS HNIXOWAHLOAWI SHA ON ON -900CEH4ATO
[SeatstTndord] SOOZTLDOLZ
eosnen n° na HNOCIYHdWOd SHA ON ON -S00¢LOOLT
(unzqoedg
pepuseqxXy_ YITIM SUTTTTOTUEd]) S007LOOcO
NTH OW 00° 00ST NITIIOIXOWNZ SHA ON ON -SO0O0CdHSES
[SOTqA TOON] SOOZdHSOE
NTA n° na HNISAT ANIHLSIOOdavO SHA ON ON -SO00cdHS0T
[QUeWIeeAL TRIO TeoOT 1204
sotadestjuy/satqoeyuttyuy] SOO0¢cdHSce
OTA oo on HQITYOTHS WAINOXOZNHA SHA ON ON -S00¢dHS5L0
[suo tqjerederzg
PTIOD puy ybnod] SOOZdHSTT
NTA n° Q suotjzezedezg plop puy ybnoD SHA ON ON -S00¢dHS540
[sdwop wntseube_. ‘wntoTeD
‘untutunyTy sexe Tdwop/quod] 900CdHS5SC 900cCONY9T Soocddvet
esyoe YOewo rs OW 1 HQTXONdAH WOISHNOVWN SHA SHA ON -SOOZH4V80 -SOOZHdVPT -POOZDNWaT IT / dlO Ppoororod
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 66€ 9abed

SUOTIEO TPA

6-OT' 2°27 Sutasty

CONFIDENTIAL
AZSER12771771
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 40 of 90 PagelD 85806

s97xdoy «GPF ET? LOOZHYNZO

Ip9ol

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

(wntyatT] VOOZLO090
Tepiostp aejTodtq OW 00°00S SLVNO@YYO WAIHLIIT ON ON SHA -%00Z10090
uotqoung [seuowz0H PTOTAYL]) SOOTIONLET
prozAyqodéy 2a 00°SL WOIGOS SNIXOWAHLOAW1 SHA SHA SHA -700ZLOOSO
[wntyatT] yOOZLOOSO
Zepiostp zeqTodtqd ow 00°05L HLVNOGUYO WOIHLII oN ON SHA -7OO7TLOOSO
[wntyatT] YOOZLOIOVO
Tepiostp zeTodta OW 00°0SZT SLWNO@aYO WOIHLIT ON ON SHR -vO0ZEHSOT
[seatqeatszeq prow Aq3e,] SOOCaHHA TS
Zepiostp 2eTodtd SOW 00°O0ST WOIGOS HLVOUdIVA ON SHA SHA -vO0cdHSLO
[squesseideptquy 219430) VOOCLOOFT SOOcNOAPET SOOcHdWET
uotsseadeq DW 00°SL HQTYOTHOOUCAH HNIXVAVINHYA ON SaA ON -BOOZLOOZT -SOOZHdYFT -FOOZLOOSO TWA / dLO LOOPOEON
[sastuobequy 20 de0ey- 7H] SOOZHWNIT
xT Fea n°’ a HQIYOTHOONGAH ANIGILINVA SHA SHA ON - VOOCAONTO
[SPTO18qS09TI109] GOOTAYWTT
UoOTIONAISGO TeSeNn n° na HIVNOIdOdd HNOSWOILNIA SHA SHA SHA -vO0cdHSLO
Adoodsoiyseb [SSATIPATASqQ suTdezetpozueg] POOCEHSEO
erojeq uot Iepses DW 00°S WYdazZvadol ON ON Sada -vOO0cdHSEO
[uNtyat SOOZMWNTT
Zepzostp aeltodta@ OW 00°000T HLVNOddvO WAIHLIT SaA SHA SaA -voo¢cdss2o0
[seutdezertyL
puy seutdezexg ‘seutdezeta] VOOTLOOVO S0O0cdHA60 SO0cdHA80
Iepiostp szejTodtg DW 00° 007 BLVYWWOA ANIGVILENG ON ON SHA -POOTDNYLZ -SOOZaHA60 -POOZLDOSO IT / W1d 90070E0R
[PAT IOSeTaS
‘squeby Butypota e3eg] SOOCAYWYO SO0O0cdHAcO SOOCNYLOC
uot sueqzsedAH Bu os-z HLVEVWNA IOIONdOsIad ON ON ON -SOOZGHAZT -SOOZNWPTZ -POOZDNWTE IT / dlO soororcog
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTTT JO 00% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771772
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 41 of 90 PagelD 85807

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

crol

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[squeby
uot suaqredAy Hutyootd ersq puy eudty] SOOZNOLPZ
UOT AUSAStg DA OS" cle TIOTIGHAWVO SHA SHA ON -SO0O0cHdYBC
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZNYLEZ
Iapiostp azeTodtg OW 00° 009 BLVYWWOA ANIGVILENSG ON ON SHA -SOOCNYO YT
(uTzedeyH *-[OXy SAO QIQTYyUrT
yoerqeqresy uot eberbby 427TS3eT a] SOOZNOALHZ
UoT 4USASTd DA 00° O9T (IOV OLDIAOITIVSTIALHOY SHA SHA SoA -SOOCNYLET
[PATIAOSETES
soe qIeqsesy ‘squeby Butypota e39q]) SOOCNNP YS?
uot AvSASt DW 00°S HLVEVWNA IOIONdOsSId SYA SHA Sada -SOOCNYI' CT
[SeATIeATASd ptoy Aaqeg] SOOCNNLC PS
Zeprzostp aeltodt@ OW 00°00ST QIOV OIOUdTVA SHA SHA SaA -voocoudic
uot younzsAp [seuouz0H PTorAYL] HONTINOS SOOCAYNSZ SOOCAYWLT
pToszAyL ON 00°SL WNIGOS HNIXOWAHLOAWI SHA SHA SaA -MNN -SOOZAYN8T -SOOZNYCPT TWA / W1d 80070E0R
[seaTqeaAtseq ptoy Aqqeg] SOOZIONCET
Iaepiostp rejTodtq@ Ow 00°000z WNIdGOS HLVOedTVA SHA SHA ON -SO0O0ceHASS
[SSATIPATASqC suTdezetpozuedg] SOOZINCET
Teprostp azetodtg OW 00°? WYdHZVLHWHOT SHA SHA ON -SO00cdaHArC
[squessaadseptquy 291730] POOTONABT
uotsseadeq OW 00°SL HQTHOTHOOUCAH ANIXVAVINHA ON SaA ON -vOOcONABT
[squesseizdeptquy 721740] POOCOeaLT
uot sssideq DAW 00° OST ACIXOTHOOUCAH ANIXWAVINEA ON SHA ON -YOO?ZLOOST
(wntyat Tt) VOOTLOOLO SOOcCNOCET SoocadveT
Iepiostp szejTodtg DW 00° O52 HLIVNOddvo WAIHLIT ON ON SHA -POOZLOOLO -SOOZHdVPT -PO0ZLID080 TWA / dLO LOOPOLOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GITT JO Tor abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771773
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s97xdoy «GPF ET? LOOZHYNZO

erol

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[seutTdezeryL
puy seutdezexg ‘seutdsezetq] SOOZHAVPT
Jepiostp zeyTodta DW 00°00Z2 SLVaVWAA ANIGVILENO ON ON SHA -SOOTANNTZ
(UTeTd ‘xeTdwop-q uTwejAta] SOOCAWWLG
seqeqeta n°’ a HATSOTHOONGAH HNTXOCTHAG ON SaA SEA -SOOCAWNTT
[seatqeatszeq prow Aq3e,] SOOCAVNILT
Iapzostp zeTodTad SW 00° 00ST WOIGOS HLVONdIVYA ON SaA SaA -SOOCAWNLO
[septuenbtg] AONTINOO SOO7cHdWLZ
seqeqetd OW 00°00LT NIWHO4LHN ON SaA SEA -yINO -SOOCHdVST dLS IO 0TOvOEON
[seatqeatszeq prow Aqje4] sOOcadv ce
Jepizostp zejTodta Sw 00°0Szt WONIGOS HLVONdTVA ON SaA ON -SOOTAWNTZ
[seatqeatszeq prow Aqjeg] SOOCAVNITC
Jepizostp zejTodta bw oo oer WOIGOS HLVONdIVA ON SaA ON -SOOCAWNTT
[seaTqeatzeq proy Aqjeg]) SOOZHWWOT
Tepiostp zeqTodtq 6u 00°00ST WOIGOS HLVONdIVA ON SaA ON -SOOCAWNOT
[seatqeatieq prow Aqqeg] SOOCTHYN60
Zepiostp azetodtq 6w 00°o0rt WOIGOS ALVOUdTIV¥A ON SaA ON -SO0O0cAWNGO
[seatqeatizeq prow Aq jeg] SOOZHYN80
Jeprostp azetodtg 6u 00°006 WNIGOS ALVONdIVA ON SaA ON -SOOTAVNVO
[seatqeatszeq prow Aqje,] SOOCcUVNIEO
Tepzostp zeTodtg 6u 007009 WOIGOS ALVOddIVA ON ON SHA -SO0O0cHYNZO
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOCHWNEO
Teprostp azetodtg Bu 00° 0ST SLVUVWAA SNIGVILANO ON ON SHA -S00¢dHA9z
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOcaHAST SOOCHWNWET
Tepzostp reTodta Bu 00°002 HLIVavVWAA ANTAVILYNO ON ON SEA -SOOCAEAOT -SOOZAWNTO dL IO 6007008
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL adoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 20% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771774
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vrol
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOZAYWWIT
Iepiostq szetodtg 5a 00°009 ELVYWWOA ANIGVILENO ON ON SaA -SOOCAYNST
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZAYNGT
Zepiostq szetodtg BW 00°00L HLVYWWAA ANIGVILHNG ON ON SaA -GOOCAYNGT
[seatqeatszeq prow Aqje,] 9007TAVNIGO
Zepiostq azetodtq Sw 00°000T WNIGOS ALYOUdTVA ON SaA SaA -SOOCTAYWET
[seutdezetyL
puy seutdezexg ‘seutdezetaq] SOOZAVWET
Jepiostqd azetodtg BW 00°008 ELVYWWNA ANIdVILaNS ON ON Sada -SOOCAYWET
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOZAYWWNZT
Iepiostq szetodtg 5a 00°009 ELVYWWOA ANIGVILENO ON ON SaA -GOOCAYWEO
[seatqeatszeq prow Aqjeg] SOOCAVNCT
Jeprzostd azertodta BA 00°009 WONIdGOS ALYOUdTYA ON ON SHA -GOOCHdT6 2
[SeatsTndorg] 9007UWN60
uted oT138ep n° na HNOCTYHdWNOd ON Sada Sada -SOO0CHdYLO
[squesserzdeptauy 7820] SOOCAWNCT
uotsseadeq BHA 00°0E ANIGYZVLYIW ON ON SaA -gd0cudvsO
[SeaTqeATAeq suTdazetpozuag] 9007UYN60
Zepzostp deserts Bw 00°77 WYd4aZVLEWaHOT ON Sada SaA -GOOCTAWWLT
[Sa0qTQTYyUL exHeqdnsy
UTUOIOASS BSATIVESTIS] SOOCAWWET
uotsseadeq BA 00°02 WVadO1vLID ON Sada Sada -GOOCAYN9T
[Seat eatieq seutdezetpozusg] SOOCAYW8T 900cdH4L0
AqeTxXuy BA 00°ST WYdazZvud ON Sada SaA -SO00CUYN9T -GOO0CAYWLT dLO IO TTOr0ecoOn
[SepTtTtuy] SOOCAVNLE SOOTHdVLE
uted n° TOWZLHOVagd ON Sax SHA -GOOCAWNSZ -GOO0ZHdVST dL5 IO OTOPOEOe
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO €0% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771775
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SP9l

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seutdezetyL
puy seutdezexg ‘seutdezetaq] SOO07ZdHSLZ
Tepzostp zejTodtg DW 00° 007% HLVYVWnd ANIGVILANS ON ON SaA -SOO0zdHS60
[squesserzdeptauy 780] SOOCLOOLE
Teprostp azetodtg DW 00°SL HAIYOTHOOUCAH HNIXVAVINHA ON SaA SHA -S00¢d4asS80
[seatqeatszeq prow Aqje,] 9007HdTL0
Jepzostp azetodta SW 00° 000T WOIGOS HLVONdIVA SHA SHA SaA -SOO07TONWET
[uteT@ ‘SazoqTqTyUr soy] 200caddzL0
wot sueqr1edéy DW 00°2 TIMdOGNTIYHd SHA SHA SHA -soozonvsz
[PATIOSETSS
‘squeby butyoota eed] 9007HdYLO
wot sueqredéy DW OS" TOIONdOSIG SHA SHA SHA -SOOcONVST
[uteTd ‘xeTdwop-g uTweIATA] SOO07ZLO09Z
To oey OTSUTAAXY no 0a HCIMOTHOONGAH HNIXOCIMAd ON SaA SHA -SO00cOnWTT
[uTzedeH * [Oxy SrOQTGQTYUL
uot ecTpelw uotqeberbby 4eT=9eTd]) HONTLNOOS 9007aYN80 9007GH407
Hutuuty pooTg, DW 00° O9T CIOV OLTADITVSIALHOY SHA SHA SaA -MNN -900Z484T2 -So0zdHSSz TWA / Wid ZIOPOEOR
[SeaATIeATANGq euTdEzZzeTpozueg] SOOZAONLO
AqeTxXUYy Bw oo°Ss WYddzvad ON SaA ON -S007LOOZT
[squesseizdeptquy 7°70] SOOZAONLO
Jepiostp deets n° A HCIYOTHOOUCAH HNOCGOZVHL ON Sada ON -GSOO7dHSZT
[szoqtqtyur dung uo 4014] SOOCNIl60
sTqTBejosao BW 00°0F WhIdOS HIOZVadOLNYd ON Sada ON -soocnnrzo
[St04TqQTYUI SyYyeqdney
UTUOIOISS SATIOSTES] 900Z2UYN60
wot sseideq BW 00°OT WVWadOTVLIOSH ON SaA ON -SOOCAWNOZ
[SeaTzeatseq seutTdezetpozusg] SOOZ.LOOTT 9007caH4L0
Aqetxuy Bw 00°0T WYdHZvVuad ON Sada ON - SOOZAWNG6T -SOOZAWWLT dLO IO TTOPOeCOE
NOILVOICNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd aLvd dOLs HLvd dos aLvV¢d dOLS LINSWLVauL adoo
WHEL OI1WESNHD NOILYOICGEN NHNWL NOILVOICGHN -HL1Vd LYVLS -aLVd LYVLS -alvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTITT JO 70% Obed

CONFIDENTIAL
AZSER12771776
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9P9OT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeq ptow Aqjeg]
Zeprzostp aetodt@ 6wu 00°00ST WOIdOS HLVOUdTVA SHA SHA SaA
[SepTtT tu] 900CTINE TS?
uted yorg n° na TOWWLHOVEYd SHA SHA SaA -S00cL00S2
Teoues jAseerq [sueboz3sq-tquy]
FO FUowAeety ASO Bu 90°02 HLiValIO NAATXOWNVL SoA SHA SaA
[seqeucyudsoudst g]
etmesTeoredAq Bu n WOIGOS SLYNOMGHSIY SHA SHA SHA
sno[Tn yoewo4s [sastuobequy 1r0qde.ey- zy]
UOT USAGI Bu 00°00€ HNIGILINGY SHA SHA SHA
[sbnaq 28430
UIIM SUOTIPUTqUOD ‘WNTOTeD] HOANTINOO 900ZNNTZ 900cCNNIPT
stTsotodoaiso 5 o0°T HLYVNOddvO WAIDTYD SHA SHA Sada -MNN -900ZNOrST -SOOZAONST TWA / W1d FTOPOEOR
[seatqeatszeq prow Aqje4] SOO0cOACST
Zepiostp zeTodtq Sw on°o0sT qdIOV O1OedTVA ON SHA SHA -SO00cdHSOE
[uteTd ‘xeTdwop-gq uTweIATA] sOO0cONaST
STsozodos1so n° an NIWVIVAOD0NYAD ON SHA SHA -So00conygac
(UTe Td ‘septweuozt{ns] SOO0cOeaCST
eBuseps STHuW Bu 00°0r HCIWHSOUNA ON SaA Sada -SoOoconysT
[SSATIPATISq UeANJFOAITN] SOOCLOOLT
uotzoeFutT AreutTagn Bu 00°007 NIOLNVUNAOCULIN ON ON SaA -S00¢L00¢cT
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZLOOLT
Jepiostp zeTtodta Bu 00°008 BLVYWWOA ANIGVILENG ON ON SHA -S00CLS00T
[Sept Ttuy]
stTsozodoajso n° an TOWZLHOVavd ON Sada Sada
[sbnaq 2830
Ss Tsoztodosi1so YAM suoTIeUTquoD “‘WNToTeD] 4HONTLNOS SOOCAONST
UOT AUSAStg n° na TOUSATIOTIWOXIOD ON SaA SaA ANA -S00cLS04LT dlS IO €TOrocod
SousuTtTqAUuoout [sotpousedstjuy Azeutizg]) 900cTAdYLO 900 CUYN80 900CHHAOT
Azeutan DW O00°ST NINALNGAXO SHA SHA ON -SOOZLOOVO -900ZGEH4TZ -SO00ZdHS8Z TWA / W1d ZIOPOEOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GITT JO SOP abe

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771777
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LYol

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[eouspuedeq
SUTIOOIN UT pesn s6n2aq] HANTINOO
sesnqe suTqIOoOTN PA 00°02 HATYOTHDOUGAH NOITdOwdnNd ON ON ON -SO00cOHd6T
[seutTdezertyuL
puy seutdezexo ‘seutdezetq] SOO0CNYLET
Iepiostp szeTodtg OW 00° 00S BLVAVNNA ANTIGVILANO ON ON ON -900CNYCET
et [STOATATYUL
weTorey4ss ToyaredAy asejonpay ero Buy
JO UOTIAUSAST DA 00°02 NILVISVAWIS ON ON SaA
[SOATIPATASQ UTOJZUepAY]
Asdettdg OW 00°002 WOIGOS NIOLANSH4 ON ON SHA
eseoestp AreucwtTnd [seseestq Aematy 23SqD 104
eATIONAIASGO sbniq 29u 0/soTbreueazpy]
oTUOrYO n° na aLVYNOIdOdd ANOSVOILNTA ON ON SaA
[S8PTZeTYUL PUY ‘eATIOSTSS
uotTsuseqiedéAy, ‘squeby Butyoortg eqeqg]
JO UOTIAUSAST noon HLVEvVWOA IOIOUdOsIad ON ON SaA
(uTzedsH * [OXY STOVTQTYUI
uoTqueaerzd uot ebeszbby 4eTS4eTa] AONILNOO
ITETNOSPAOTPIe) DW 00°08 CIOW OITAOLIIVSTIALYOY ON ON SHA --aINN ONISSIWN STOPOcOd
SATIOSTES-UON
‘squeby butyootg eqeg]) 9007INLTZ
fouer, TeTIuessy Su 00°07 HQTYOTHOONCAH 'IOTIONVYdOud SHA SHA ON -900CNNLC YT
s309448 epts [seutwy Azetqzeq] 9007INLTZ
TepTwet PAAXH Bu a NHQITYHdIad SHA SHA ON -900CAYN60
sqyoejje septs [seutwy AzetyzeL] 9007THYN8O
TeptwerdAd e1r4xg Bu 00°2 NHQTHHdIad ON Sada ON -SO00cOHCET
309478 epts [seutwy AzetqAzeL] SOOZONCZT
TepTwesz CAAA Bu 00°T NHQITWHdIad ON SaA SaA -SO0O0CAONST
[seutdezertyL
puy seutdezexg ‘seutdezeta] SOOCAONLT 900CNOCTC 900TNOALTT
Iepiostp szejTodtg Bu 00°0Sr ELVaVWOdA ANIGVILENO ON ON SHA -SOOZAONZO -900ZNOPST -SOOZAON8T TWA / W1d PIOPOLOR
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL ddoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GITT FO 90% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771778
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s97xdoy «GPF ET? LOOZHYNZO

[squeby butzt[tqeas

8P9l

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

ewsepso Are, Ttdep reyI0]
s6eyT 10T1ejul DW 00°07 NIOSH ON Sax SaA
uotsueqzedéy [UTeTd ‘SroTqTYUI Soy] AANILNOD SGOO0ZAONBT
TeTewy OW 00°07 TIMdVIVNH ON SaA SaA ->aINN -S007TadYSO dLS IO TO0SOE0R
[seutdezeryy
puy seutdezexo ‘seutdezetq] 900ZDNYOE
Zepiostp azetodtg DA 00° 007 HLVYWWNA ANIdVILHYNS ON ON ON -9007cONTSO0
statzque [Sz04TqTYyUL dumg uojo74g]
x STi Tbeydosseo DW 00°07 WNIGOS HIOZVAdOINVd SHA SHA ON
statazque [seatstTndord] 900ZDNYOE
zy sti Tbeydosaq OW OOO HNOCIHHaGNOd SHA SHA ON -9007TAVNZ
[S®aATIeATAEGq SsUTdezeTpozuEg] 9007HWNEO
Jeprzostp azertodtg DA SZ°T WYd4ZVaHOT ON Sax SaA -900cEH4A 70
[seatqeatszeq prow Aqjeg] 900cONWOer
Jepiostp azeTodtd DW 00°000T IOV OIOddTVA SHA SHA SHA -900CEH4ATO
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] 9007GHAEZ
Zepiostp azetodtg DA 00°S HLVYWWNA ANIGVILHYNS ON ON SaA -900CdHA8T
[eadey
STuzoyTjedirey JO quewqeszl 20g s6n1q] SONTLINOD 9007TINITE 900cTOrSZ
SsTaTqeutzed n° HNOSdvd SYA Sada Sada -MNQ -900ZTInNr9Z -9007GH4~2 TWA / dL5 910P0E0R
[seutdezertyL
puy seutdezexg ‘seutdezetq] HONTLNOS
Iepiostp rzetodtg DA 00° 007 ELVaWWNA ANIdVILANS ON ON ON -900CNYO FT
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] 900ZNYLZT
Tepzostp reTodtg OW 00° 007 SLVUVNNA ANIGVILANO ON ON ON -9007NWC60
[seatqeatszeq prow Aqje,] HONTLNOS
Jeprostp aetodt@ SW 00°000T WONIdGOS ALVYOUdTYA ON ON ON -900ZNYC90 ONISSIW STOPOCOd
NOT LYWO TANI gs0dq [NOILVOISISSVIO NOILYOICIN]) ca TO dwoldd aLvd dOLs aivd dos aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO LO® Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771779
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6rol

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[S@ATIPAT IEG
puy SptoTexty wntdo] SOOcHdYVe
sTatTycuerg n° HLIVHASOHd ANIHCOD ON Sax ON -SOOcHdYBT
[sotqAToony] SOOZAYWTO
STATyouer, DOA 00° 007 HNTIELSAOTALYOY ON Sada ON -GOOCHdYTT
[seseestq AemaAtTY ZISqO 104g
sbnaiq teyq.o0/sotTbrsueszpy] SOO7ZHAVTZ
STITyouorg n° HCIWONXONCGAH 'IOMHLONEA ON SaA ON -SOOTAdYTT
[ZORTATYUT Ssseweqoey T-eqeg
TOU SUTT[TAOTUsSd JO sqwoD] SOOCHdYLT
statTysuertg DW 00°00ST NITIIOIXONG ON Sada ON -SOO0CHdYTT
@ statqedey [seuqtooeA statqedey] SOOcHdTPO
uoTAWSAeT On 00°02 ANIOOVA @ SILILVdHH ON ON SaA -GOO0cadYYO
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO07THdYTO
slepiostp rzeTodta DA 00° 007 HLVaWWNA ANIGVILENS ON ON SHA -GOOCAYN8 2
uot sueqrsdAy [UTeTd ‘septweuojztns] GOOZORA8T
Tete wy DW 00°02 HqIWasowndA ON Sada Sada -SOOCHYNLT
zZoqestTtqeas [SeaTqeatseq ptow Aqqed] GOOZAYWN6O
§ , 7Ouny 2 OO°T QIOv OIOUdTYA ON Sada SaA -S00cUYNSO
[s6n1d
peqetea esutdezetpozueg] SOO07ONA8BT
eTUMOSUT DA GLE HNOTITAOZ ON SaxA SHA -GOO0cCEHHABS
[seqeucyudsoudstg] SOOZONCBT
stsor0doe iso DW 00°OT WNIGOS ALYNOMCNYTY ON Sada Sada -POOcONdE?
[St04TqQTYUI SyYyeqdney
UTUOJIOISS SATIOSTIS] soozonvsz
wot sseideq DW OOO HCTSOTHOONCGAH HNILEXOUvd ON SaA ON -SO00cONYCT
[seuowz0H pTozAyL] AANILNOD S00 ZAONST
wstptTorAyj0dAyH ON 00°SL HNIXOMYAHLOAST ON Sax SHA --INN -GO00cadVSo0 di5S IO TOOSOf0e
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 80% Obed

CONFIDENTIAL
AZSER12771780
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OSOT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeaTIeATIeqd prow Aqqeg]
TOVeSSTTTGe Ss AOWNH OW 00°00S5 dIOW OLOddTVA ON ON SaA
[SeutTdezeryy
puy seutdezexg ‘seutdsezetq] SGOOZMAVLT
TOFESTTTGeIs AOWNH OW 00° 002 ELVaWNod ANIGVILANG oN ON SaA -SOO07cTaAdTIN
[Sut qoy-eqetpewrzequr
‘senboTeuy puy SUT [NsUT]
seqjeqetad M 00°SZ NYHdOSI_‘NOILOHCNI NIINSNI SHA SHA SHA
[Sut qoy-sqetpewrzequr
‘senbo[euy Puy SUT [NSsuT]
HNVHd 900cCaAdTTO
seqeqeta MN 00°ZT OSI ‘'NOITLOSSNI NYWNH NITNSNI SHA SHA SHA -SOOcHWNET
uotTsueqzseday, [UTeTd ‘septweucz [ns] SOOZLOOOT
TeTszsity DW 05°C HCINVdVYANI SHA SHA SHA -SOOcCHWNET
[SSATIeATISq UWeANJOTITIN]
statasép DW 00° 002 NIOLNVANAOULIN SHA ON ON
[Sptow otuebio] 9007EHA8Z
statasAp D O00°T CIOW DIGHOOSY SHA ON ON -900CEHATZ
[s6naq
peqetey sutdezetpozusg]
eTuMosut DA 00° OT WHOIdIOZ SHA SHA SHA
BATIOSTSS-uoN
uotTsuseqzadAy ‘squeby butyootd eqeqg]
Tete qy DW 00°08 HQTHYOTHSOUCAH 'IOIONVaAdOud SHA SHA SHA
[UTTedsyH * [Oxy STOQIGQTYUL
uoTqueaezd uot ebeszbby .eTSEq1eTa]
s;soquoizyd ofSeyaw DW OO°SGL HLIVHAINS THADOGIdOID SHA SHA SHA
[SSEATIPATIEg
uot susqzedAy eutprTtAdorpAut dg) HONILNOD 900ZNNfS% SOOZHNWIT
TeTzsqty DW 00°S GLVIISHd ANIGIGOINY SHA SHA SHA -MNQ -SOOZDNVZT -SOO0ZHdV6T TWA / WId zo0Ssofoe
ZojestTtqeqs [seataeatzeq ptoy Aqqeg] gOOzOnaBT
s,fOunH DOW O00°O0ST dIOV OLOedTVA ON SHA ON -SOOCAYWOT
[sotadestquy] SOOcadW6z SOOTAON8T
sSTItycuorg n° an SCINWVLAOVATINS ON SHA ON -SOOcHdYSZ -SO00cudvS0 dL5 I0 TOOSOf0H
NOITLYOICNI HS50da [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GITT FO 60% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771781
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CONFIDENTIAL
AZSER12771782

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seseestq AemMATY 2ZISqoO 10g

Aep/sygnd sbniq teu 0/soTbrsueazpy] 900zInrsz
yBnop én HCIWONAOUCAH 'IOMHLONEA SHA ON ON -900TAdVEO
[Sut qoy-eqetpewrzequr
‘senboTeuy puy SUTTNSUT]
ANVHd
sejegqetda  00°% OSI ‘’NOILOELNI NYWNH NIINSNI SHA ON ON
[q0¥-aseg* quop
butqoy-pewzequy
‘senbo[euy/Sut [Insult] 900cTNPS?
sejeqetd N 00°02 NYWOH NITINSNI SHA ON ON -9007HdYZO
[STOIETTPOsen
Aouetotsgnsut Teszsydtzeq 28430] 9oocioarse
TeTTeye OTUOAYO DA 00°009 TIGHWOTANA SAA ON ON -9007HdYTO
[SSATIPATASG TOUT
ut idoyrewtaz4L/septweuojz[tns
JO qwod]
statasAp DW 00° 007 WIOZVXOHLEWWAINS SHA ON ON
[SPATIPATIEqQ STOZeEpTWT]
stsooAu Teutbep, n° HIOZYNOOIWN SaA ON ON
[S@aATAexeT
Butqoy ATT eotjowso] 9007NdV9T
wot qedtqasuop na TODOUOWN SHA ON ON - 9007AWNEZ
[SSATIPATASQ UBANTOIITINY] SO00TAYNTT
sqtataséD DW 00° 00T NIOLNVANAOULIN SHA ON ON - 9007CAYNTO
[SeATIeATASq ptoy Aqqeg] 900c INS
ato qestTTqeis sz0unH SW 00° OO0ST QIOW OIOddTVA SHA Sada ON -GOOCAYWOT
[seaTIeatieq prow Aqqea] GOOZAYNGO
to zestTTqeis azcwny 5 oo°t QIOv OIOUdTYA ON Sada SaA ~GOO0cuadY8T
[seutdezertyL
puy seutdezexg ‘seutdezeta] SOOcHdY8T 9O0O0cCNOLPSC SOO0cONVTT
To WesTTTqeis 7zOwnH DW 00° 007 ELVYWWAA ANIGVILHNO ON ON SHA -GOOZHdY8T -SOOZDNYZT -SOOZHdW6T TWA / W1d zo00SOf0a
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO OT% abed
cool

CONFIDENTIAL
AZSER12771783

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[squesserzdeptqauy 7820] SOOCAWNSZ
uotssezdaq DA OO OE ONIdVZVLYIWN ON SHA SHA -SOO0CHWN9Z
(wn tToTeD] 9007HWW90
us 7p tozAyqeaedodAyq D OO0°E ALVNOGHWO WOIDTYD SHA SHA SHA -SOOCHYWTZ
AQUSTOTFINSUT (untssejog] SOOzDNYLO
Teusa 2 00°7 HCIAYOTHS WNISSVLOd ON SaA SaA -SOOTAYWNTZ
[sesuowz0H ptoxrAyL] soocInree
ustptorAy odAy Dn 00°05 ANTXOMAHLOATT ON SHA SHA -GOOTHWWTZ
[sotqoyoAsdtquy 28740]
eTuwosut DWM 00°08 TIAGNHdIHLOWd ON Saaz SHA
[SSATIEAT IEG suTdezetpozueg] SOOCNNCST
SATIEPSS OW 00° OT Wwd4ZvaoOT ON Sada SHA -SOOCHWNTZ
[SSATIeEAT AEG SUSTAUPXOTYL] SOOTAYWWISO
uotqueAerd oTUeW DW OS'°L TIOXIHINSdOTIDSNZ ON SHA SHA -SOOCHWNTZ
[S®ATIVATA9G sUTdEzeTpozuSEg] SOO7THdY9T
eTuMosut DW 00°C WYd4ZVLAWHOT ON ON SHA -ANOA
(UTeTd ‘sotjewtwoyuqedudAs]
PTCs ToWWoOD n° na HQdITHOTHOOUCAH SANITIOZYWWUL SaA ON ON
Gg que toacedxa puy
squesseiddng yBnop zeTI0] GSOOZLOOGZ
ybnop noon LOVaALXH SIAVOINA SOWAHL SHA ON ON -SO007LO007
AQUSTOTFINSUT [SUOTIANTOS 3aTes
Teusa 2D 00°77 HLYNOddvoOld WAIdCOS SHA SHA SHA
eT
weqeydsoudzedAy /eTweTeyzediy
JO 2ee2L 10g sbnaq] SONILINOD 900CNNAI Ce? SO0cLSO0¢cT
stetTedAq Do 08°F HQIHOTHOOUCGAH WHNVIHASS SHA SHA SHA -MINQ -SOOZLOOET -S00ZHdVTZ TWA / GLO €00SG0C0R
[seat eATAeq SsuousydozAyjng] 900cTOArSZ 900CNNArSc SOO0cOnYTT
epostda oTuewW DW O07 EF HLIVONYOEdC TIOCIYXdO1TVH ON ON ON -900ZNONP9Z -SOOZDNYZT -SOOZHaY6T TWA / Wild zoo0cOof0Og
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO T1T® abed
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 52 of 90 PagelD 85818

esol

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SSATIeATAag suStAUeXoTYL]) g00cInr7z
qusAS OTUEW DA 00°? TIOXTHLINSdOTIONZ SHA ON ON -900cCNNI CS?
(WNTOTeD] 900cTNI CZ
ws 7ptorAyqesredodéAy D 00°F SLIVNOGHWO WOIDTYD SHA ON ON -90074WNLO
[SWEDTXO] Ssoozonwt2
suted zequnt 3yeT OW 00°S WYOIXKOWId ON SaA ON -S00coNYIT
[S@pTT Tuy]
suted zequny 4ye1 2 00°T TOWWLAOVEvd ON DaA ON
[seoueisqns peqeTey puy
SOATIPATI9G PTOY OTIe0V] sooconwod
suted zequnt 43271 DW OO°OE OVNHAOTISTA ON SHA ON -SOO0cONV9T
[seucowz0H ptoxrAyL] 900c IN’?
ws TtptorAy odAH ON 00° 00T HNIXOWAHLOAXI SHA SHA ON -soociInre?
[S®ATIVATA9G sUTdEzeTpozuSEg] 900zcTIONrzz
eTuMosut DOW 00°? WYdaZVaOl SHA SHA ON -soocinrod
[S®aATIwATA9G sUTdEzeTpozuseg] soocinréet
SATIEpPSS DW S2°9 WYdHZvaol ON SaA ON -SOOcNNC9ST
[seaTjeatizsq ptoy Aqjeg] 900cINl ee
toztyTTgqe4s szcunH OW 00° 00ST QIOVW OIOUdITVA SHA SHA ON -SOOTAWNOT
[s6n2q
peqeley sutdezetpozueg] 9007 InNrZz
eTumosut DW 00°OT WHdId1IOZ SHA SHA Sada -SO0O0cadY9T
[seaTleatiseqd prow Aqqeg] SOOCAYW60
to2ztyTiqe4s AOwny D 00°T dIOY SOIOUdTVA ON SaA SaA -SOOcHWNOE
[seutdezertyL
puy seutdezexg ‘seutdezeta] SOOcaAdYOT 900CNOCTC SOO0cLSOCcT
TozTTTgqeis AOwnH DA 00° 007 ELVaVWOdA ANIGVILENO ON ON SHA -SOOZHWNOE -SOOZLOOET -S00ZHdWTZ TWA / dLO €00S0f0R
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ZT¥% abed

CONFIDENTIAL
AZSER12771 784
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s97xdoy «GPF ET? LOOZHYNZO

Psol

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[squesseizdeptquy 781740] S00¢.LOOTO
uotsseadeq Bu 00°ST HNTGVZVLAIW ON Sax SaA -soozciInrgo
(wn tyat Ty) SOoOozwINCET SO07@dHS7cO
roqestTtqeas zoumH 5 00°00 BZLVNO@IYD WAIHLII ON ON SHA -SoozINrT90 -SOO7INEST G10 IO L00S0€0S
[seutdezertyL
puy seutdezexo ‘seutdezetq] 900ZNNITZ
qUeAS OTUPW OW 00°02 HNIGVZNVIO SHA ON ON -900CAVNOZ
[seutdezeryy
puy seutdezexo ‘seutdezetq] SOOZAYWTE
te2ztTTiqess 2zcuny OW 00° 004 HLVYWWNA ANIdVILHYNS ON ON SaA -SOOTAYN9O
[S®aATIeATAEGq SsUTdezeTpozuEg]
eTUMOSUT DA 00°T WYddZVHOT SHA SHA SaA
(wn tat T) HANTINOD 900 7ZAYNEZ SO00ZLOOFO
teztTTtqess 2zc0unH DOW 00° OSL HLVNO@avO WNIHLIIT SHA SHA SaA -MNQ -S00ZLO0SO -SOOZNNrTO IT / WId 9005008
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] SOOzedv9z
teztTTtqess 2zc0unH Bu 00°00L HLVYWWNA ANIGVILHYNS ON ON SaA -GOO0TAdY9Z
[s6n2q
pe qeley eutdezetpozueg] sooziInrz?
eTMMOSsutT Bu 00°0T WHdId10OZ ON Sada Sada -GOOCHdYPT
[seaTIeatieq ptow Aqqeg] soozinrzz
te2ztTTtqess azownH 5 00°T QIOv OIOUdTYA ON Sada SaA -G00cudY90
[SUOTIeUTCWOD
pexta ‘sueborz4sy
puy sueborsebord] soozinrzz
uo tydeoerquo0p n° HNAGOLSHD ON Sada SaA -GO0O0CAWNIOZ
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOcadYSe SOOCNNI'TC
tTeztTtqers 7z0wnHy 5 oo°t ELVYWWAA ANIGVILHNO ON ON SHA -SOOCNYLOT -GOO0ZHdVLZ diS 10 yOOSOfOe
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO €1T% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771785
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 54 of 90 PageID 85820

s97xdoy «GPF ET? LOOZHYNZO

Ggauezgaoedxa puy

gS9l

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

SO0Z.LOOSZ
yBnop n° LOVaALXY SIAVOINA SOWAHL ON Sada ON -G00ZLO002
[SeaTIeAtseqd ptow Aqqeg]
TeZTTTqeis poop OW OO O0E WOIGOS ALVONdTIVA SHA SaA SaA
[S®eATIeATASq pToy Aq qed]
TezTTTqers poow DW 00° O000T WONIGOS ALVYONdTIVA SHA Sada Sada
[seucwz0H PTOrAYL] HANTLINOD 900 ZTAVNET SOOZAONTO
ustptozdéyqoddéH = BN _-00* ONT ANIXOWAHLOADI SHA SHA SHA -MNN -SOOZAONE0 -SOOZDNVYEO T¥A / al 800S0€0R
[s6naq
peqelea eutdezetpozuag]
eTUMOSUT Su 00°OT WHdId10OZ ON Sada ON
[SeaTIeATAeq suTdezeTpozueg] SO00Z.LOOZO
AqeTxXuy Bu 00°Z WYd4ZVaHOT ON Sax ON -SoocInrLd
[SSaTIeATAEq suTdezetpozueg] SOOZTDNVOT
Aye TXuy Bu o0°T WVIOZVadTY ON SaxA ON -GdocInrLe
(WwaTYIATT) SOO0ZLOOZO
to zestTTqeis azcwnH Bw 00°0SL HLYNOG4YO WNIHLIT ON Sada ON -SOOC INO FT
[SSATICATIAaq sUuTdezetpozueg] sooziargez
eTUWOSUT Bu 09° z WYddZvaOl ON Sada SaA -Sg00cINCOT
[SeaTqeATIeq suTdezetpozuag] soozinr9ez
Aqetxuy Bw o0°€ WVIOZVUdTY ON Sada SaA -goocInrgso
[seutdezertyL
puy seutdezexg ‘seutdezetq] SsoozcIorst
uot sseidaq Bu 00°0T YHNIGVZNVIO ON Sada Sada -SOOCNNCET
[SSATICATIAaq sUuTdezetpozueg] soozTar6eo
eTMOSU] Bu 00°T WWdEZWIO1 ON ON SHA -SOOZAWWSZ
[seutdezertyL
puy seutdezexg ‘seutdezetq] soocInret SO0cdHScO
To WesTTTqeis 7zOwnH Su 00°009 ELVYWWAA ANIGVILHNO ON ON SHA -GOOZAYNSZ -GOOZTINO PT di5S IO LOO0SOf0e
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTITT JO ¥T® abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771786
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 55 of 90 PagelID 85821

991

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[sastuobequy 104de0ey- 7H]

STLIALSVO OW OO° OOF HQTHOTHOOUGAH ANIGTILINVA SHA SHA SHA
VEHYNVIG [squezqgenbes ptoy eTtg]
TIVNILISALNI QD 00°9T HNINVYALSAIOD SHA SHA SoA
([uTzedsH * [OXY STOATGQTYUI
NOLLNHAXaUd MSTA uotiebesbby jeTeqetd] HONTLINOS 900cHYNOE 900CHVNEC
AVTNOSVAOTCHYYO OW 00° 09T GIOV OTTAOITVSTIALHOY SHA SHA SHA -MINQ -900ZUWNPZ -SO0O0ZDHa80 IT / WId OTOSOf0R

[seutdazeryL

puy seutdezexo ‘seutdezetq] SOOZLOOTT
TeatTyTtqeis 7ouwny 5a 00°00% ELVYWWOA ANIGVILANO ON ON SHA -S00¢LO070
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOO0Z.LDOEO
TeatTTtTqeys 7Owny BW 00°002 ELVYWWOA ANIGVILANS ON ON SaA -S00¢L00c0
[wNtyatT] 900ZaHSTZ
TezTTTqeqs 7Owny Sw o00°00S HLVNOddvO WAIHLITI SaA SHA SaA -~SO00TdHSL7
[szo3tqtyur dum@ uojozg] HANTLINOD 900coONe? 900CHVNES
STITAISED BW 00°0F WNIGOS AIOZVadOLNYd SHA SaA SaA -MNQ -900ZHYNYZ -SO07LOOZT IT / VId 6005008
[sbnad
pe qeley eutdezetpozueg]
eTUWwOSsuyt DW 00° OT WHCId1IOZ SaA SHA ON
[SeaTqeATIeq sutTdezetpozuag] 900ZNNITZ
eTUWOSUT OW 00°C WYdHZVaO1T SHA SHA ON -S007L00S50
[seutdezertyL
puy seutdezexg ‘seutdezetaq] soozpnywzo
TezTTTqeis Poon DW 00° 009 BLVYWWOA ANIGVILINS ON ON Sada -SOOCIONCET
[seutTdezertyuL
puy seutdezexo ‘seutdezetq] SOOZDNVEO
TeztTTTqeis poop DW 00° OT HNIdVZNVIO ON ON SaA -soocInreo
[UTeTa ‘sotTqewtwoyjedwés] SOOCLOOST 9O00CAYNTC SOOCAONCO
SsTaATurya n° na HATHYOTHSOACAH ANTIOZVNVAL ON SHA ON -SOOZLOO0Z -SOOZAONEO0 -SO0zDNWEO TWA / ALO g800S0f0R
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO STr abed

CONFIDENTIAL
AZSER12771787
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 56 of 90 PagelID 85822

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

LOOT

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[wntyatT] SOOZAON9T
eseestp reTodtd DA 00°00S HLYNOGAVO WNOIHLIT ON Sax SaA -GOO7CINCET
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZTGHSET  900ZHYN8O0  9007HYNTO
eseestp aeTOdTta PW 00°0Sz ALVUVWNA SNIGVILENS oN ON SHA  -SOOTEHATC -900ZHVNZO -SO0Oz7dESOZ IT / Wild TOO80e0E
[wntyatT] 900THAW6Z
TeZTTTqers poom OW 00°0SZ ZLVNOGY¥O WAIHLII SHA SHA ON  -S00ZOHALz
[SSATIPATI9Q STOZepTwWT] 900cCNVCTO
SISOOAW 'TWLINYD n° GLVALIN WIOZYNOOIN ON Sada ON -G00cOedg9z
[SSATIeATIaeq SsUuTdEezeTpozusg] SOOZOEAZT
VINWOSNI OW 00° OT WYdazZVId ON Sada ON -G00cOHa60
[seutdezertyL
puy seutdezexg ‘seutdezetq] S007O08dL0
TOZTTTGeris Poon DW 00° 007 HIVaWWnd ANIGVILYNS ON ON SHA -GOOCAONOE
[SseutTdezeryuL
puy seutdezexo ‘seutdezetq] SOOZAON6Z
TOZTTTGeIs Poon OW 00°00 HLVavVWnd ANIGVILENS ON ON SaA -GOOTAONSZ
[wntyatT] SO0ZONA9Z
tTezTTTqeis poo OW 00°00S HLIVNO@avO WNIHLII ON SaA SaA -SOOZAONLO
[SSaTIeATAeq SsuTdezetpozusg] so007ORd60
VINWOSNI DW OS" 2 WYdEZVaOT ON SaxA SHA -GOOZAONLO
[SSATJeATAeq SsuTdezetpozusg] SO00ZO8a80
VINWOSNI DA 00°S WYddzvId ON ON Sada -GOOZAONLO
[squeby oTbzsutwedog
puy oTbzeuezpy] SOO0ZONCET
NOISNHLOGAH OW 00°S HCIYOTHOOUGAH ANIMAS TILH ON SaA ON -S00708d60
[Seat eATASq STozepTwuyT] SOOcOHdTC 900 TAVNOE 900TAVWET
SISODAW 'TWLINSD n° HIOZYNODIWN ON Sax ON -SOOZDHC?PT -9007HYNPZ -SOO0zZDEHad80 IT / WId OTOSOf0R
NOT LYWO TANI gs0dq [NOILVOISISSVIO NOILYOICIN]) ca TO dwoldd aLvd dOLs aivd dos aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO 9TP abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771788
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8991

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SUOTISUT QUOD
pexta ‘sueborz sy
puy suseboqseborg] SOANILNOD 900cNNr8O
aatideoersquop no a ALYWILSHSYON ON SHA SHA -AIN‘ -900cae4AzO dLS IO £0080€08
[SeATIeATASq ptoy Aqqeg] 900CNVPTZ
aejtodtq OW 00°O0ET WAIdOS FLVONdTVA ON ON ON - 90072NYCOT
[seatqeatzeq prow Aqqeg] 900CNV60
aetodtq SW 00°000T WAIdOS ALVONdTVA ON SHA ON -SO0cOEarT
[seatqeatszeq prow Aqje,] SOOZOHCET
aetodtg OW 00°008 WOIdOS ALVONdTVA ON SHA ON - SOOZTAONBT
[Sa0qTQTYUI eHeqQdney
SUTWEOUCW SATIOSTSS-UON] 900CNYVCTC
uo TSssesgqo DW 0070S HCIYOTHOOUCAH HNIWVAdIWOTO ON SHA SHA -soo7cTorLe
uot quseaerd [uTeTd ‘xeTdwod-g utTwelata] 9007NWLTZ
ATOTFSEp UTWEIATA n° a HQIYOTHOOUGAH ANIXOGTYAd ON SHA SHA -soo¢ Taro
[seatqeatszeq prow Aqje,] SOOZAONLT
easeestp azetodtg OW 00°00S WOIdOS ALVONdTVA ON SHA SHA -soocToardo
[Sa0qTqTYyUL exHeqdnsey
SUTUPOUOW SATIOSTSS-UON] 900CNVITC
uo TSssesqo DW OO7GL HCIYOTHOOUCAH HNIWVAdIWOTO ON SHA SHA -SOOCHdTLE
[seutTdezertyuL
puy seutdezexo ‘seutdezetq] SOOCdHS8T SOO0cONac?
eseestp aeTodta DOW 00° 007 HLVaVWOA ANIGVILHYNO ON ON SHA -VOOCNOCTO -SO0CcdHS6T dLlS IO 2008008
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] 9007ZHdVL0
Jepiostp zeyTodtg DW 00°00S HLVaVWNA ANIGVILHNS SHA ON ON - 9007AYN80
(wn ty3t I] 900THdVLO 900 CAVN80 900 TAVNTO
Jepiostp rzeTodta DW OO° OSL HLYNO@aYO WNIHLIT SHA SHA ON -SOOZAONLT -900ZHYNZO0 -SO07dHSOZ IT / WId TOO080C0H
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO LI® abed

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s97xdoy «GPF ET? LOOZHYNZO

6sOl

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SSATIPATA9Q sUTdEzeTpozuEg] 900ZNNr60
syoeq qe oTueg DA 00°7 WYddZvaOl ON ON ON -900c¢NNC60
[SeaATIeATAeq sUuTdEzeTpozuEg] 900zNnrso
Zepiostp azetodtg OW 00°S WYdaZVaOl ON Sada ON -900CAVNOC
[S®aTIeATASq eUuTdEzeTpozusg] 900ZAYWET
Zepiostp azetodtg OW O0°OT WYdadZVaO!I ON SaA ON -9007THdYLZ
[S®aATIeATAEGq SsUTdezeTpozuEg] 9007HdV9IT
Jeprzostp azertodtg DA GL" 8 WYd4ZVaHOT ON Sax ON -9007CAYNZO
[Seat eaTAeq euTdezetTpozuag] 900ZTAYNTO
Jeprzostp azertodtgd DA 00° 7 WYddZVaOT ON Sada ON -9007¢dH4 90
[SeATIeATASq ptoy Aqqeg] 900cINrs80
Iepiostp azeTodtq PW 00°000T WONIGOS ALYONdTYA ON Sada ON -900CEHHAEO
[seutTdezertyuL
puy soeutdezexg ‘soutdezetq] 900¢aHe4ATO
Jepiostp zeyTodtg DW 00°00S HLVavVWNA ANIGVILYNO ON ON SEA -900CNWL6ET
[SeaTqexeyT
butaoy ATTeotqowso] 900704490
uot edtqsuoD n° TOODONOVN ON Sada SaA -900CNYCLT
[seatqeatszeq prow Aqjeg]
Zepiostp azetodtg DW OO O0E WONIGOS ALVYOUdTIVYA ON ON SaA
[seat eatseq ptow Aqjeg) 9007EaH4Z0
Zepiostp azejtodtgd OW 00°00S5 WONIdGOS ALYONdTYA ON ON SaA -900CNYCLT
[s6n1d
peqelea eutdezetpozueg]
eTUMOSUT OW 00° OT HLIVaALYVL WHOIdIOZ ON SaxA SHA
[squesseizdeptquy 72740] 900cIN’80
Jepiostp zeyTodtg DW 00° 00T HQTYOTHOONGAH HNOGOZVaL ON SaA SEA -900CNWL9T
[Seatzeatseq seutTdezetpozusg] 900cdH4AS0 900cNNL8O
Jaepiostp rzeTodta DW SGZ°L WYdEZVaOT ON Sax SHA -900CNYL9T -900¢dEH4AzZ0 dL5S IO £0080f08
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO aT? abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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s97xdoy «GPF ET? LOOZHYNZO

099T

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SeATIeATASq ptoy Aqqeg] HONTLNOO SOO0ZSNVOT
eseestp aetodtq bw 00°00ST WAIdOS ALYONdTVA ON SHA SHA INT -SOOZAVWOZ dL5 IO TO060C0H
[squesseizdeptquy 721740] 900cONYeT
uot sseideq DW 00°F SNILLEXOdeH ON SHA ON - 9007AVNOZ
[S@PATIeXeT JoequoD] 9007TONYZT
wot jedtqsuoaD DA OS° 2 TACOOVSIG ON SHA ON - 9007ZAWNIEO
(wntyatT] 900ZDNVCT
easeostp aretodtg DW 00° OSL BLYNOGaYO WNIHLIT ON SHA ON -900cdad 20
[sqonpozg oT qnedezsyL 7970]
wot qedtqysucp n° A HQIsoon Id ATIALINOTSQNYA ON SHA SHA
[SSATIEXET
Butqoy ATT eotjowso] 900ZDNYZT
uot edtqsuoD n° A TODONOWA =ON SHA SHA -900CNWCTE
[S2ORTQLYUI
eT aseqonpey eop Sux]
weToreyse Toyoredéy DW 00° OT WOIOSTWO NILWLISVANSON ON SHA SHA
[eouspuedeq
esnqe [oyooTe ToyooTyY UI pesn sbn2zq]) 9007CONWCT
UOT IUSASTY OW 00° 00% WaHIATASIad ON SHA SHA ~-9002NWCLT
[squesseizdeptquy 721740] 900CAYNET
uot ssseideq OW 00°8 HNILAXOdHY ON SHA SHA -900CNWCLT
[seutdezertyL
puy seutdezexg ‘seutdezetq]
aseastp aetodtg DW 00° 007% HLVavWnd ANIGVILYNS ON ON SHA
(wnAtyatT) 900TAHATO
eseestp azelodtg DW 00° 00S ELYNO@aYO WAIHLIT ON ON SHA - 900CNYCLT
[SepTT Tuy]
uted teprtnoys D 00°T TOWWLEOVAYd ON SHA SHA
[Seatzeatseq seutTdezetpozusg] AONTLNOD 9007 INLET
Jepiostp deets DW OO°T WYdEZVLEWaHOT ON SHA SHA -MINA -900caH4z0 dLO IO vO080e0R
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans

NOILYOICSN

qeZIWOCNVa ‘THavl Naydo

GTTT JO 61% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771791
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1991

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

(wn tyatT] 900caH460
reTodta DW 00°00S ELIVNO@aYO WAIHLIT ON SaA SEA -S007cOEAzT
[TTI SSeTD ‘sotwyqAyszretjuy]
eywaArry DW 00° 002 HCTSOTHOONCAH HNOUVGOIWNY ON Saaz SaA
[uoTIonporzg PToy_oTan
Butiatqtyu] suotqerzedeizd] SANTINO 900CNVCOT
qnop DW 00° O0E TIONISNdOITY ON SaA SEA -yINO -900ZNWLTO dLS IO FOO60E0R
[seutdezetyL
puy seutdezexg ‘seutdezetaq] SOOzcONWOE
aeTodtg DW 00° 007 SLVEVWAA SNIGVILENO ON oN SEA -soozonw9z
(wn tYyatT] 9007dHS PZ
zeTodtq SW 00°000T WAIHLIT SaA SHA SHA -soocTores
[STOITALYUL
et eseqonpey eoD Sux] ANQNILNOS 9007TONVSZ 900CGHAPT
weTO7e1se Toyo1edéy DW 00°02 NILVLISVANOLY SHA SHA SEA -MNQ -900ZG34ST -SOOZDNYVTE II / dlO c0060c0R
[seatqeatszeq prow Aqje,] 900CNVCEO
zeTodtq SW 00°00ST WNIGOS ALVONdIVA ON SaA ON -S007LOOLT
[seatqeatszeq prow Aqje,] SO00¢cLO09c
reTodTg OW 00°000T WOIGOS ALVONdIVA ON SaA SHA -SOOcNOL80
[seutdezetyL
puy seutdezexo ‘seutdezetq]) SOOCONWOE SO0cDHdrO
zejTodta OW 00° 007 SLVUVWAA SNIGVILANO ON ON SHA -soocNorso -SO0ZDOWTE dLS IO 2006008
[SUTTT FOTuUEd
qUeISTSSeYy sseweqoey-e jeg] SOO?TINILT
PUSUIUCXKY Su 00°00S NITIIOVXOIONII ON SaA ON -soozeTarso
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOCTAWNOT soocOnwoTt
aseestp rzeTodTa Bu 00° 006 HLIVavVWAA ANTAVILYNO ON ON SEA -SOOZAWNB8T -SOOZAWNOZ dLl5 IO T0060¢08
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL adoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO 02% abed

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AZSER12771792
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 61 of 90 PagelD 85827

c99l

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[S®PATIeATAeq SsuCUSYdorAqng] POOCdHSTL
eTUeW Bw 00°6 TOCISYHdOTVH ON ON Sada -POO0cdHS60
[SeATIeATASd ptoy Aaqeg] DOOCdHSPT
etueW 5w 00°00L2 WNIdGOS ALVYONdTVA ON ON SaA -Pooconwic
[SeaTIeATIeq SsuSAUeXCTYL]) POOZDNYLZ
Ee TUeW Bu 90°05 HLVLAOV IOXTHINAdOIONZ ON ON SaA -PoozcoOnwgz
(UTeuD-Spts oTIeYydt Ty
UAIM SSUTZeTYQOUSY_] vOOcdHS80
eTUeH Bw 00°0ST UNIZVNOUCHWOAdT ON ON Sada -BOOCONWE?
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] LVOOZONVET
eTUeW Su 00°OT HNTAVZNVIO ON ON SaA -POOZONVETS
[seatqeataszsq ptow Aj eg] vooTconyvgc SOO7TdaSTC VOOCONAPT
eTueW 6w 00°008T WONIdGOS ALYOUdTYA ON ON SHA -poOzZDNYOZ -POOZDEAGST -POOZTdHSST TWA / WId TOOTOV0R
[seatstndorg] 900744460
etsdedsdq aa HNOGIYHaNOd ON SHA ON  -900ZNWPLO
[SeaTqexey] JoequoD] 900CNWL TO
wot qedtqsuoD na HLIVAINSOOId WOIGOS ON ON SHA -900ZNWLE0
[UteT@ ‘septTweuoz TNs]
uot sueqzsedAH OWA 00°T HOINVadVYONI ON SaxA SHA
[SSATIPAT IEG
eutptarAdorzpAyt dd)
uot sueqredéy DW 00°OT aLVIISHa ANIGIGOINY ON Sada Sada
[utzedeH “T[Oxy szOQTQTYyUL
uot quseaerd uotaeberbby 18 TeI1eTd] 90078460
ITE TNOSPA-OTPrAeD OW 00° 09T CIOW OITIAOLITIVSTIALHOY ON Sada SaA -S00coOxed6c
[seutdezertyL
puy seutdezexo ‘seutdezeta] 200cNVLvO 900ZNYLOT
zejTodta DW 00° 002 ELVYWWAA ANIGVILHNO ON ON SHA -GOO0ZOHNaPZ -900ZNVIPO dLS 10 yOO60E0e
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO [Z% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771793
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 62 of 90 PagelD 85828

e991
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatszeq prow Aqje4] LVOOCLOOSO
eTUeW Su 00°006 QIOV OIOddTYA ON Sax ON -PO07ZLOOVO
[seatqeatszeq prow Aq3e,]
etuew 6w 00°002T WONIdGOS ALYOUdTIVA ON ON SHA
(UTeUD-Spts oTIeYyIT TY
YITM ssutzetyjousud]) VOOZLOOEO
eTUeH Bu 00°05 UNIZVNOUCHWOAdT ON ON Sada -POO0CcdHS Pe
[seatqeatzeq ptoy Aq eg] POOZLOO90 900 ZONYPT SOOcdHAEeO
etueW 5w 00°002T QIOVW OIOddTVA ON Sada ON -YOO?CLOO90 = -S00ZHHAYO -VOOTLOOVO TWA / W1d £00T0OV0R
[seuoToutnbozo0nt a] VOOTLOOVO
PTOo WOWWOD Bu 00°008 HATAOTHOONCAH NIOWVXOTAIXOW ON Sada ON -POO0cdHSE?
[seatqeatszeq ptoy Aq eg] 9007CAVN60
etuew_ 5w 00°008T WNIdGOS HLYONdTIVA SHA Sada ON -POO0CdHSST
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] POOCdHSPT
eTUeW Bw 00°02 GNIdVZNVIO ON ON SEA -POOTdESTT
[seatqeatszeq prow Aqjeg]
eTueW BW 00°866T WONIdGOS YLYOUdTYA ON ON SHA
[seutdezertyL
puy seutdezexg ‘seutdezetq]
eTUeH Bu 00°002 ALVaWWOA ANIdVILaNS ON ON Sada
[S®EaATIeATAeq SsuCUeYdozAqng] VOOTdESTT
eTUeW Bu 00°ST TOCTIYsdOTVH ON ON SHA -PO0cdHS80
[septwezueg] ANDO 900¢CdHH LO vOOcONaPL
eTUeH n° HaTadIAsIWZ ON ON ON -MNQ -POOZOHGST -¥OO7THHSST TWA / dL5 Z00T0%0R
[seatqeatszeq prow Aqje,] SO0O0¢ LOOT?
etuem Bw 00° 00ST WOIGOS SLVONdTVA SHA ON ON -soo7c Tard
[seatqeatszeq ptoy Aqjeg] soocinrgc SOOcTdaSTC VOOCONACPT
etuew 6w 00°00R8T WOIdOS HLVOUdTIVA SHA SaA ON -POOZdHSST -POOZDRAST -POOZdHSST TWA / WId TOOTOVOE
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO 22% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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pool

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

(wntyatT] SOOZHdYTO
etuew Sw 00°00ST FLYNOGNYO WOIHLII SHA SHA ON  -SOOZNYLZT
[uMntyatT] SOOZNYWLTT
etuew Sw 00°00ZT GLYNOGYYO WOIHLII ON SHA ON  -¥%OOZAONST
[wntyatT] VOOZAONTT
eqtue_  65w 007006 ELYNO@IYO WAIHLII ON ON SEA -Vp007LOOZZ
[seatqeatszeq prow Aqje4] VOOCAONYT
etuew 6w 00°S99T WAiId0S HLVONdTVA ON ON SaA -ZOO07cLOO8BT
. (wn tyatT) s0O0cdHS90 900ZONVLT SOOCHHALT
etuem b5w 00°00TZ HIVNO@aYO WAIHLIT Sada ON ON -SOOZINCTT -SOO7GHAST -POOZAONST IT / WId 900TOP0R
[seutdezertyL
puy seutdezexg ‘seutdezetq] 9007dHSET
eTUeW BW 00° 00% HIVaWWnd ANIGVILYNS ON ON ON -900cONWST
[SSATIeATIEq SsuCUSYydorA ng] POOZLOO6T
eTUeHW BY 00°6 TOCIaadOTVH ON ON Sada -vOOZLOOOT
[uMntyatT] 9007EHSET
eTUeHW BW 00° 006 HLVNO@davO WOIHLIT sSadA SHA Sada -7O0ZLO080
(UTeUD-epts oTIeUydt Ty
YAIM seuTzetyjousry¢,]
eTUeW BW 00°OST HNIZWNOAdHWOART ON ON SaA
[SeEATIeATAaq SsucusYydorAjng] POOZLOOOT
ETUeW BW 00°8T TOCTaeddOTVH ON ON SadA -vO0ZLOO80
[SSATIEATASQ SUTZeTYIOUSTYE]
a DOOTLOOBO 900CDNVPT SOOCNVI8T
eTUeHW BW 00°05 GCIMOTHOOUGAH SANIZVHLAWOUdOSI ON ON Sada -poozLooso -SOOZNWréT -FOOZLTOCOZ II / dLO yOOTOVOR
[seatqeatszeq proy Aq jeg] 900CdHSET 900CONVPT SOOcaHAEO
etueW 6w 00°00ST dIOW OLOddTWA SHA SHA ON -POOZLOOLO -SO0ZEHAVO -POOZLOOVO TWA / W1d F00TOVON
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO €Z¥% abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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AZSER12771795
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$991

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SeATIeATASq ptoy Aqqeg] 9007CHdV9T
etuem 6w 00°00zT WOIGOS HLVONdIVA SHA SHA ON -POOZOECST
[seatqeatszeq prow Aqqjeg]
etuem Bw 00°466z WOIGOS HLVONdIVA ON ON SHA
[S®PATIeATAeq SsuCUSYdorAqng]
eTueW Bu 00°6 TOCINHdO1VH ON ON SaA
[UFeUO-SPTS OTIeyIT TY
ATM Sseutzetiyjouerd_]) GOOZONAFT
eTueW Bu 00°SZT AQCINYOTHOOUCAH ANIZVWOUdHOTHD ON ON SHA -VOOZAONOE
[seaTtqeatiteq suousydorzA4ng] FOOZAONLE 90072AWNLT SOOCHYNST
eTueW Bw 00°ST TOCINHd01VH ON ON SaA -VOOZTAONSZ -SOOZTHYN9T -POOZTONAST TWA / dLO s800T0OV0E
[SeATIeATASq ptoy Aqqeg] 900210090
etuem 6w 00°000T WOIGOS SLVONdIVA SHA ON ON -SOOZOHATZ
[SeATIeATASd ptoy Aaqeg] SOO0cONd0e
etuem 6w 00°002T WOIGOS HLVONdIVA SHA SHA ON -POOZOEAdBT
[seatqeatszeq prow Aqje,] POOCOACLT
eTueW Bu 00° 006 WHIGOS HLVONdIVA ON SaA ON -POOTOECST
[seatqeatszeq prow Aqje,]
etuem Bw 00°0S9T WhIGOS HLVONdIVA ON ON SEA
(UTeUD-Spts OTIeYUIT TY
ATM seutzetyjoustd] POOCONAPT 9007daS90 SOOTHVNST
eTUeW Bu 00°05 ENIZWWOUdHWOANI ON ON SHA -YOOTAONLZ -SOOZHYN9T -POOZTOHAST TWA / ALO LOOTOVON
utT—TNsut Jo [septuenBbtg] 900¢dHS9T
STeseT peqeaeTy 6w 00°00LT NIWHO4LEN SAA ON ON -9007TAdVL0
(wn tYyatT] 9002dHS9T
etuem Hw 00°008T GLVNO@dvO WNIHLIT SHA ON ON -S007@dHSLO
[wn Fy3t'T] soociInrot 9007TONVLT SOO0caHALT
etueW 6w 00°008T BLIVNOGdYO WNIHLIT SHA ON ON -SOO7THdYSO -SOOZEHAST -POOZAONST IT / WId 900TOVOH
NOILVOICNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd aLvd dOLs HLvd dos aLvV¢d dOLS LINSWLVauL adoo
WHEL OI1WESNHD NOILYOICGEN NHNWL NOILVOICGHN -HL1Vd LYVLS -aLVd LYVLS -alvd Laws Loarans
NOILWOIGSN CHZINOGNVa THavl Nado

GIIT JO ¥Z% abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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AZSER12771797

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[S®EATIeATAeq SsuoUEYdozAqng] GOOCEHACTS
eTueM Bw 00°6 TOdIuadOTVH ON ON SHA -SOO7EHAT
[SSATIeATASq Ptow Aqqeg]
etuem 5w 00°008T WHIdOS HLVOUdTVA ON ON SHA
[seat JeaTseq suoueydozAqng] SOOCEHAST  9002dHSE0 SOOZAVWPZ
eTueM Bu 00°ST TOCINadOTVH ON ON SHA -SOOZHHATT -SOOZAYNSZ -SOOZEHHEZ TWA / dLO OTOTOVON
[S@ATIPATASq ptoy Aqqeg] 900ZLD0£0
etuem 6w 00°00ST WHIdOS HLVONdTVA SHA SHA SHA -SOOTNVI60
[seatqeatszeq prow Aqje,] SOOCNVC6T
etuem 6w 00° 000T WHIdGOS HLVOUdIVA ON ON SHA -SOOZTNWIEO
[eanaoni14s eutTzeredt¢d
YItM SseuTzeTyjouseYd]) SOOZNYPEO
eTueW Bw 00°S% HACIMOTHOOUCAH HNIZWNSHdN1d ON ON SHA -SOOZNWLEO
[UteuD-Sspts ofaeydtT iy
YItM seutZzetyjouSsYd]) SOOCNWL6T
eTuem 6 00°0ST ACIMOTHOOUCAH ENIZVWONdNOTHD ON ON SHA -SOO7NWLIZO
(UTeUD-Spts oTIeYydT Ty
YAtM seutzetyjousyd] SOOZNYLEO
eTueW Bw 00°05 ACIMOTHOOUCAH ANIZVWWOUdYOTHD ON ON SHA -SOOZNWIZO
uoTqusaerd [squeby oTbrzsutqTouotyauy] GOOZNYPLT
eTSTIeMy Bw 00°Sz ANIZWHLAWOWd ON ON SHA -voOOcOMAOE
[SEaATAeATAeq suoueYydozAqng] GOOZNYPED
eTueW Bw 00°ST TOCIYHdOTVH ON ON SHA -vOOTOHASZ
[SSATIeATAEQ SuTZeTYyAousyd])
wot qUusAerd a YOOTOHA8Z = 900ZdHSE0 SOOZTAWWDZ
eTSstIeyy Bw 00°05 GCIMOTHOOUGAH HNIZVHLAWOUdOSI ON ON SHA -POOZONASZ -SOOZAYNSZ -SOO0ZNWr9Z TWA / dLO 600T0+0N
[seat eatseq sucueydozAqng] 900THEY9T 900ZAYNLT  SOOTHWNST
eTueW Bu 00°ST TOdIusdOTvH ON ON ON -900ZHWWZZ -SOOZHYW9T -¥OOZONAST TWA / dL B00T070E
NOIIYWOIGNI as0qd [NOILVOI4ISSWIO NOILYOIGaW] da TO ¥YOIlud Lvd dOLSs aLvYd dOlS lvd dOLs INSWLVauL 4dqo0o
WHEL OIMHNED NOILYOIGHW NHNVL NOILYOIGHW -HIVd LHWLS -HLVd LavLs -aivd Lewis Loaranas
NOIIVOIGHN daZINOGNVA ‘THav1 Nado

GTITT JO GZ% abed

SUOTIEO TPA

6-OT° 2°21 Butasty
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LOOT

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
(Wn tyat TT) SOOcHdVOT SOOZONV8Z
eTUePH Bw 00°006 HLVNOGavO WNIHLIT ON ON SaA -GOOCAWNE -GOO0CHdVTT dLO IO ZTOTOVOE
[seatqeatszeq prow Aq3e,] SOOCNNC9T
etuew 6w 00°008T WONIGOS HLVONdTIVA SHA SHA SHA -GOOcEHAETS
[seutdezeryy
puy seutdezexg ‘seutdsezetq]
Ee TUeW Bu 90°02 HNIGVZNVIO ON ON SaA
[S@aT eATAaq SauouaydorzAqng] SOOTHYWITO
eTUePH Bw 00°9 TJOCIaYadOTVH ON ON SaA -SOO0CcdseAESC
[S®aTIePATAGG SsUSTAUeXOTYL]
Ee TUeW Bw 00°002 TIOXTHINAdOINNZ ON ON SaA
[seatqeatTszeq prow Aqle4]
eTUePH Bu 00°066 WNIdGOS ALYOUdTIVA ON ON SaA
[SSuTdezertyL
puy seutdezexg ‘seutdezetq]
eTUeW Bw 00°002 HLVYWWNA ANIGVILHYNS ON ON SaA
[SSuTdezetTyUL
puy seutdezexg ‘soutdezetq]
eTUeW Bu 00°02 ANIdVZNVIO ON ON SEA
(UTeUD-Spts OTIeUOT TY
UIIM SeUTZeTYyQOUET]
eTUeW Bu oo°SL HNIZVNOUCAWOAdT ON ON SHA
[Seat zeatseq suTdezetpozusg] SOO0cdHA ce SOOZNNC9T SOOCAYWTE
eTUeW Bu 00°02 WYddZVId ON ON SEA -SOOCTHHATZ -SOOZNNTO -SOOZUYNZO TWA / dLO TTOTOVON
[SeATIeATASd ptoy Aaqeg] 900Z.LDOEO
etueW 5w 00°00ZT WNIdGOS ALYOUdTVA SHA ON ON -goocInrso
[seatqeatszeq prow Aqjeg] soocIonrso
etue_ 5w 00°00ST WONIGOS ALVYOUdTVA SHA SaA ON -SOOTAWNIE TS
[seaTaeatzeq ptoy Aaqeg] SOOTUWNZZ
etuem Hw 00°002T WhIGOS HLVONdIVA ON SaA ON -SOOCHHAET
[seatqeatszeq ptoy Aqjeg] SOOCdHHATT 9007TdaHSE0 SOOCAYWVC
eTUeW Bu 00°006 WONIdGOS ALVYOUdTYA ON ON SHA -SOOZGHA9T -SOOZAYNSZ -SOOZ7GHAeZ TWA / dLO OTOTOVOE
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITT JO 92% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771798
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 67 of 90 PagelD 85833

8991

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[UTeUD-SpTs oTqeudtT Ty

YATM seuTZeTYyQOUST] GOOZUYNTZ
Ee TUeW 6u 00°S4 AQCIMOTHOONCAH ANIZVWONdHOTHD ON ON SaA -SOOCTAYNLT
[SeaTIeaTreq suTdezeTpozueg] soozuavso 300 ZDNVST GooZINLZT
eTUeW Bu 00°ST WYddZVId ON ON SaA -SOOZHYWEZ -SOOZINTET -SOOZHAVET TWA / dLO PIOTOVON
[saaTqeatzaq prtow Aqqeg] 9007d4ES6T
etue_ 5w 00°00ST IOV OIOWdTVA SHA ON ON -900cC INCOT
[seatqeatszeq prow Aqje,] 9007 INC60
Ee TUeW Bu 90°02 QIOV OIONdTVA SHA SaA SaA -gd0cTadvSO
[S®EATIeATAeq SsuoUEYdozAqng] GOOCHAVET
eTUeW Bu os’ eT TOCISNsdOTVH ON ON SaA -GOO0cedYSO
[wn tyatT)
eTUeW Bu 00°6 HIVNOGYYD WOIHLIT ON ON SHA
swoqduds [soutwmy AzetTq294]) SOOCHAVET 900 ZONTOe SOOCcONVOE
Tep wezAder4xg Bu 00°F NHQITasdIad ON ON SEA -GOOTHWW8Z -SOOZDNVTE -SO07HdVPT TWA / dLO ETOTOVON
[uMntyatT] GOOZdHSLZ
etuey 5w 00°008T HLYNOdavO WOIHLIT ON Sada ON - G00 cedT92
[uMtYyatT] GOOTHaWSZ
etue_ 5w 00°00ST HLYVNO@avO WNIHLIT ON Sada ON -GOOTAdV6T
[uNtyatT] SoOozudwet
etuem 6w 00° 00eT HLYNOdadvO WOIHLITI ON Sada Sada -GOO0CUdYOT
[S®ATIeATAeq SuCUeYdozAqng]
eTUeW Bu os" eT TOCIYs4dOTVH ON ON SHA
(UTeUD-Spts OTIeYyIT TY
UDIM SSUTZeTYQOUET_]
eTUPW Bw 00°SLE HAIMOTHOOUGAH ANIZWWOUGNOTHD ON ON SHA
[seutwy AzetTq28]) SOOcadVOT SOO0cONY8C
SdH JO STXeTT JOA Bu 00°2 NHdTaadIad ON ON SaA -GOO0cHdYSO -GOO0CHdYTT di5S IO ZTOTOV0e
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] ca TO dwoldd aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO LZv abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771799
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 68 of 90 PageID 85834

699T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seutwy AzetqzeL]
swoadwAds q
TeptwerAder3 xq Bu 00°9 AIYOTHOOUGAH IAGINSHAAXSHIML ON ON SHA
[SPATIRATASq SsucUSYydorzAqng] SoOoZInrSt
eTUeW Bu 90°ST TIOCIYSdOTVH ON ON SaA -SOO7cIONCTT
[(UTeuD-epts oTIeYydt Ty
UAIM SSUTZeTYQOUSY_] soocinrgy
eTUeW Bu 90°SL ONIZVWOUdHWOAYT ON ON SHA -soocimnrod
[SSATIPAT IAQ SuUaeTTIUeXOTYL] SoocIOeTT 900ZONTST So00zcLoosZ
eTUeW Bu 00° 00T GLIVLHOV TIOXIHLINAdOIONZ ON ON SaA -SOOcTINFTIT -soOzZLDO9Z -sS0O0zINrL? TWA / W1d LTIOTOVON
[seatqeatszeq prow Aq3e,] 900TdHSES
etuewW 6wW 00°00ST CIOW SIOCUdTVA SHA SHA SHA -SoOOocNnreo
[squeby oTBasutToyotquy]
Sd¥ jo stxeTAydorg Bu 00°Sz ANIZVHLEWOMd ON ON SHA
[S®EaATIeATAeq SsuCUeYdozAqng] sooznnrso
eTUeW Bu os’ et TIOCIYSdOTvH ON ON SHA -SOOCAWNPT
[seatqeatszeq ptoy Aq eg] SOOcNNreo 900 ZDNTVZ SO0cLOO8T
etuem 5wu 00°00ST WNnIdOS HLYONdIVA ON ON SHA -SOOZAYWN7T -SOOZLOO6T -SOOZNNrSsO TWA / WId 9TOTOFVOR
[SEaATAeATAeq suoueYydozAqng] SOOZMAVET
eTUeHW Bu og’? JOCIYHdOTVH ON ON SHA -GOd0cuedT90
[seaTaeatzeq ptoy Aaqeg] SOOTHUNTZ
eTUeW Bu 00°008 WhIdOS HLVOUNdIVA ON ON SHA -SOOCHWNZZ
[seutdezetyL
puy seutdezexo ‘sautdezetq]
eTueNW Bu 90°02 ANIdVZNVIO ON ON SHA
[UzeUD-SpTs oOfaeudT Ty
YatM seuTZzeTyjouseyd] So0zuav90
eTUeHW Bu 00°Sz HNIZVNOUdHWOAdT ON ON SHA -SOOCAHWNIT 2
[seatjeatszeq ptoy Aj3je4g] 900CdHS VT 9007ONTST soocinrct
etuew Bw 00°00ST WNIdOS HLIVONdTVA SHA SHA SHA -SOOZHWWLT -SOOZINTET -SOOZHaAVET TWA / dlLO PIOTOrVOR
NOITLYOICNI asod [NOLLYOISJISSVIO NOILYOICEN] qa TO dwoldd aLvd dOLs HLYd dos aLvVd dOls LNENLYYaL ddoo
Waal OITHHNAS NOILYOICGHN NANWL NOILVYOICHW -HLVd LAVLS -dLvd LAVLs -aLlvd Lavls Loarans
NOILWOICHN dHZIWOGNVaA ‘THadv1 Nado

GTTT JO @zy abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771800
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s97xdoy «GPF ET? LOOZHYNZO

(UTeuD-spts oTIeydt Ty

OL9OT

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

UATIM SSUTZeTYQOUSY_] SoOcINC LE
eTueN 6w 00°0ST SQIMOTHOONCAH SNIZVWONdYOTHD ON ON SoA -S00zcTOLT?
[SSATIeATIaG SUeYIUeXOCTYL]) soociInrt? 9OO0TAVNOT SOOZAONTO
eTUeN Bu 00° 00T TIOXTHINEdOIONZ ON ON SHA -soozInete -SOOZAONZO -s00zDNVvEO TWA / dLO 6TOTOV0N
[seatqeatszeq prow Aq3e,] 900TAVNIZT
eTuem Hw 00° 00ST CIOW OIOddTWA SHA SHA ON -soo7cTores
[UTeUD-SpTs oTqeudt iy
ATM seutzetyjousetd_]) soocinrs?
eTUueW 6w 00°0S ANIZWNOAdHWOARI ON ON SHA -so0cTOLTT
[seatqeatszeq ptoy Aqqeg]
etuem 6w 00° 866T WOIGOS HLVONdTVA ON ON SEA
[seutwy AretTqArEL] soocinrsz
sda FO STXeTT FOAM bu 00°72 NHQTasdIad ON ON SHA -soocToarso
[(UTeuD-epts oTIeYydt Ty
YATM seuTzetyjouseyd) soOcINe87¢ 900caa4A0T SOOCAONLZ
eTueW Bw 00°SZ2 SQIMOTHOOUCAH SNIZVWONdYOTHD ON oN SEA -soozineso -SOOZAONSZ -soozInréeZ TWA / dLO 8TOTOr0g
[seatqeatszeq prow Aqje,] 900¢dxHS7T
etuem 6 o0°00ST WOIGOS ALVONdTIVA SHA ON ON -9007THdAYCT
[seatqeatszeq prow Aqjeg] 900CAAVTT
eTuem bw 00° 000T WOIGOS HLWONdTIVA SHA SHA ON -soocTorle
[seatqeatieq proy Aqqed) 900cTNl9S
etuem 5u o0°os9T WOIGOS HLVONdIVA SHA SHA SEA -SOOcTOLST
[seutTdezertyuL
puy seutdezexg ‘soutdezetq]
eTUeW 6w 00°OT ANIGVZNVIO ON ON SHA
[(UTPUD-epts OTIeYydT Ty
YATM seuTzetyjouseyd_) soocinroe 900cCDNVST g00¢L50S
eTUeW Bw o00°0S ENIZWNONdHWOATI ON ON SEA -SOOzZINeST -SOOZLDO97 -SO0ZINELZ TWA / W1d LTOTOVOE
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL adoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans
NOILYOIGSN CHZINOGNYHa Taavl Nado

GITT JO 62% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771801
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 70 of 90 PagelD 85836

IL9T

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[S®PATIeATAeq SsuCUSYdorAqng]

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

eTUeHW Bw 00°ST TOCTYHdOTWH ON ON Sada
[SSaT eaTseq suTdezetpozusg]
eTUeHW Bu 00°0T WYdHZVId ON ON SaA
(UTeUD-Spts oTIeYyIT TY
UAIM SSUTZeTYQOUSY_] soocinrg
eTUeHW Bu 00°OST AQCIMOTHOOUCAH SANIZYWOUdHOTHD ON ON Sada -SOO7TINCTS
[S®aT eATAaq SauouaydorzAqng] soozonyvzo
eTUeW Bw os" eT TOdIaadOTWH ON ON Sada -soociInrac
[SSPATIBATAaq SuSETAUeXoTYL] soozimnarsz
eTUeW Bu 00° 00T GIVLEOV TOXTHLNAdOTONZ ON ON SaA -soo7iInesd
[SSATIEAT IE SUSYAUeXOTYHL] sooc INT? 900cONWrc SOOCAONTO
eTUeH Bw 00°00T TOXIHINSdOIONZ ON ON SaA -SOOZINCTZ -SOOZAONZO -SOOZDNVEO TWA / WId 0Z0TOV0R
[SeaTIeATAeq SsucuUeydorzAqng] 9007NNLST
eTUeHW Bw 00°ST TOCIaadOTVWH ON ON ON -900CAVWLT
[S®aTIeATAaq SsuTdezetpozuag] SO00ZAYWLT
eTUeW Bw 00°OT WYdaZVId ON ON ON - 9007AVWWLT
[seatqeatszeq prow Aqje,] 900CNNCST
equem 6 00°000T WOIGOS HLVONdIVA SHA SHA SaA -soozTOrLe
[SSaTIeATASeq SsucuSYydorAjng] soozpnvzo
eTUeW Bu 00°76 TOCTaHdOTVH ON ON SaA -SOOcINOLTS
[seutdezetyL
puy seutdezexo ‘sautdezetq] soozonvzo
eTUeW Bu 00°00S HLVavVWnd ANIGVILYNS ON ON Sada -soociInrec
[seutwy AretqzeL]
a
eTUPH Bu 00° CIMOTHDOUGAH IACINHHAAXSHIUL ON ON SaA
[seat Jeatseq sucueydozAqng] sooc Incas 900CAVWOT SOQOCAONTO
eTUeW Bu 00°ST TOdIaadOTVH ON ON SaA -SOO7TINCTZ -SOOZAONZO -SOO0ZDNVEO TWA / dLO 61TOTOVON
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO O€% Obed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771802
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g9zxdoy

SP FET? LOOcCHYNZO

cLOl

ses’ ooTpew

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SeATIeATASq ptoy Aqqeg] 900CNVCTT
etuey Bw 00°00S5T WNIGOS ALYONdTVA ON Sada ON -G00ZLO082
[SeATIeATASd ptoy Aaqeg] SOOZLOOLZ
eTUeH Bw 00°006 WNIdGOS ALVYONdTVA ON Sada SaA -G00¢LOOcT
[S®aTAeATAaq SsucueYydorzAqng] GOOZLDO8T
Ee TUeW Bu os’? JOCIaAXdOTVH ON ON SaA -G007LOOCT
eeurtetp [seats Tndozdt uy]
Teuot {oun Bu 00°Z HQATHOTHOONCGAH SHCIWVWAXdOT ON ON SaA
[ecoueTeg eqATOIIOe TY
eeurretp eyL butqosesyyy suotaAntos] S00ZLD080
TeuoTt joung TW 00°00S HSOONIS ON ON SHA -GO0ZLO080
[seaTqeATAeq ptow Aqje4]
etuew_ Bw 00° ZEET WNIdGOS ALYONdTIYA ON ON Sada
(UTeUD-Spts oTIeYyIT TY
UIIM SeUTZeTYyQOUET_]
eTUeH Bu 00°Sz HNIZVWOUCEWOATT ON ON SaA
[S®PATIeATAeq SsuCUSYdorAyng]
eTUeH Bu o0°€ TOCTSYHdOTVH ON ON Sada
[Seat zeatseq seutdezetpozusg] S00Z.LO060 9O0O0CNYVITT
eTUeW Bu o0°s WYddZvVId ON ON SHA -GO0ZLO0%70 -GO0ZID06T dLO I0 TZOTOv0a
[seutdezertyL
puy seutdezexo ‘seutdezetq] 9007TdHSET
eTUeW Bu 00°00% HLVaWWNA ANIGVILENS ON ON ON -900cONTSe
[seatqeatseq proy Aqjeg]) 900CdHSES
etue_ 5w 00°000T WONIdGOS HLVYONdTIVA SHA Sada Sada -GoocInrad
[SOATIPATAGG SUSYAUeXOTUL] soozinrez
eTUeH Bw 00°00T GLYLAOV IOXTIHINAdOINNZ ON ON SaA -gdocInred
[seutwy AreTqAaL]
uoTqueaerzd a soociInrgc 900 CON rT GOOCAONTO
eBTSTIeWW Su 00° GIMOTHDONCAH TACINHHAAXHSHIML ON ON SHA -soozinrtz -SOOZAONZO -SOOZDNWEO TWA / W1d O0Z0TOV0E
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO Ter abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771803
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s97xdoy «GPF ET? LOOZHYNZO

eL9l

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SSATIPATA9Q sUTdEzeTpozuEg] SO0ZLO09Z
eTUeW Bu 00°0T WYddZzvId ON ON Sada -G00Z¢LO092
[seutwy AzetqzeL]
a
Sda¥ fo UoTAVSeAstg Su 00°% GIMOTHOONCAH IACINHHAAXHHIML ON ON SaA
[S®aATAeATAaq SsuCUeTYdorAqng]
Ee TUeW Bu og" et TJOCTaadOTVH ON ON SaA
[UTeYyo-epTs oT @eYyaT Ty
YIM SsurTZzetyjousryd]) SOOCAON8O 900cadVCT
eTUeW Sw 00°0ST HATMOTHOONCAH BNIZWWONdHOTHD ON ON SaA -GOOZAONLO -GOOZAONST dLO 10 yZ0TOV0e
[UTeUD-SpTs ofaeydtT iy
YAtM seuTzeTyjouseyd] SOOZAONTT
eTUeW Bu 00°SZZ AATIMOTHOONCAH BNIZWWONdHOTHD ON ON SaA -GOOZAONBO
[seatqeatszeq prow Aqjeg] 900CTdHS6T
eTueW BW 00°866T WOIGOS HLVONdTVA SHA SHA SHA -GOOZAONYO
1 swoqdwds
TeptwerAder4xg [squeby otTbazsutqTouotquy] GSOOZAONFT
FO STXETT JOA Bu 90°SL ANIZVHLAWNOUd ON ON SaA -GO00TLOOLZ
(Wnt yatT) SOOZAON8O 900 ZONTO?e 900cuNdVEO
eTUueW Bu 00° 006 GLVNO@dYO WAIHLIT ON ON SEA -GOOZLOOLZ -9007HdY¥O -SOOZAONST TWA / dLO €Z0TOV0E
[SeATIeATASd ptoy Aaqeg] 9007¢dHSP0
etueW 5w 00°000T WONIdGOS ALVYOUdTIVA SHA SaA SaA -GO0ZAONZO
[S®aTAeATIaq SsuouaTdorzAqng] SOOZAON80
eTUeW Bu os’? JOCTas#dOTVH ON ON SaA -G00TLOOLZ
[seatqeatszeq prow Aqje,] SOOCAONTO
eTUueW Bu 00°999 WhIGOS HLVONdIVA ON ON SEA -S007LOOLZ
[SeaTqeatseq seutdezetpozusg] SOO07.LOO8C 9007ONYSO 900cexdVS0
eTUeW Su 00°OT WYddZVId ON ON SHA -SOOZLD08Z -9007HdY90 -SOOZAON60 TWA / W1d Z2Z0TOV0E
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO Zt% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771804
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s97xdoy «GPF ET? LOOZHYNZO

PLol

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[S®PATIeATAeq SsuCUSYdorAqng] SQOZAONSO
eTUeW Bu og°eT TOCISYHdOTVH ON ON Sada -SO00ZLOOOT
[seatqeatszeq prow Aqqjeg]
etuewW 5w 00° 866T WONIdGOS ALYONdTVA ON ON SaA
[seutwy AzetTq7eq]
a SOOZAON8O
Ee TUeW 6w 00°% CIYOTHOONGAH IACINSHAAXHHIML ON ON SaA -G007LOOVO
[S®EATIeATAeq SsuoUEYdozAqng] S00ZLD060
eTUeW Bu 00°ST TOCISNsdOTVH ON ON SaA -GO00ZLOOVO
[S@PaTIeATAEg SsuUSTAUeXOCTYL]
eTUeW 5u 00°00z2 HLVYONVYOUd TIOXTHINAdOIONZ ON ON SHA
[S@ATIPATASG SUSYAQUeXOTYL] GOO0ZLDOTO
etuem Bu 00°00T ALVLHOW TOXTHINAdOIONZ ON ON SHA -S00Z1L00%0
[eanqonaqjs euTzezedta
UATM SSUTZeTYQOUSY_] SOO07ZLDOPZ 900ZDNYTE 9007cHdVPO
eTueW Bw 00°Sz SLVONVOEC SNIZVNHHdN1a ON ON SHA -SO0ZLOO?Z -900ZHdYSO -SOOZAONST TvA / Wd SZ0T0+0S
[seatqeatszeq prow Aqjeg] 900TAVINIZT
eTuew 6w 00°00ST WONIdGOS ALYOUdTYA ON SaxA ON - 9007AYN80
[SSeATIPATASq ptoy Aqqeg] 9007CAYVWLO
etue_ 5w 00°000T WONIGOS ALYOUdTYA ON Sada Sada -GOOZCAON60
[SOATIPATAGG SUSYAUeXOTUL] SOOZLDOTE
eTUeH Bw 00°002 GLYONVYOUd IOXTHINAdOIONZ ON ON SaA -G00ZLOOTE
[S®aTAeATIaq SsuouaTdorzAqng]
eTUeW Bu 00°ST TOCTIaYXdOTVH ON ON SaA
[UzeUD-SpTs ofaeudT Ty
YIM seuTzetyqouey_] SOOZAONS8O
eTUueW 6u 00°00€ ACIYOTHDOUCAH SANIZYWONdHOTHD ON ON SEA -S007LO09Z
[seutwy Azetqze]]) SOOZTAONLO 9007TAdVCT
Sda¥ fo woTAvSeAetd Bu 00°? NHCTasdIad ON ON SHA -GO0O0ZLO092 - GOOZAONST dl5 10 yZ0TOV0E
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTIT JO €€% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771805
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 74 of 90 PagelID 85840

SLOT

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[uMntyatT] S00ZDaa80
etuew 6w 00°00zT HLVNOddvo WAIHLITI ON SaA SaA -SOOCAONBT
[S®aTIepses puy sotqouddy]
ETUPW Bu o00°SL HNIZVHLAWOUd ON ON SoA
swoqdwAs otTjoyoAsd [SeaTIeATAeq SsucuseydorzAqng]
YITM STUeY] Bu og° eT TOCIYSdOTVH ON ON SaA
[UTeUD-SpTs OTqeUudT Ty
YIM SssuTzZzetyqouserd]) SOOCAONOZ
eTUP TW Su 00°SZZ ACIMOTHOONGAH BENIZVWONdHOTHD ON ON SoA -SOOTAONBT
suoqjduts otqoyodsd [S®EATIeATAeq SsuoUEYdozAqng]
YITM STUehH Bu 90°ST TOCIAH#dOTvVH ON ON SHA
(UTeUD-Spts OTIeYUIT TY
YAtM seuTZzeTYyjoUSETY] SOOZAONLT
ETUC Bw 00°052 HQIMOTHDOUGAH ANIZYWOUdYOTHD ON ON SHA -SOOCAONLT
(wntyatT] SOOZAONLT
eTUeW Bu 00°006 HLVNOddvO WAIHLIT ON ON Sada -SOOCAONET
[seuoTozerzAg] 9007EH4A6T
419A04 Su 00°005 WhIdOS HWIOZINVLEAN ON SaA ON -900CdHH46T
[(UTeuD-spts oTIeYydtT Ty
YIM SSsurTzetyjousud]) SOOZTAONST 900THHAOT
eTUeW Bw 00°OST HQIMOTHDOUGAH ANIZYWOUdYOTHD ON ON SHA -SOOCAONET -SOOCAONTZ dlS 10 9Z0T0V0R
[seutdezertyL
puy seutdezexg ‘seutdezetq] 9007dHSOE
eTUeW Bu 00°00z2 BLVYWWOA ANIGVILENG ON ON ON -900¢dHSTO
[seataeatszeqd prow Aqjeg] 900CdH50¢
etuew 6w 00°000T WNIdGOS HLVOedTVA SHA SHA Sada -SOOCAON60
[SeaTIeATAeq SsucuUeydorzAqng] SOOZAONST
eTUPH Bu ogy TOCIYSdOTvVH ON ON SaA -SO0O0CAON60
[(UTeUD-epts oTIeydt Ty
YIM seuptzety jouer) SOOCTAON8O 900cCONVTE 900cAdTVO
eTUeW Bu 00° 0ST HNIZYNOAdHWOAYI ON ON SHA -SOOZLOOOT -900ZHdV¥SO -SOOZAONST TWA / W1d SZOTOVOR
NOLLYOICNI Hs0qd [NOLLVOISISSVIO NOILYOICSN] da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans
NOLLIVOICHN CHZIWOGNVa ‘THAVI Nado

GTIT JO Fer Sbed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771806
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 75 of 90 PagelD 85841

9L9OT

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

[S®PATIeATAeq SsuCUSYdorAqng]

ast

“600TZOZTTI/3123/3ndano /ds/97T00°L rr TP/ Tenbozes /pord/aiso/

eTUeH Bu 00°ST TOCIYSdOTYH ON ON SUA
(UTeUD-SpTs OTIeYIT TY
UATIM SSUTZeTYQOUSY_] SOOZAONLT
eTUeH Bw 00°00T HAIMOTHOOUGAH ANIZVWOUdGHOTHD ON ON SaA -GOOCAONLT
[seutdezertyL
puy seutdezexg ‘seutdezeta] 9007TdHS0€ 9007ONYTE 9007THdVTO
eTUeW Bu 00° 00Z HLVaWWNA ANIGVILENS ON ON ON -9007GHSTO -9007Hd¥SO0 -S007DHdLO TWA / dL 8Z01T0v0e
[wntyatT] 900ZPAYTE
eqtue_  6w o0°008 ELWNO@UWO WOIHLII Sak SHA SHA -SOOZAONST
[S®ATIeATAeq suCUeYdorAqng] SOOZAONZZ
eTUeW Bu oc’? TOCISNsdOTVH ON ON SaA -GOOZAONYT
[SSATIeATAeQ SsuEAUeXoTYL])
eTUeW Bu 00°00z2 HLVYONVYOXd TIOXTHINAdOIDNZ ON ON SHA
[SeaTIeATAaq SsuSEAUeXOTYL] SOOZAONET
eTUueW Bu 00°002 GHLYONVYOUC IOXIHLNAdOIONZ ON ON SHA -SOOZAONET
[seatqeatszeq prow Aqqeg]
eTUeW Bu 00°999 WONIdGOS 4LVYOUdTYA ON ON SHA
[seutwy AzetTqAzeL]
a
eTUeH 6w 00°% CIYOTHOONGAH IACINSHAAXSHIML ON ON Sada
[S®EATIeATAeQ SsuCUeTYdozAqng]
eTUeW Bu ose TOCTYXdOTVH ON ON SHA
[(UTeUD-epts oTIeYyIT ITY
YAtM SeuTZeTYIOUSEY] SOOZAONST
eTUeW 6u 00°S4 AQIYOTHOOUCAH SNIZYNONdHOTHD ON ON SHA  -SOOZAONTT
[Seat Ieatszeqd sutTdezetpozuseg] SOOZCAONZT 900 ZDNYTO 9007TAYWN8Z
eTUeH Bu 00°0T WYdazvId ON ON SaA -SOOZAONZT -9007NYVWEZ -SOOZAONEZ IT / dL 4LZ0T0r0e
(wntyat TT] 900CdH46T 9007TEHANT
etuew 6w 00°00R8T HIVNOGaZO WNIHLIT ON Sax ON -G00cO4Hd60 - GOOZAONTZ dLS 10 9Z0T0V0E
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTITT JO Gtr abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771807
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 76 of 90 PagelD 85842

LLOT

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[squesseadseptquy 19430] Goozudv90
uot sseideq Bu 00°Szz HAIYOTHOOMCAH ANIXVAVINAA ON ON ON -SOOTAYNBO
[seatqeatTszeq prow Aqje,] SOOcHdv90
etuem 6w 00° OS0T GIOV OIONdTVA SHA SHA ON -POO07LOOZT
[seutdezetyL
puy seutdsezexg ‘sautdezetq] POOZLOOTT
eTUueW Su 00°009 SLVEVWAA ANIGVILANO ON ON SHA -VOOeLOOLO
[seutdezertyL
puy seutdezexo ‘seutdezetq] vOOZLOO9N0
eTUeW Bu 00°00% HLVEVWAA SNIGVILENO ON ON SaA -POOTdESST
[seat eatieq prow Aqqed] POOZLOOTT SOOcavNLO SOOCNWITE
etuem 5u o0°000T dIOW OIOddTVA ON oN SEA -POOZdHSPI -SOOZHHATO -POOZLOOZT TWA / dLO 1T007070a
[seatqeatTszeq prow Aqje,] 900¢dxHS0€
etuem 6 o0°00ST WOIGOS ALVONdTIVA SHA ON ON - 900CAVNLT
[seatqeatszeq prow Aqjeg] 900TAVINNOT
eTuem bw 00° 000T WOIGOS HLWONdTIVA SHA SHA ON -SOO07@OEaLO
[SeaTIeaAtTzeq prow Aqqeg]
eTueW 6u 00°00S WOIGOS ALVONdIVA ON ON SEA
[SSaTIeATASeq SsucuSYydorAjng] g00zoma90
eTUeW Bu os’ t TOCISHdOTvVH ON ON SEA -SOOZTAONOE
[Seat eaAtTszeq SsuSyAUeXOTYL] SOOZAON6Z
eTueW Bu 00°002 GLVONVOUC IOXIHLNEdOINNZ ON ON SEA -SOOZAONG6Z
[SeATIeATASd ptoy Aaqeg] SOOZCAONEZ
eTueN Bu 00°666 WOIGOS ALVOUdTIV¥A ON ON SHA -SOOZAONLT
[seutwy AreTqAaL]
eotqoe TT josd a SOOCTAONLT 900TONVTE 900cHdVPO
ets TuIzouy 6wu 00°% CIMOTHDOUGAH IAGINAHGAXSHIUL ON ON SEA -SOOZAONLT -9007Hd¥S0 -S00ZDHdCLO TWA / dLO 8Z0TOVOE
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL adoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans
NOILYOIGSN CHZINOGNYHa Taavl Nado

GTITT JO 9€% Obed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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AZSER12771808
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s97xdoy «GPF ET? LOOZHYNZO

8L91

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[PATIAOSETES
uot suaqredaAy ‘squeby Butyoota eleq] SOOzDNV9eZ
TeTquessy Bu 90°0S TIOIONS LY ON SaA SaA -VOOCAONST
[PAT ISeTasS
uoTsueqzaedAy, ‘squeby Butyootd eq] VOOZAONST
Tetquessy Bu 90°Sz TIOTONHY LY ON ON SHA -VOOCAONYT
[seutdezetyL
puy seutdezexo ‘sautdazetq] POOZAONST
eTUEW Su 00°008 ELVYWWOA ANIGVILHNG ON ON SaA -VOOCAONCT
(WnTY3tT) VOOCOEA80 soociInrLa
ETUPW Su 00°009 HLYVNOddvo WOIHLITI ON DaA SoA -pO07cTLOOOT -TVOOTAON6T dLS IO €00Z0708
(wntyatT] SOO7ZHAV6Z
SSeuTTT azetodtg Bu 00°006 HLVNOddvO WAIHLIT ON SaA ON -SOOCHYNTT
[wntyatT] GOOZHYWOT
etuew 6w 00°00zT HLVNOddvo WAIHLITI ON SaA ON -SO00cdHACcC
[wNtyatT] SOOZEHATZ
SSeUTTT azetodtg Su 00°006 HLYNOddvo WAIHLITI ON SaA ON -SOOcTHHA60
[SeaATIeATANGq euTdEzZzeTpozueg] SOOCNYLST
SSOuTTT azeTodtg Bw 00°T WYdHZVaOT ON SHA ON -SOO?NWLVO
[wNtyatT] SoOcaHa80
eTUeW Bu 00°009 HLVNOddyS WAIHLIT ON SHA ON -poocoedoe
[SSATIPATASC suTdezetpozueg] SOOZNYLEO
SSOUTTT reTodtg Bu 00°2 WYdazZvadol ON Sada ON -PO0coHed6
[uMntyatT] VOOTONA6Z
eTUPH Bu 00°006 HLYNOddvo WAIHLITI ON SaA SaA - bode LOO?
[seutdezertyL
puy seutdezexo ‘seutdezeta] YOOTAON8O GOOTHYWOE
eTUeW Bu o00°009 ELVaVWOdA ANIGVILENO ON ON SHA -POOCLOO0~ - TOOCAON6O dLO 10 Z00Z0708
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO LE® abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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6L9T

CONFIDENTIAL
AZSER12771810

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Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOZNWZO
Ee TUE Su 00°009 BLVAVNNA ANIGVILANO ON ON SHA -POO0cOed9T
[uNtyatT] yOOTOHAYZ
ETUC Bu o00°009 HLVNOddvo WAIHLIT ON ON SHA -poocoedeo
[seutdezeryy
puy seutdezexg ‘ssutdezeta] VOOCOEAST SOO cdady9z SOOCHWNEZ
ETUPW Bu 00°007 ELVYWNOA ANIGVILANS ON ON SoA -poozcomwadeo -SoOozTuYNOE -SOOZNYrEO IT / dLO S00z070m
[seutwy Azetq7eq] SOOZNNP VT
touer4 TeqAtThta Bu 00°72 HQdIHYOTHOONCAH NHCIHedIad ON SaA ON -SOOCAYW6T
[uMntyatT] SOOZINEST
eTUEW Su 00°006 HLVNOddvo WAIHLITI ON SaA ON -S00caHATO
[wNtyatT] SOOZNYPTE
eTUPW Su 00°009 HLYNOddvo WAIHLITI ON SaA SaA -VOOTLOOTS
[seutdezertyL
puy seutdezexg ‘seutdezetaq) YOOZAONOE
eTUeW Bu 00°008 BLVYWWOA ANIGVILINS ON ON Sada -FO0c LOO?
(wn tyat tT) SO0O0cdHS80 sooconv6eo
SSOUTTT teTodta Su 00°009 HLYNOddvo WAIHLITI ON SaA ON -So0o0cINré6Tt -F00cOxeaTO dlS 10 yOOZOv0e
[wNtyatT] soozanw9z
eTUeW Bu 00°006 HLVNOddyS WAIHLIT ON SHA ON -7O00coed60
[s6nag
peqetay sutdezetpozuag] POOZONCEZ
eTUWOSUT Bu 00°0OT WHdIdI0OZ ON SaA ON -VOOTAONST
uotTsuseqzadAy [UTeTd ‘SAOATGTYUL eoy] SOoOZzDnYv9Z
Tet quSessy 5u 00°OT TINdVIVNHY ON SaA ON -POOCAONTZ
wot sueqzedéy [uTeT@ ‘sro qTqTYyUl soy] YOOTAONOT GOOTINCLS
TeTquSessy Bu 00's TIHdVIVNH ON SHA SHA - POOCAONST - TOOCAON6T dLlO 10 €00Z0708
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL ddoo

WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

Loarans

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO ath abed
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 79 of 90 PagelD 85845

0891

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[seatqeatiseq prow Aqqeg]) SOO7TEHABTS 900 cCONW9T soocInrgZ
eTUEH Bu 00°00S WAIdOS ALVONdTVA ON ON SHA -yoocouaae -SO007INTLZ -SOO7THWWIO TWA / WId 40070108
[seatqeatszeq prow Aq3e,] 900TAVNI6T
SseuT TT? zeTodtg bw oo 00st dIOwW OIONdTVA SHA ON ON -SOO07cdHSTO
[SeATIeATASq ptoy Aqqeg] SOOZONYTE
SSeuTTT azeTodtg 6w 00°002T GIOW OIONdTVA SHA ON ON - SOOZAWNOZ
[seatqeatszeq prow Aqqeg] SOOCAYWE6T
SSeUuTTT azeTodtq bw 00°0S0T GIOW OIONdTVA SHA ON ON -SOOcedAWce
[seatqeatszeq prow Aqje,] 9007Z.LOOET
SSeuTTT zeTodtq Hw 00° 0SLT QIOW OIONdTVA SHA SHA ON -SOOTAWNOT
[seatqeatszeq prow Aqje4] SOOCcHdVTC
SseuT TT zeTodtq Sw on o00T GIOVW OIONdTVA SHA SHA ON - SOOCAWNIST
[seatqeatszeq proy Aqqed] SOOTAWNPT
SseuT TT a2eTodtg Bu 00°006 qIOw OIOddTVA ON SHA ON -SsoOcaHda co
[seat eatsieq proy Aq qed] SOOCaHATO
SseuTTy? aeTodtq Sw o0°o0soT dIOw OIONdTVA ON SHA ON -SOOCNWLO0Z
[seutTdezertyuL
puy seutdezexg ‘soutdezetq] SOOZNYLE6T
SSeuTTT azeTodTg 6u 00° 00% HLVaVWNA ANIGVILYNS ON ON SEA -POO0cOEdET
[seatqeatszeq proy Aqqed] SOOTNYI6T 900TdGHSET SOOCHdVET
SSOUTT] 2eTOdTa bw 00° 000T dIOW OIOddTVA ON ON SHA -YOOTOHA9T -SOOZHdYPT -SOOZTNYLOZ TWA / W1d 90070708
(wn tYyatT] SOOCAYN9Z
eTUeH Bu 00°006 HLVNOGavO WNIHLIT SHA SHA ON -SOOcNWLOT
(wn tYyatT] SOOCNYI6ET
eTUeW Bu 00°009 HLYNOGHYO WAIHLIT ON SHA ON -SOOCNYCLT
(wn ty3t I] SOOCNYE9T S00 cadw97c SOOTUWNEC
eTUeh Bw 00°006 ELYNO@daWO WAIHLIT ON SHA SHA -YOOZOHALZ -SOOZHYWOf -SOOZNYEO IT / dLlO S00z7070H
NOLLIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO Worldd HLYd dOLs Hivd doLs GLV¥d dOLS LNEWLVaaL gqdoo
WHHL OLSHNSD NOLLYOICEW NEMWL NOILVWOIGHW -HIVd LAVLS -HLVd LavLS -a1Vd Laws Loarans
NOILYOICHW CeZIWOGNYA ‘Idav1I Nado

GTTT JO 6€% abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771811
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1891

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOCHAVTT
etuew rzeTodtg Bu 00°007% ELVYWWOA ANIdVILHYNO ON ON SaA - SOO cedv90
[seatqeatszeq ptoy Aqje4g] SOOcdHSOe 9007ZONT6Z soociInrego
eqTuew reTodtg Bu 00°006 dTOW OLOddTVA SHA SHA SaA -SOOTHWNZO -SOOZINTLO -SO07HdWZT TWA / dLO 60070%08
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZAWNTZ
etuewm Su 007008 FLYAWNOA ANIGVILHNO ON ON ON -SOO7HaWSZ
(wntyatT] SOOZAVNGZ
etuem 6w 00°002T EIVNOGavYO WOIHLIT ON Sada ON -SOO7THdYe~
[SSATIeATIaeq SsUuTdEezeTpozusg] GOOTHaYEZ
eTUeW Bu 00-2 WYdHzZVaoT ON SaA ON -SOO0cHdYVT
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOTAYNTZ
eTUeW Bu 00°00F% HIVaWWnd ANIGVILYNS ON ON SaA -SOOCHHALT
(wnt 4T'T] SOOTHAVT? SOOCHdWPZ
eTUeHW Bu 00°006 EIVNOGavYO WOIHLIT ON Sada Sada -SOO0CEHATT -SOO7CHWNZ? dL5 I0 80020708
[seatqeatszeq prow Aqje,] 900¢dxaSST
etuem 6 o0°00ST GIOW OIONCIVA SHA ON ON -900CNN6T
[seatqeatszeq prow Aqjeg] 900CNNC8T
etueW 5w 00°0SZT qIOW OLOeddTVA SaA ON ON -900CNVCDLT
[seatqeatseq prow Aqjeg]) 900CNVCST
etuem Hw 00°002T QIOW OLOddTVA SHA SHA ON -GOO07cadTLO
[SeATIeATASd ptoy Aaqeg] SOO cadT90
eTUeHW Bu 00°009 qaIOW OLOUdTV¥A ON SaA ON - S00 CUWWTO
[seutdezertyL
puy seutdezexo ‘seutdezetq] GOOCEHABZ =©9900ZDNW9IT soozInrec
eTUeW Bu 00°00F ELVaWWNA ANIdVILYNO ON ON SaA -yoozcwDHdoe -SOOZIN©LZ -SOOZHYWTO TWA / WId 10070708
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTTT JO O%% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771812
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Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

C891

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[sas tuoby
Jo ydese10ueirpy-z-e19g
BATIOSTSES] S00zdaS80
SuyIse TeTycuerg Bu ozo TIOWWLINEGIVS SHA SHA ON -SO0O07TOOWET
[seatqeatTszeq prow Aqje,] 900CHAVIT
etuem 6w 00° 000T GIOV OIONdTVA SHA SHA SEA -SO0O0cHHAST
[seutdezetyL
puy seutdezexo ‘seutdezetq] SOOCAYWST 900CAYNST sooconw6c
eTUueW Bu 00° 00€ SLVEVWAA ANIGVILANO ON ON SHA -SOOTEHAST -SOOZONVOE -SOOTAVW9T TWA / VW1d TT070108
. [seatqeatszeq proy Aq je] 9007TdHS6T
eTuem bw 00° 00ST CIOW OIOWdTWA SHA ON ON -900eTOrZe
[SeATIeATASq ptoy Aqqeg] 900cINCTZ
etuem 6u oo°oset GIOW OIOWdTWA SHA oN ON -900ZNOL6T
[SeATIeATASd ptoy Aaqeg] 900cCNNC8T
equem 6u o0°000T dIOW OIOWdTWA SHA ON ON - 900CAVNBT
[seatqeatszeq prow Aqje,] 900CAVWLT
etuem 5wu o0°00ST CIOW OIOUdTWA SHA SHA ON -SOOcNNOr6z
[seatqeatszeq prow Aqje,] SOOCNNCS?
equem 6 00°000T dIOVW OIOadTVA ON SaA ON -SOOCAVWOT
[seatqeatszeq prow Aqjeg] SOOCTAVWGO
eTuem bw 00° 00ST dIOW OIOddTVA ON SaA ON -SOOTAdY9T
[seatqeatsieq proy Aqqed) SOOcHdYSC
etuem 5u 00°00zT dIOW OIOddTVA ON ON SEA -SOO7AdYPO
[SeaTqeaTieq eutTdezetpozueg] Soocedvse 9007TONTOZ SOocoNW8z
uot qeqTby Bw 00°OT WYdaZvId ON ON SHA -SOO7TUWN8Z -SOOZONWEZ -GO007UdvV9Z TWA / V1d 01070708
[seatqeatszeq proy Aq jeg] 900CdHS8T 900TONV6T soocinrg90
equew zeTodta Sw 00° 000T GIOW OIOddTWA SHA ON ON -SOOZLOOTO -SOOZINTLO -SO0ZHdYZT TWA / dLO 60070708
NOILYOICNI gsod [NOILVOISISSVIO NOILVOICHW)] du TO wordd aLvd dOLs HLvd dos aivd dOLS INSWLVaaL adoo
WHHL OI1HMENHD NOILYWOICEWN NHMVWL NOILWOICHW -aLVd LYVLS -aLVd LYvls -alvd Laws Loarans
NOILYOIGSN CHZINOGNYHa Taavl Nado

GTITT JO [tr abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771813
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s97xdoy «GPF ET? LOOZHYNZO

[seatqeatszeq prow Aqje4]

e891

ses’ ooTpew

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

Jepiostp azejtodtgq Sw 00°00ST qIOVv OLOddTV¥A ON ON SaA
[seutdezertyL
puy seutdezexo ‘seutdezetaq] soozNnrso SOOZONVOT
Jepiostp rzeTodtgd Bu 00°008 HIVaVWnd ANIGVILYNS ON ON SaA -SOOcNNL ZO -SOOcNNLEO dLO IO €10Z0v0a
[STOATATYUL
aseqonpey eoD Buy] 9007GHSLZ
BTWS TOTS 788 TOYD Bu 00°OT WAISTWO NILVISVANSOW SHA ON ON -900CNWLI87
[SeATIeATASq ptoy Aqqeg] 900¢CdHSLZ
SSeUuTTT azeTodtg bw 00°0002 dIOW OIOUdTVA SaA ON ON -GO00cOHedLze
[seat Ieatieq ptow Aqqeg] soozomagz
SSeuTTT azeTodtq bw 00°0SLT IOV OIOddTVA SaA ON ON -GO00CLOOYO
[seatqeatszeq prow Aqje,] SOOZLOOEO
SseuTT? zetodtq Sw o0°00sT CIOVW OIOUdTWA SHA SHA Sada -GOOTAYNB8T
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCAYWOE
sseuTT}T aeTodtg Bu 00°008 HLIVavWnd ANIGVILINS ON ON Sada -SOOCAYNST
[SSATIeATIEq SsUTdezeTpozusg] SOOZAYNEZ
eTUWOSUT Bw 00°OT WvdaZvId ON ON Sada -SOOCAWWET
sda [seutwy Azetq191] GOOZAVNSZ  900ZDNY8Z  SO00ZdHSLZ
roy stxeTAydoirg Bu 00°F AQTAOTHIOAGAH NHGTasXdId ON ON Sada -SOOTAWNZT -SOO7dHS87 -SOOZTAWWIE TWA / dLO ZT070v0E
[seutdezetyL
puy seutdezexo ‘sautdezetq]
Zepiostp azetodtg Bu 00°00€ HLVavVWnA ANIGVILHNS ON ON ON
[stoatqtTyul eyeadney
UTUOJOASS SATISETAasS] 9007NdVFT
Jaepiostp rzejTodtg 6u 007s WVWadOTWLIOSH ON ON ON - 9007HWN9T
[SeuTyquexX] s0O0cdHS80 900CAVNST SOO0cONV6T
euyAse TeTyouorg Bw 00°009 HNITIAHGOHHL SHA SAA ON -SOOZDNYVET -SOOZDNYOE -SOOZAYWST TWA / W1d TT0Z070H
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTITT JO Z¥r abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771814
Case 6:06-md-01769-ACC-DAB Document 1363-4 Filed 03/12/09 Page 83 of 90 PagelD 85849

r8ol

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOOC.LOO6T 900CdaS710 900CAVWNCT
SSSUTTT azeTodta Bw 00°009 ELVYWWOA ANIdVILHYNO ON ON SaA -SOOZLOOBT -900ZHYWEZ -S007LD007Z TWA / dLO 91070708
[uMntyatT] 9007ZdaS6T
eTUeHW Bu 00°006 HLIVNO@avO WONIHLIT sSsadA SHA ON -SoO0coOnveTt
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZDNYTT
eTUeH Bu 00°008 HIVavWnd ANIGVILYNS ON ON SaA -Soozconwzo
(wnTty3tT) SOOZONVTT 900ZDNV0Zz SOOZOHCTT
eTUeHW Bu 00°009 EIVNOGavYO WOIHLIT ON ON Sada -soozinresz -So0zDaazT -soozpnwz— II / Wid STOz0+v0g
[seatqeatszeq prow Aqje4] so0cONWOT
SseuT TT zeTodtq Sw on o0sT WAiId0S HLVONdTVA ON SaHA SaA -SOOcNNLZO
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZNNL6T GOOZINETZ
SSouTTT azetodtg Bu 00°008 HLVavWnd ANIGVILANS ON ON Sada -SOOCAVNCT -soocNnrod dLS IO 71020708
[seatqeatszeq prow Aqjeg] sOOcdHS60
Jepiostp azejtodtq bw 00°0szt qaIOw O1OddTVA ON SHA ON -SOOcNML6O
uot suaqredaAy [UTeETd ‘SeptzetuL]
TeTquessy Bu 00°Sz HCIZVWIHLOWYOTHOONTAH ON SaA Sada
[PAT IoSETSES
uot suaqredAy ‘squeby BbuTyootTa e1eq] SOOZdHS60
Te Tsusssy Bw 00°05 TIOTONHYLY ON SaA Sada -SOOCAWWSC
[Seatieatizeq ptoy Aqqe,]
Jepzostp azetodta Sw 00°0002 qIOV OLOUdTVA ON ON Sada
[seuTdezeryy
puy seutdezexg ‘soutdezetq] soozNnrto
Tepzostp reTodtg 6u 00° 00% SLVUVNNA ANIGVILANO ON ON SaA -SOOZAVNSZ
[Seat zeatseq seutdezetpozusg] SOOCAVWNITE SOOcONVOT
eTUWOSsUT Bu 00°T WYdHZYNOID ON ON SaA -SOOCAWWSZ -SOOcNNL60 dLO IO €T0Z0v0a
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

GTTT JO €%% Obed

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AZSER12771815
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S891

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

[SeATIeATASd ptoy Aaqeg] SOOZAON90
SSeuTTT azeTodtq Sw 00°00SsT qaIOV OIOddTVA ON SaA ON -GOO0CLOOTE
[S®ATARATAaq SsucUSYydorAqng] GO0ZLD09Z
eTUeW Bu oo°€ TJOQIaadOTVH ON SaA ON -SO007LOOTS
[seatqeatTszeq prow Aqje,] SOO0cLOOOE
etuew 6w 00°0SZT qTOW O1OedTVA ON SaHA SaA -SO0c.LOO8T
[Seat eATAeq sucUSYdozAqng] SO00ZLO00Z
eTUeW Bu 00°79 TOCIaHdOTVH ON ON SaA -SOO072.LOO8T
[SSATIeATIEq SsUTdezeTpozusg] SOOZLOOOE
eTUeHW Bw 00°ST WYdHZVId ON Sada Sada -SO00Z.LOOST
[SseuTdezertyuL
puy seutdezexg ‘seutdezetq] SOO0ZLOO9T
eTUeH Bw 00°00€ ELVYWWOA ANIdVILHYNO ON ON SaA -SOO0ZLOOST
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZLOOFT
eTUeHW Bu 00°002 HLVavWnd ANIGVILANS ON ON Sada -SO00¢LO0ET
[Seatieatszeq ptoy Aqqe]
etuem 6w 00°000T qdIOV OTOadTVA ON ON Sada
[SeaTIeATAeq SsucuSeydorzAqng] SOOZLDOLT
eTUeHW Bu 00°6 TOCIYHdOTVWH ON ON Sada -S00¢LOOTT
[S@aTIeATIaq suTdazetpozuag] GOOZLOOFT
eTUeW Bw 00°02 WYdaZVId ON ON Sada -SOO7.LOOTT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOO0CLDOZT
sseuT[}T azeTodtg Bu 00° 00T HLVavWnd ANIGVILINS ON ON Sada -GOO0ZLOOTT
[SSATIeATIEq SsUTdezeTpozusg] SOOZAONE60O
SsouT TT azetodtg Bw 00°OT WvdaZvId ON SaA ON -SO0O0¢LOOTEe
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOCLOOLT 900CdaS70 900TAVNET
eTUeW Bu 00°00F ELVaWWNA ANIdVILYNO ON ON SaA -SOOZLOOLT -900ZHYWEZ -S007LD007Z TWA / dLO 91T0Z070H
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL qdadod
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTIT JO ¥rr abed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771816
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9891

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[squesseizdeptquy 781740] SOOCAONEC
Jeprzostp azertodtg Bw 00°0ST HNTIXVAVINHA ON SaHA ON -SOOZAONOT
[seatqeatszeq prow Aq3e,] SOOTAONET
Jepiostp azetodtq Sw 00°00st qaIOwW O1OddTVA ON Saaz SaA -GOOZLOOTE
[squesseideptquy 79830] SOOZAON60 900ZNVE7O
Teprostp azejTodtg Bw 00°S4 ONIXVAVINHA ON Sada Sada -SOOZLOOTE -SO0O0ZAONLO dLS I0 610Z0t08
[seutdezetyL
puy seutdezexg ‘seutdezetaq] 9007d4HS0Z
eTUeHW Bu 00°00% HLIVaYvWnd ANIGVILHNG Sea ON ON -900ZONW6T
[uMntyatT] 900ZTNLFO
Zepiostp azetodtg Bu 00°006 HLVNO@avO WOAIHLIT SadA SHA ON -900CAWNTT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZAON90
Jepizostp azertodta Bu 00°05 HIVaWWnd ANIGVILYNS ON ON SaA -GOOZAONTO
feanjonizqag euTzeredt¢
YIM Sseutzety jouer) SOO0ZLOOOT
Zepzostp zeTodtg Bw 00°Sz GIVONYOEd ANIZVNHHGN1TI ON ON Sada -SO007LO00T
[uNtyatT] Q007HWWET
Tepzostp reTodtg 6u 00°009 HLIVNO@avO WNIHLII ON SaA SaA -S00Z@LO0L0
(wn tyat I] 900cdxHS07 900cONVTZ 900CNNL9T
Jepiostp azejtodtq bw 00°00zT HIVNO@GaYD WAIHLIT Sada ON ON -900z7INrSO §=©-900ZNNTLZ -SOOZAONLO IT / VW1d 81070708
[seatqeatieq prow Aq jeg] 9007LD070
SSeUuTTT azeTodtaq Sw 00°000T QIOVW OLOUdTWA SHA SHA ON -SOOTAONTT
[S@eaTIeATAeq suTdezetTpozuag] SOOZAONTT
SSOuTTT azeTodtg 6u 007s WwdazZvId ON SaA ON -SOOZAONOT
[seatqeatszeq ptoy Aqjeg] SOOCTAONTT 900CdaS70 900TAVNET
SseuT TT zeTodta@ Su oo°oszt qaIOw O1OddTVA ON SHA ON -SOOZAONLO -900ZHYWEZ -SO007LD00Z TWA / dLO 9T0Z070H
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans
NOTIVOIGHN dxZIWOGNVS THadvl Nado

GTITT JO Gtr abed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

CONFIDENTIAL
AZSER12771817
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L891

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[squesssideptquy 781740] 900¢dH4E2
Zeprzostp azertodtg Bu o00°SL HQTHOTHOOACAH ANIXVAVINHA ON DaA ON -9007HHA0T
[squessezdeptquy 1030] 900CEHA6T
Tepiostp zejTodtq Sw 00°0st ACIMOTHOOMGAH HNIXWAVINHA ON SAA ON -900Z7884€0
[squesseadeptquy 25430] 9007EH4 ZO
Zepiostp rzetodtg bu 00°SZz HQITYOTHSOACAH HNIXVAVINHA ON SHA ON -900CNYOLE
[squesserzdeptqauy 7820] 900CNYVL9Z
tepiostp zeqTodtq Su o0°o00€ HQIYOTHOOUGAH SNIXVAVINHA ON SHA ON -SO0ZONA9T
[squesserzdeptauy 780] SOO0coOeaST
sseuTT? azeTodta Su oo0°s72z HQIYOTHOOUGAH SNIXVAVINHA ON SHA SHA ~-SOOZAONTT
[seutdezertyL
puy seutdezexg ‘seutdezetq] SOOZAONTZ
SSeUTTT aeToOdT@ bu oo°o0€ BLVEWWNd ANIGVILENS ON ON SHA -SOOZLOOOE
(WHTYAtT) 900ZAWNIZO
SSSUTTT teTodtq 6wu 00°009 HLVNOGYYO WOIHLIIT ON SHA SHA -GO07ZLOOZZ
uot suaqredAy [SSIPAITN OFUeHIAC]
Tetquessa Bu 00°07 GLVaLINIG HAIGHOsosrI ON SaA SaA
uot suaqredaAy [UTeETd ‘SeptzetuL]
Tetquessy Bu 00°Sz HaIZVIHLOAOTHOOUdAH ON Sada Sada
uotTsueqzeddAy [UTeTd ‘SazoORTqTYyUI Soy] HONILNOO 9007HWNTO
Tepquessy Bu o0°OT TIadVIVNH ON SHA SHA -YNA -SOO0CAONCZ dl5 10 0Z0Z0704
[seatqeatszeq prow Aqjeg] 9007CdH4E0
Zepzostp aetodt@ Sw o0°000T dIOV SOIONdTVA ON SaA ON -S007OxHd80
[squesseizdeptquy 721740] SO0cOedLe
Iepiostp szejTodtg Bu 00°SzZz HNIXV4AVINHA ON SHA ON -GOOZAONYZ
[seatjeatszeq ptoy Aqjeg] SO0O0cCOHALO S00CNYCVO
Zepiostp szeTodtq Sw o00°oszt IOV SLIOddTVA ON SHA ON -SOOCAONYZ -SOO0CAONLO dL 10 61T0Z0708
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTIT JO 9%% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

CONFIDENTIAL
AZSER12771818
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8891
Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/
[SeaTIeATAeq suTdezetpozueg] SOOcOeATZ
SSOUTIT ze Todt Bu 00° T WYdHZVaAOT ON SHA ON -S0072OHdEO
[SSaTIeATAaeq euTdezetpozuag] SOOZTAONOE
SSOUTIT azeTodta Bu 00°T WYdHZVaOT ON Saaz ON -GOOZTAON8Z
[S®ATIVATA9G sUTdEzeTpozuEg] GOQOZAONLZ
SSSUTTT aeTodtg Bu oo°e WYdazZvadol ON SaA ON -SOO0CAONSZ
[S@ATIPATASq ptoy Aqqeg] SOO CONA?rO
SSSUTTT teTodtq Su 00°00ST QIOV OIOUdTVA ON SaA ON -SOOCAONY2
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZAONZZ
Jepiostp zetodtg Bu 00° 00T BLVYWWOA ANIGWILHNG ON ON SHA -SOOCAONT?
[S®ATIVATA9G sUTdEzeTpozuEg] GOOZAONTZ
uoTIe ATHY Bu o0°T Wwdazvaol ON ON Sada -SOOCAONLT
[seaTleatiseqd prow Aqqeg] SOOCAONES
Zepiostp zeqTodtq Sw oo°ogZt QIOV SOIONdTVA ON ON SaA -SOO0CAONLT
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZAONOZ
SseuT TT a2eTodtg Bu oo°0s BLVYWWOA ANIGVILENG ON ON SHA -GOOCAONLT
[seatqeatizeq ptoy Aq eg] SOO0COHNaTT
SSSUTTT TeTodtq 6u 00°0SzT dIOV SOIONdTVA ON Sada ON -Sd00coueadsO
[(ETI_ dnoz)
que og ‘Sptoreq4sootyAs0D] 900CAWNEZ
eqoequUoD eweZoY Bu oo 7 HoOVNOIdOddId ANOSVHLAYWYLHd ON SaA ON -S900CAYWEC
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZAONEZ
Zepiostp zejtodtg Su 00°00z ELVUWNOA ANIGVILHNG ON ON SaA -~SO0O0CAONES
[PAT IOSEeTSsS
wot sueqzedéy ‘squeby Gutyootd e 46g] ANNILNOD 900ZINLZT
Tefousessy Bw 00° 00T TIOIONHLY ON SHA SHA -YNA -SOOCAON?TZ dL5S 10 TZ0Z070
NOLLYOICNI asod [NOILYOI4ISSVIO NOILYOICHN]) da TO dorldd aLVd dOLs HLvd dos aLVd dOLS LINEWLVHaL qdoo
Waal OLAHNSD NOLLYOICHWN NEMNVL NOILYOICHWN -HIVd LYVLS -HLVd LAVLS -aLVd Lavis Lodrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTITT JO L¥r abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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AZSER12771819
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6891

Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

AST 600TZOZTT/F13/ ndyano /ds/9ZT00°L PPT P/Tenbores/pord/aiso/

[SPATIBATAaQ SuEyAUeXOCTYL] yoocinrst
Teprostp I azeyTodta Bu 00° 002 GIVLEOV TOXTHLNAdOTONZ ON ON SaA -yooc incest
[Seat eATASq SsuSyAUeXoTYyL]) SOO0cdHSOT SO0O0¢daS0T SOOCUVWNTC
Teprostp IT szeTodta Bw 00°002 GIVLEOV TOXTHLNAYdOTONZ SHA ON ON -SOOZGHSOT -SOOZHYNZZ -VPOOZDNVET TWA / dLO TOOe0v0e
[S@ATIPATIaq auTdazetpozuag] SOOZAONLZ
uot qeqtTby Bw 00°T WYdHzZVaoT ON ON Sada -SOOCAONTE
[seutdezertyL
puy seutdezexo ‘seutdezetq] SOOZAONTZ
Jeprzostp azertodtgd Bu 00°00€ HIVavVWnd ANIGVILYNS ON ON SaA -GOOZTAONVE
[seutTdezeryL
puy seutdezexg ‘seutdezetq] SOOZAONEZ
Zepiostp azetodtg Bu 00°0g2 HLVavVWnd ANIGVILENS ON ON Sada -GOOTAONTE
[seatqeatTszeq prow Aqje,] 900cNNLCO
Jepiostp zejodtq Su 00°oszt WOIGOS HLVONdTIVA ON SaA SaA -SOOZAONLT
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZAONLZ
SsseuTTT azeTodta Bu 00°00% HLVavWnd ANIGVILYNS ON ON Sada -SOOZAONSZ
[Sseatzeatiagq sutdezetpozuag] SOOZAONEZ 900ZAVWTZ
uot qe Thy Bu 007% WYdHZVaOoT ON ON Sada -GOOZTAONOZ - SOOTAONBC dL5 IO 2Z7070v0a
[seuTwe Tq
aueTAya_ peqnatasqns] 900cCNNTO
eqoequoo ewezoy Bw 00°O0% ACIMOTHOOUCAH ANIWWYAdCONOTHD ON Sada ON - 9007TAWNG6C
[seatqeatseq prow Aqjeg] 900CODNVTT
SSSUTTT aeTOdTq@ Sw oo0°0SzZT dIOW OIONdIVA ON SaA ON -SO0O0ZOEALT
[seatqeatszeq ptoy Aqjeg] sOO0cOUdIT 900c INL CT
SseuT TT zeTodta@ Sw 00°o0sT qaIOw O1OddTVA ON SHA ON - S00 72OHAz2T -SOOZAONVZ dLO IO TZ0Z0v08
NOIIVOIGNI gs0dq [NOILVYOISISSVIO NOILYOICHWN)] da TO dwoldd aLvd dOLs aivd dos aLVd dOLS LNEWLVaaL adoD
WaatL OTHHNHD NOILYOICGSW NAMVL NOIDVOICHN -SIVd LAVLS -HLVd Lavis -aLlvVd Davis Loadrans

NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO @tr abed

SUOTIEO TPA

6-OT° 2°21 Butasty

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069T

Goz~xdoy «= GPIETILOOZHYWZO «6SeS"OOTPeM AST*600TZOZTI/F13/3ndano/ds/9zT00°L PT p/ Tenbotes/porzd/eiso/

[seatqeatszeq prow Aqje4]

Zeprostp I azetodta Su 00°008 WOIGOS ALVONdTVA SHA ON ON
[seutwy AzetqArEL] SOOZLOCOT
uotTqueAeid sae Su 00°77 NAHQTYsdIa SaA ON ON -SO0O0CdHSOT
[seatqeatTszeq prow Aqje,] Ss00cdHS60
Zeprostp I azetodta Su 00°006 WOIGOS HLVONdTVA SHA SAA ON -POOZONVET
ST AtusepeyquaAt [seutToAoez4aL] POOTONVLT
OT J Toeds -uoN Bu 00° 00Z HNTTIOAOAXOd ON Sada SHA -POOcCONYTT
[seutwy Azetq7eq] DOOZONVIT
uotqueaetd sag Bw 00°8 HATYOTHOONGAH NHATYsdIad ON Sada Sada -ZOOcONYTT
[SeATIeATASd ptoy Aaqeg]
Zeprostp J azetodtgq 6w oo*o000T WNIdGOS ALYOUdTIVA ON ON SaA
[SSuTdezertyL
puy seutdezexg ‘seutdezetq] FPOOTONVET
Zepiostp J azetodtg Bw 00°009 HLVYWWNA ANIGVILHYNS ON ON SaA -ZOocoOnv—tt
[SOaATIPATANG SuUSTAUeXOTYL]
Iepiostp J azeTodtg Bw 00°002 GLIVONYOUC IOXIHINAdOIONZ ON ON SHA
[S®aTIeATAGG SUSTAUeXOTYL]
Zepiostp J azetodtg Bw 00°002 HLVLAOV IOXTHLINAdOIONZ ON ON SaA
[seutwy AzetqzeL] DOOZTONVTT
uoTqueAeid SdH Bu 90°s NHQTYadIad ON ON SaA -ZO0coONvTT
[seatqeatszeq prow Aqjeg] POOCONWTT
Zepiostp J azetodtg Bw 007005 WNIGOS ALYOUdTVA ON ON SaA -ZOocoONvot
[seutdezertyL
puy seutdezexg ‘seutdezetq] POOZSNVIT
Iapiostp J zetodtg Bu 00°007 ELVaWWNA ANIdVILANS ON ON Sada -Pooconyvso
STatuepeyquAt [septsooATboutwy 7820] POOCONYTIT
oTJToOeds -uoN Bw 00°09T NIOAWWUYaOL ON ON SaA -pooconyv7o
[(UTeUD-epts oTIeydt Ty
YIM sSesutzetyjouseud]) vooconvort SOOcdaSOT SOOCUYWTC
Iepiostp J zetodtg Bu oo°SL HNIZYNOUdAWOAdT ON ON SHA -pOOZTIONCST -SOOZHYNZZ -POOZDNVET TWA / dLO TOOf00E
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GITTT JO 6%% Obed

SUOTIPOTPAW 6-O0T° 2° 7T Butastq

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Gozxdoy «SPT ETLOOZTUWWIZO §=6ses*OOTpeW

1691

AST 600TZOZTTI/F13/3nd3ano /ds/9ZT00°L 77 TP/Tenbotes /pord/aiso/

ATeprz0stp [seataeataszseq ptow Aj eg] VOOCLOOSC SOOCNVITT
“IT zetodtg Su 00°006 WONIdGOS HLVONdTYA ON Sax ON -PO0cdHSLO -PO0coONVSZ dlO IO E00E070N
[seutwy AzetqzeL] SOOZTONTET
uoTquseAeid Saw Bu 00°7 NHQTYsadIa SaA ON ON -GOOcINCST
[eanqonazqyg euTzeredt_
YIM SSuTzetyjousyd]) soozciIncet
Ieprostp J azetodtg Bu og’ ZT HLVYONYOEd ANIZYNHHANTA SHA ON ON -SOOcINOET
[SepTTtuy]
addtap 6w 00°00ST TOWWLHOVYWd SHA ON ON
[uteTd
‘(2D UTWeITA) PTOW OTqrzo0osy] SOOCNYITT
addqt25 Bw 00°006 IOV OIGHOOsSY Sua ON ON -SOOCNYCLO
[seatqeatszeq prow Aqje,] SOOZONWET
Zeprostp J azetodtgq 6w oo0°o00zT WNIGOS ALVYONdTIVA SHA SaA ON -POOcTdHS Ve
[seatqeatTszeq prow Aqje,] DOOCdHSES
Teprostp J] szeTodtg Bw 00°006 WAIdOS ALVONdTVA ON SHA ON -vOOcdHS90
[seatqeatszeq prow Aqjeg] vDOOcdHSSO
Zeprostp I azetodtad Bu 00°009 WONIdGOS ALYOUdTYA ON SaxA ON -POOcONWET?
[SSeATIPATASq ptoy Aqqeg]
Iapiostp J zetodtg Bu 00°00€ WONIGOS ALYOUdTYA ON ON Sada
[seutdezetyL
puy seutdezexg ‘seutdezeta] POOCONYTTe SOOZTINE YZ POOcOedeT
Teprostp J azertodtg Bw 00°002 HLVYWWNA ANIdVILHNS ON ON SaA -yooclInrilo -POOZOHGET -yOOZTDNVE? TWA / ALB 20060708
[seutdezetyL
puy seutdezexo ‘seutdezeta] SOOZ.LDOOT
Zepzostp J azetodtg Bw 00°009 HLVYWWNA ANIdVILHNS ON ON ON -G00¢dHSeT
[eanqjonazyjs euTzerzedt_
YIM SseutTzetyjousyud]) SOOCdHSCT SOOcdaSOT SOOCUYWTC
Iepiostp J zetodtg Bu 00°Sz HLVYONVYOEd ANTIZYNYHdANTA ON ON ON -SOOZdHSZT -SOOZHYNZZ -POOZDNWET TWA / dLO TOOf00E
NOT LYWO TANI gs0qd [NOILVOISISSVIO NOILYOICHN] da IO wold aLvVa dOLs aL¥d dOLs aLV¥0 dOLs LNAWLVaaL qdadod
WHHL OTSHNED NOILYOICHW NAMVL NOILYOICSW -HLVd LAVLS -SLVd LaVLsS -aLVd LaVLs Loarans
NOILYWOICSN CeZIWOGNVa ‘THavl Nado

GTTT JO 06% Obed

SUOTIEO TPA

6-OT° 2°21 Butasty

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